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 Analyses of Groundwater Flow, Contaminant Fate and Transport,
and Distribution of Drinking Water at Tarawa Terrace and Vicinity,
     U.S. Marine Corps Base Camp Lejeune, North Carolina:
      Historical Reconstruction and Present-Day Conditions
                                 Chapter A: Summary of Findings




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        Front cover: Historical reconstruction process using data, information sources,
          and water-modeling techniques to estimate historical exposures

        Maps: U.S. Marine Corps Base Camp Lejeune, North Carolina; Tarawa Terrace area
          showing historical water-supply wells and site of ABC One-Hour Cleaners

        Photographs on left: Ground storage tank STT-39 and four high-lift pumps used to deliver
          finished water from tank STT-39 to Tarawa Terrace water-distribution system

        Photograph on right Equipment used to measure flow and pressure at a hydrant
          during field test of the present-day (2004) water-distribution system

        Graph: Reconstructed historical concentrations of tetrachloroethylene (PCE) at selected
          water-supply wells and in finished water at Tarawa Terrace water treatment plant




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  Analyses of Groundwater Flow, Contaminant Fate and Transport,
and Distribution of Drinking Water at Tarawa Terrace and Vicinity,
     U.S. Marine Corps Base Camp Lejeune, North Carolina:
     Historical Reconstruction and Present-Day Conditions

                  Chapter A: Summary of Findings
     By Morris L. Maslia, Jason B. Sautner, Robert E. Faye, Rene J. Suarez-Soto, Mustafa M. Aral,
         Walter M. Grayman, Wonyong Jang, Jinjun Wang, Frank J. Bove, Perri Z. Ruckart,
                    Claudia Valenzuela, Joseph W. Green, Jr., and Amy L. Krueger




                      Agency for Toxic Substances and Disease Registry
                       U.S. Department of Health and Human Services
                                       Atlanta, Georgia


                                                    July 2007




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              Contaminant Fate and Transport, and Distribution of Drinking Water at Tarawa Terrace and Vicinity, U.S.
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              Chapter A: Summary of Findings. Atlanta, GA: Agency for Toxic Substances and Disease Registry; 2007.



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   Foreword
        The Agency for Toxic Substances and Disease Registry (ATSDR), an agency of the
   U.S. Department of Health and Human Services, is conducting an epidemiological study
   to evaluate whether in utero and infant (up to 1 year of age) exposures to volatile organic
   compounds in contaminated drinking water at U.S. Marine Corps Base Camp Lejeune,
   North Carolina, were associated with specific birth defects and childhood cancers. The study
   includes births occurring during the period 1968-1985 to women who were pregnant while
   they resided in family housing at the base. During 2004, the study protocol received approval
   from the Centers for Disease Control and Prevention Institutional Review Board and the
   U.S. Office of Management and Budget.
        Historical exposure data needed for the epidemiological case-control study are limited.
   To obtain estimates of historical exposure, ATSDR is using water-modeling techniques and
   the process of historical reconstruction. These methods are used to quantify concentrations
   of particular contaminants in finished water and to compute the level and duration of human
   exposure to contaminated drinking water.
        Final interpretive results for Tarawa Terrace and vicinity-based on infom1ation gather-
   ing, data interpretations, and water-modeling analyses-are presented as a series of ATSDR
   reports. These reports provide comprehensive descriptions of information, data analyses
   and interpretations, and modeling results used to reconstruct historical contaminant levels in
   drinking water at Tarawa Terrace and vicinity. Each topical subject within the water-modeling
   analysis and historical reconstruction process is assigned a chapter letter. Specific topics for
   each chapter report are listed below:
        • Chapter A: Summary of Findings
        • Chapter B: Geohydrologic Framework of the Castle Hayne Aquifer System
        • Chapter C: Simulation of Groundwater Flow
        • Chapter D: Properties and Degradation Pathways of Common Organic Compounds
          in Groundwater
        • Chapter E: Occurrence of Contaminants in Groundwater
        • Chapter F: Simulation of the Fate and Transport of Tetrachloroethylene (PCE)
          in Groundwater
        • Chapter G: Simulation of Three-Dimensional Multispecies, Multiphase Mass
          Transport of Tetrachloroethylene (PCE) and Associated Degradation By-Products
        • Chapter H: Effect of Groundwater Pumping Schedule Variation on Arrival of
          Tetrachloroethylene (PCE) at Water-Supply Wells and the Water Treatment Plant
        • Chapter I: Parameter Sensitivity, Uncertainty, and Variability Associated with
          Model Simulations of Groundwater Flow, Contaminant Fate and Transport, and
          Distribution of Drinking Water
        • Chapter J: Field Tests, Data Analyses, and Simulation of the Distribution
          of Drinking Water

        • Chapter K: Supplemental Information
        Electronic versions of these reports and their supporting information and data will be
   made available on the ATSDR Camp Lejeune Web site at http://www.atsd,:cdc.gov/sites/
   lejeunelindex. html.




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Conversion Factors
           Multiply                                   By                                    To obtain
                                                     Length
inch                                                    2.54                     centimeter (cm)
foot (ft)                                               0.3048                   meter (m)
mile (mi)                                               1.609                    kilometer (km)
                                                     Volume
gallon (gal)                                           3.785                     liter (L)
gallon (gal)                                           0.003785                  cubic meter (m 3)
million gallons (MG)                               3.785                         cubic meter (m 3)
                                                    Flow rate
foot per day (ft/d)                                     0.3048                   meter per day (mid)
million gallons per day (MGD)                           0.04381                  cubic meter per second (m3/s)
inch per year (in/yr)                                  25.4                      millimeter per year (mm/yr)
                                             Hydraulic conductivity
foot per day (ft/d)                                     0.3048                   meter per day (m/d)


Concentration Conversion Factors
              Unit                                    To convert to                         Multiply by
microgram per liter                                 milligram per liter                              0.001
  (µg/L)                                                   (mg/L)
microgram per liter                            milligram per cubic meter
  (µg/L)                                                (mg/m3 )
microgram per liter                            microgram per cubic meter                       1,000
  (µg/L)                                                 (µg/m3)
parts per billion by volume                    parts per million by volume                     1,000
  (ppbv)                                                  (ppmv)




Vertical coordinate information is referenced to the National Geodetic Vertical Datum of 1929 (NGVD 29).
Horizontal coordinate information is referenced to the North American Datum of 1983 (NAO 83).
Altitude, as used in this report, refers to distance above the vertical datum.




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    Glossary and Abbreviations                                           diurnal pattern The temporal variations in water usage
                                                                         for a water system that typically follow a 24-hour cycle (Haes-
          Definitions of terms and abbreviations used throughout         tad Methods et al. 2003)
    this report are listed below.
                                                                         Dl'IIAPL Dense nonaqueous phase liquids; a class of
    A                                                                    environmental contaminants that have a specific gravity
    aerobic conditions Conditions for growth or metabolism               greater than water (Huling and Weaver 1991). Immiscible
    in which the organism is sufficiently supplied with oxygen           (nonmixing)DNAPLs exit in the subsurface as a separate fluid
    (IUPAC 2006)                                                         phase in the presence of air and water. DNAP Ls can vaporize
                                                                         into air and slowly dissolve into flowing groundwater. Ex-
    anaerobic process A biologically-mediated process or                 amples of DNAPLs include chlorinated solvents, creosote, coal
    condition not requiring molecular or free oxygen (IUPAC 2006)        tar,
    ATSDR      Agency for Toxic Substances and Disease Registry          and PCBs (Kueper et al. 2003)

                                                                         DVD      Digital video disc
    B
    biodegrndation Transformation of substances into new                 E
    compounds through biochemical reactions or the actions
    of microorganisms, such as bacteria. Typically expressed             EPANET 2 A water-distribution system model developed
    in terms of a rate constant or half-life (USEPA 2004). The           by USEPA
    new compounds are referred to as degradation by-products
                                                                         epidemiological study A study to determine whether a
    (for example, TCE, 1,2-tDCE, and VC are degradation
                                                                         relation exists between the occurrence and frequency of
    by-products of PCE)
                                                                         a disease and a specific factor such as exposure to a toxic
    IHEX Benzene, toluene, ethylbenzene, and xylene; a group             compound found in the environment
    of VO Cs found in petroleum hydrocarbons, such as gasoline,
    and other common environmental contaminants                          EPS Extended period simulation; a simulation method used
                                                                         to analyze a water-distribution system that is characterized
    C                                                                    by time-varying demand and operating conditions
    calibration     See model calibration                                exposure Pollutants or contaminants that come in contact
    CERCLA The Comprehensive Environmental Response, Com-                with the body and present a potential health threat
    pensation, and Liability Act of 1980, also know as Superfund
                                                                         F
    CRWOME Continuous recording water-quality monitoring
    equipment; equipment that can be connected to hydraulic              fate and transport Also known as mass transport; a process
    devices such as hydrants to continuously record water-qual-          that refers to how contaminants move through, and are trans-
    ity parameters such as temperature, pH, and fluoride. For            formed in, the environment
    the Camp Lejeune analyses, the Horiba W-23XD continuous
    recording, dual probe ion detector data logger was used              finished water Groundwater that has undergone treatment
                                                                         at a water treatment plant and is delivered to a person's home.
    D                                                                    For this study, the concentration of treated water at the water
                                                                         treatment plant is considered the same as the concentration
    DCE   1, 1-dichloroethylene or 1, 1-dichloroethene                   of water delivered to a person's home
    1,2-DCE    cis-1,2- dichloroethylene or trans-1,2-dichloroethylene
                                                                         ft    Foot or feet
    1,2-cDCE      cis-1,2- dichloroethylene or cis-1,2-dichloroethene
                                                                         G
    1,2-tDCE    trans-1,2-dichloroethylene or trans-1,2-dichloroethene
    degradation      See biodegradation                                  gal    Gallon or gallons

    degradation by-product      See biodegradation                       gal/min     Gallons per minute

    density The mass per unit volume of material, expressed in           H
    terms of kilograms per cubic meter or grams per cubic centimeter
                                                                         historical reconstrnction A diagnostic analysis used to
    direct measurement or observation A method of obtaining              examine historical characteristics of groundwater flow,
    data that is based on measuring or observation of the param-         contaminant fate and transport, water-distribution systems,
    eter of interest                                                     and exposure


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                                                                                                                                       xi



                                                                    MT3DMS A three-dimensional mass transport, multispecies
                                                                    model developed by C. Zheng and P. Wang on behalf of the
interconnection The continuous flow of water in a pipeline
                                                                    U.S. Army Engineer Research and Development Center in
from one water-distribution system to another
                                                                    Vicksburg, Mississippi
inverse distance weighting A process of assigning values
to unknown points by using values from known points; a              N
method used to contour data or simulation results
                                                                    NPL National Priorities List; the USEPA's official list of
IUPAC     International Union of Pure and Applied Chemistry         uncontrolled hazardous waste sites which are to be cleaned
                                                                    up under the Superfund legislation
K
                                                                    p
«.. Organic carbon partition coefficient
                                                                    paired data point A location with observed data (for example,
Kw    Octanol-water partition coefficient
 0                                                                  water level or concentration) that is associated with a model loca-
                                                                    tion for the purpose of comparing observed data with model results
M
                                                                    PCE Tetrachloroethene, tetrachloroethylene, 1, 1,2,2-tetrachloro-
MCL Maximum contaminant level; a legal threshold limit set
                                                                    ethylene, or perchloroethylene; also known as PERC® or PERK®
by the USE PA on the amount of a hazardous substance that
is allowed in drinking water under the Safe Drinking Water          PDF Probability density function; also known as the
Act; usually expressed as a concentration in milligrams or          probability function or the frequency function. A mathematical
micrograms per liter. Effective dates for MCLs are as follows:      function that expresses the probability of a random variable
trichloroethylene (TCE) and vinyl chloride (VC), January 9, 1989;   falling within some interval
tetrachloroethylene (PCE) and trans-1,2-dichloroethylene
(1,2-tDCE), July 6, 1992 (40 CFR, Section 141.60, Effective         Pl-IA Public health assessment; an evaluation conducted by
Dates, July 1, 2002, ed.)                                           ATSDR of data and information on the release of hazardous
                                                                    substances into the environment in order to assess any past,
MCS     Monte Carlo simulation; see Monte Carlo analysis            present, or future impact on public health
MESL Multimedia Environmental Simulations Labora-                   potentiometric level    A level to which water will rise in a
tory, School of Civil and Environmental Engineering,                tightly cased well
Georgia Institute of Technology, Atlanta, Georgia; an
ATSDR cooperative agreement partner                                 potentiometric surface An imaginary surface defined by
                                                                    the levels to which water will rise in a tightly cased wells.
1,1g/l Microgram per liter; 1 part per billion, a unit
                                                                    The water table is a particular potentiometric surface
of concentration
                                                                    probabilistic analysis An analysis in which frequency (or
MG    Million gallons
                                                                    probability) distributions are assigned to represent variability
MGD     Million gallons per day                                     (or uncertainty) in quantities. The output of a probabilistic
                                                                    analysis is a distribution (Cullen and Frey 1999)
mg/l Milligram per liter; 1 part per million (ppm), a unit
of concentration                                                    pseudo-random number generator A deterministic algorithm
                                                                    used to generate a sequence of numbers with little or no discern-
ml    Milliliter; 111000th of a liter
                                                                    able pattern in the numbers except for broad statistical properties
model calibration The process of adjusting model input pa-
                                                                    PSOpS A pumping schedule optimization system simulation
rameter values until reasonable agreement is achieved between
                                                                    tool used to assess impacts of unknown and uncertain histori-
model-predicted outputs or behavior and field observations
                                                                    cal groundwater well operations. The simulation tool was
MODFLOW-96 A three-dimensional groundwater-flow model,              developed by the Multimedia Environmental Simulations Labo-
1996 version, developed by the U.S. Geological Survey               ratory at the Georgia Institute of Technology, Atlanta, Georgia

MODFLOW-21< A three-dimensional groundwater-flow model,
2000 version, developed by the U.S. Geological Survey               0.
                                                                    qualitative description A method of estimating data
Monte Carlo analysis Also referred to as Monte Carlo simula-
                                                                    that is based on inference
tion; a computer-based method of analysis that uses statistical
sampling techniques to obtain a probabilistic approximation to      quantitative estimate A method of estimating data that
the solution of a mathematical equation or model (USEPA 1997)       is based on the application of computational techniques


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R                                                                      TechFiowMP A three-dimensional multispecies, multiphase
                                                                       mass transport model developed by the Multimedia Environ-
rank-and-assign method An optimization method uniquely
                                                                       mental Simulations Laboratory at the Georgia Institute of
developed for the pumping schedule optimization system
                                                                       Technology, Atlanta, Georgia
(PSOpS) simulation tool . This procedure updates the pumping
schedule for maximum and minimum contaminant concentra-                trihaiomethane A chemical compound in which three of the
tion levels in finished water of the WTP based on derivative,          four hydrogen atoms of methane (CH 4) are replaced by halogen
pumping capacity, and total pumping demand information                 atoms. Manytrihalomethanes are used in industry as solvents
                                                                       or refrigerants. They also are environmental pollutants, and
RMS Root-mean-square; a statistical measure of the
                                                                       many are considered carcinogenic
magnitude of a varying quantity

s                                                                      u
saturated zone     Zone at or below the water table                    uncertainty The lack of knowledge about specific factors,
                                                                       parameters, or models (for example, one is uncertain about
SCADA Supervisory control and data acquisition; a comput-              the mean value of the concentration of PCE at the source)
erized data collection system used to collect hydraulic data
and information in water-distribution systems at specified             unsaturated zone Zone or area above the water table;
time intervals such as every 1, 5, 15, etc., minutes                   also known as the vadose zone

sensitivity analysis An analysis method used to ascertain              USEPA     U.S. Environmental Protection Agency
how a given model output (for example, concentration) de-              USGS     U.S. Geological Survey
pends upon the input parameters (for example, pumping rate,
mass loading rate). Sensitivity analysis is an important method
for checking the quality of a given model, as well as a powerful       V
tool for checking the robustness and reliability of its analysis       variability Observed differences attributable to heterogeneity
sequential biodegradation Degradation of a volatile organic            or diversity in a model parameter, an exposure parameter, or
compound as a result of a biological process that occurs               a population
in a progression, for example, the biodegradation of                   VC    Vinyl chloride or chloroethene
PCE ~ TCE ~ 1,2-tDCE ~ VC
                                                                       Venn diagram A diagram that shows the mathematical or
SGA Small for gestational age; a term used to describe when            logical relationship between different groups or sets; the dia-
an infant's weight is very low given their gestational week of birth   gram shows all the possible logical relations between the sets
SGS Sequential Gaussian simulation; a process in which                 venturi meter A device used to measure the flow rate or
a field of values (such as hydraulic conductivity) is obtained         velocity of a fluid through a pipe
multiple times assuming the spatially interpolated values
                                                                       VOC Volatile organic compound; an organic chemical
follow a Gaussian (normal) distribution
                                                                       compound (chlorinated solvent) that has a high enough vapor
skeletonization The reduction or aggregation of a water-               pressure under normal circumstances to significantly vaporize
distribution system network so that only the major hydraulic           and enter the atmosphere. VO Cs are considered environmental
characteristics need be represented by a model. Skeletoniza-           pollutants and some may be carcinogenic
tion is often used to reduce the computational requirements
of modeling an all-pipes network                                       w
SR    Highway or state route                                           water-distribution system A water-conveyance network
                                                                       consisting of hydraulic facilities such as wells, reservoirs,
standard deviation Square root of the variance or the root-            storage tanks, high-service and booster pumps, and a network
mean-square (RMS) deviation of values from their arithmetic mean       of pipelines for delivering drinking water
T                                                                      water table Also known as the phreatic surface; the surface
                                                                       where the water pressure is equal to atmospheric pressure
TCE 1, 1,2-trichloroethene, or 1, 1,2-trichloroethylene,
or trichloroethylene                                                   WTP     Water treatment plant


                         Use of trade names and commercial sources is for identification only and does
                    not imply endorsement by the Agency for Toxic Substances and Disease Registry or
                    the U.S. Department of Health and Human Services.


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        Analyses of Groundwater Flow, Contaminant Fate and Transport,
      and Distribution of Drinking Water at Tarawa Terrace and Vicinity,
           U.S. Marine Corps Base Camp Lejeune, North Carolina:
           Historical Reconstruction and Present-Day Conditions

                                   Chapter A: Summary of Findings
               By Morris L. Maslia,1 Jason B. Sautner, 1 Robert E. Faye,2 Rene J. Suarez-Soto,1 Mustafa M. Aral, 3
                   Walter M. Grayman,4 Wonyong Jang,3 Jinjun Wang, 3 Frank J. Bove, 1 Perri Z. Ruckart,1
                              Claudia Valenzuela, 5 Joseph W. Green, Jr.,5 and Amy L. Krueger 5




Abstract                                                                    limited measurements of contaminant and exposure
                                                                            data are available to support the epidemiological study,
     Two of three water-distribution systems that have                      ATSDR is using modeling techniques to reconstruct
historically supplied drinking water to family housing at                   historical conditions of groundwater flow, contaminant
U.S. Marine Corps Base Camp Lejeune, North Carolina,                        fate and transport, and the distribution of drinking water
were contaminated with volatile organic compounds                           contaminated with VOCs delivered to family housing
(VOCs). Tarawa Terrace was contaminated mostly with                         areas. The analyses and results presented in this Sum-
tetrachloroethylene (PCE), and Hadnot Point was con-                        mary of Findings, and in reports described herein, refer
taminated mostly with trichloroethylene (TCE). Because                      solely to Tarawa Terrace and vicinity. Future analyses
scientific data relating to the harmful effects of VOCs on                  and reports will present information and data about con-
a child or fetus are limited, the Agency for Toxic Sub-                     tamination of the Hadnot Point water-distribution system.
stances and Disease Registry (ATSDR), an agency of                               Models and methods used as part of the historical
the U.S. Department of Health and Human Services, is                        reconstruction process for Tarawa Terrace and vicinity
conducting an epidemiological study to evaluate potential                   included: (1) MODFLOW-96, used for simulating steady-
associations between in utero and infant (up to 1 year of                   state (predevelopment) and transient groundwater flow;
age) exposures to VOCs in contaminated drinking water                       (2) MT3DMS, used for simulating three-dimensional,
at Camp Lejeune and specific birth defects and childhood                    single-specie contaminant fate and transport; (3) a
cancers. The study includes births occurring during the                     materials mass balance model (simple mixing) used to
period 1968-1985 to women who were pregnant while                           compute the flow-weighted average concentration of
they resided in family housing at Camp Lejeune. Because                     PCE assigned to the finished water at the Tarawa Terrace
                                                                            water treatment plant (WTP); (4) TechFlowMP, used for
  1
                                                                            simulating three-dimensional, multispecies, multiphase
     Agency for Toxic Substances and Disease Registry, Atlanta, Georgia.
  2
     Robert E. Faye and Associates, consultant to Eastern Research Group,   mass transport; (5) PSOpS, used for simulating the
Inc., Lexington, Massachusetts.                                             impacts of unknown and uncertain historical well opera-
   3
     School of Civil and Environmental Engineering, Georgia Institute of
                                                                            tions; (6) Monte Carlo simulation and sequential Gauss-
Technology, Atlanta, Georgia.
  4
     W.M. Grayman Consulting Engineer, Cincinnati, Ohio.                    ian simulation used to conduct probabilistic analyses
   5
     Oak Ridge Institute for Science and Education, Oak Ridge, Tennessee.   to assess uncertainty and variability of concentrations


Chapter A: Summary of Findings                                                                                                     A1
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of PCE-contaminated groundwater and drinking water;                 • Based on probabilistic analyses, the most likely
and (7) EPANET 2, used to conduct extended-period                     dates that finished water first exceeded the current
hydraulic and water-quality simulations of the Tarawa                 MCL for PCE ranged from October 1957 to
Terrace water-distribution system. Through historical                 August 1958 (95 percent probability), with an
reconstruction, monthly concentrations of PCE in                      average first exceedance date of November 1957.
groundwater and in finished water distributed from
                                                                    • Exposure to drinking water contaminated with
the Tarawa Terrace WTP to residents of Tarawa Terrace
                                                                      PCE and PCE degradation by-products ceased
were determined.
                                                                      after February 1987 when the Tarawa Terrace
     Based on field data, modeling results, and the his-
                                                                      WTP was closed.
torical reconstruction process, the following conclusions
are made:
     • Simulated PCE concentrations exceeded the current
                                                              Introduction
       maximum contaminant level (MCL) of 5 micro-                 The Agency for Toxic Substances and Disease
       grams per liter (µg/L) at water-supply well TT-26      Registry (ATSDR), an agency of the U.S. Department
       for 333 months-January 1957-January 1985.              of Health and Human Services, is conducting an epide-
                                                              miological study to evaluate whether in utero and infant
     • The maximum simulated PCE concentration at             (up to 1 year of age) exposures to drinking water con-
       well TT-26 was 851 µg/L during July 1984;              taminated with volatile organic compounds (VOCs) at
       the maximum measured PCE concentration                 U.S. Marine Corps Base Camp Lejeune, North Carolina
       was 1,580 µg/L during January 1985.                    (Plate 1), were associated with specific birth defects and
     • Simulated PCE concentrations exceeded the              childhood cancers. The study includes births occurring
       current MCL of 5 µg/L in finished water at             during the period 1968-1985 to women who resided in
       the Tarawa Terrace WTP for 346 months-                 family housing at Camp Lejeune. The first year of the
       November 1957-February 1987.                           study, 1968, was chosen because North Carolina com-
                                                              puterized its birth certificates starting that year. The last
     • The maximum simulated PCE concentration in
                                                              year of the study, 1985, was chosen because the most
       finished water at the Tarawa Terrace WTP was
                                                              contaminated water-supply wells were removed from
       183 µg/L during March 1984; the maximum
                                                              regular service that year. ATSDR is using water-modeling
       measured PCE concentration was 215 µg/L
                                                              techniques to provide the epidemiological study with
       during February 1985.
                                                              quantitative estimates of monthly contaminant concentra-
     • Simulation of PCE degradation by-products-TCE,         tions in finished drinking water6 because contaminant
       trans-1,2-dichloroethylene (l,2-tDCE), and vinyl       concentration data and exposure information are limited.
       chloride-indicated that maximum concentrations         Results obtained by using water-modeling techniques,
       of the degradation by-products generally were in the   along with information from the mother on her water use,
       range of 10-100 µg/L at water-supply well TT-26;       can be used by the epidemiological study to estimate the
       measured concentrations of TCE and 1,2-tDCE on         level and duration of exposures to the mother during her
       January 16, 1985, were 57 and 92 µg/L, respectively.   pregnancy and to the infant (up to 1 year of age). Using
     • Maximum concentrations of degradation by-              water-modeling techniques in such a process is referred
       products in finished water at the Tarawa Terrace       to as historical reconstruction (Maslia et al. 2001).
       WTP generally were in the range of 2-15 µg/L;               Three water-distribution systems have historically
       measured concentrations of TCE and 1,2-tDCE on         supplied drinking water to family housing at U.S. Marine
       February 11, 1985, were 8 and 12 µg/L, respectively.   Corps Base Camp Lejeune-Tarawa Terrace, Holcomb
                                                              Boulevard, and Hadnot Point (Plate 1, Figure Al).
     • Based on water-supply well scheduling analyses,
                                                                 6
       finished water exceeding the current MCL for                For this study, finished drinking water is defined as groundwater that has
                                                              undergone treatment at a water treatment plant and is delivered to a person's
       PCE (5 µg/L) at the Tarawa Terrace WTP could           home. The concentration of contaminants in treated water at the water treatment
       have been delivered as early as December 1956          plant is considered the same as the concentrations in the water delivered to a
                                                              person's home. This assumption is tested and verified in the Chapter J report
       and no later than June 1960.                           (Sautner ct al. In press 2007). Hereafter, the term "finished water" will be used.



A2                                              Historical Reconstruction of Drinking-Water Contamination at Tarawa Terrace
                                                           and Vicinity, U.S. Marine Corps Base Camp Lejeune, North Carolina
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                                    NORTH CAROLINA




                                                                                                                                           5 MILES




                                                                                                         Base from Camp Lejeune GIS Office, June 2003


                                                         77°24'                             77°22'30"                             77°21'




          34°45'




        34°43'30"




                     Note: Camp Knox served
                     by Montford Point and
                     Tarawa Terrace water
                     supplies at various
                     historical times

                    Base from U.S. Marine Corps and                                                                             0.5             1 MILE
                    U.S. Geological Survey digital data files
                                                                                 EXPLANATION                              0.5         1 KILOMETER

                                                                          Historical water-supply area
                                 D      Montford Point          D    Tarawa Terrace   D     Holcomb Boulevard     D      Hadnot Point

                                                                  n-260 Water-supply well and identification

                    Figure A1.  Selected base housing and historical water-supply areas, Tarawa Terrace and vicinity,
                    U.S. Marine Corps Base Camp Lejeune, North Carolina.



Chapter A: Summary of Findings                                                                                                                           A3
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Two of the water-distribution systems were contami-                                to Tarawa Terrace and vicinity. Future analyses and
nated with VOCs. Tarawa Terrace was contaminated                                   reports will present information and data about contami-
mostly with tetrachloroethylene (PCE), and Hadnot                                  nation of the Hadnot Point water-distribution system.
Point was contaminated mostly with trichloroethylene
(TCE). Historical information and data have indicated                              Previous Studies and Purpose of the
that one source of contamination-ABC One-Hour                                      Current Investigation
Cleaners (Figure Al)-was responsible for contaminat-                                    Only a small number of studies have evaluated the
ing Tarawa Terrace water-supply wells (Shiver 1985).                               risk of birth defects and childhood cancers from expo-
Water-supply data and operational information indicate                             sures to drinking water contaminated with VOCs. These
that Tarawa Terrace wells supplied water solely to the                             include, for example, studies by Cohn et al. (1994 ),
Tarawa Terrace water treatment plant (WTP). Addi-                                  Bove et al. (1995, 2002), Costas et al. (2002), Massa-
tionally, the Tarawa Terrace water-distribution system                             chusetts Department of Public Health (1996), and the
was operated independently of the other two water-                                 New Jersey Department of Health and Senior Services
distribution systems (Holcomb Boulevard and Hadnot                                 (2003). Five studies that have evaluated exposures
Point). Therefore, analyses presented in this Summary                              to TCE and PCE in drinking water and adverse birth
of Findings and in reports described herein refer solely                           outcomes are summarized in Table Al. Compared to

Table A1.    Summary of trichloroethylene and tetrachloroethylene study characteristics and results. 1
[OR, odds ratio; TCE, trichloroethylene; PCE, tetrachloroethylene; SGA, small for gestational age; LBW, low birth weight; NTD, neural tube defects;
MBW, mean birth weight; MBWD, mean birth weight difference; VLBW, very low birth weight; GIS, geographic information system; =, equal; S, less than
or equal to;-, negative; g, gram; yr, year]

 Study site and period                  Outcome            Number of subjects                Exposure                          Results (OR)2
 Arizona                            Cardiac defects      365 cases                    1st trimester residence    Prevalence ratio= 2.58
   1969-1981                                                                              (or employment)
   (Goldberg et al. 1990)                                                                in area of TCE
                                                                                         contamination
 Woburn, Massachusetts              SGA                  2,211 births                 Modeled distribution       SGA = 1.55; LBW :s;1.o; preterm
  1975-1979                         preterm birth           19 fetal deaths            system to estimate          delivery :s; 1.0; fetal death= 2.57;
  (MDPH,CDC 1996)                   birth defects                                      monthly exposures;          NTD =2.21; cleft palate= 2.21;
                                    fetal death                                        address at delivery         heart defects =0.40; eye defects =
                                                                                                                   4.41; cluster of choanal atresia
 1969-1979                          LBW                  5,347 births
 Northern New Jersey                SGA                  80,938 live births,          Estimated average          TCE: SGA :s;1.o; preterm birth= 1.02;
   1985-1988                        preterm birth          594 fetal deaths             monthly levels of          NTD = 2.53; oral clefts= 2.24;
   (Bove et al. 1995)               birth defects                                       solvents based on          heart defects = 1.24; fetal death :s; 1.0
                                    fetal death                                         tap water sample         PCE: SGA :s; 1.0; preterm birth :s; 1.0;
                                                                                        data and address at        NTD = 1.16; oral clefts= 3.54;
                                                                                        delivery                   heart defects= 1.13; fetal death :s; 1.0
 Camp Lejeune,                      MBW                  31 births exposed to         Residence in a base        TCE: SGA = 1.5; MBWD = -139 g;
   North Carolina                   SGA                    TCE, 997 unex-               housing area known         preterm birth= 0.0;
   1968-1985                        preterm birth          posed; 6,117 births          to have received           males: SGA = 3.9; MBWD = -312 g
   (ATSDR 1998)                                            exposed to PCE,              contaminated water       PCE: SGA = 1.2; MBWD = -24 g;
                                                           5,681 births                                            preterm birth = 1.0; women > 35 yr:
                                                           unexposed                                               SGA = 4.0; MBWD = -205 g;
                                                                                                                   women with ;::,:2 fetal losses: SGA = 2.5
 Arizona 1979-1981                  LBW                   1,099 exposed births,       Maternal residence in      TCE: LBW= 0.90; VLBW = 3.30;
   (high exposure)                  VLBW                     877 unexposed             target or compari-          full-term LBW= 0.81
   and 1983-1985                    full-term LBW           births                     son census tracts at
   (post exposure)                                                                     delivery; GIS mod-
   (Rodenbeck                                                                          eling of ground-
   et al. 2000)                                                                        water plume
  1
   Bove et al. (2002)
  'Results in bold type indicate those that were calculated by the reviewing authors (Bove et al. 2002)


A4                                                              Historical Reconstruction of Drinking-Water Contamination at Tarawa Terrace
                                                                           and Vicinity, U.S. Marine Corps Base Camp Lejeune, North Carolina
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the aforementioned studies, the current study at Camp        numerical model development, model-calibration pro-
Lejeune is unique in that it will examine the associa-       cedures, synoptic maps showing groundwater migration
tions between well-defined, quantitative levels of PCE       of PCE at Tarawa Terrace, or probabilistic analyses,
and TCE in drinking water and the risk of developing         should consult the appropriate chapter report (Table A2,
specific birth defects-spina bifida, anencephaly, cleft      Appendix Al). Also provided with the Chapter A report
lip, and cleft palate-childhood leukemia, and non-           is a searchable electronic database-on digital video disc
Hodgkin's lymphoma. The current study includes parent        (DVD) format-of information and data sources used to
interviews conducted to obtain residential history, infor-   conduct the historical reconstruction analysis. Electronic
mation on water consumption habits, and risk factors.        versions of each chapter report-summarized in Appen-
Using model-derived drinking-water concentrations            dix Al-and supporting information and data will be
and interview data, associations between exposure to         made available on the ATSDR Camp Lejeune Web site
PCE and TCE during various time periods of interest-         at http://www.atsdr.cdc.gov/sites/lejeune/index.html.
preconception, trimesters, entire pregnancy, and infancy
(up to 1 year of age )-and the risk of particular health     External Peer Review
outcomes can be thoroughly examined.
      The purpose of the analyses described in this report        Throughout this investigation, ATSDR has sought
and associated chapter reports is to provide epidemi-        independent external expert scientific input and review of
ologists with historical monthly concentrations of con-      project methods, approaches, and interpretations to assure
taminants in drinking water to facilitate the estimation     scientific credibility of the analyses described in the
of exposures. Because historical contaminant concen-         Tarawa Terrace reports. The review process has included
tration data are limited, the process of historical recon-   convening an expert peer review panel and submitting
struction-which included water-modeling analyses-            individual chapter reports to outside experts for technical
was used to synthesize information and quantify              reviews. On March 28-29, 2005, ATSDR convened an
estimates of contaminant occurrences in groundwater          external expert panel to review the approach used in con-
and the water-distribution system at Tarawa Terrace.         ducting the historical reconstruction analysis and to provide
                                                             input and recommendations on preliminary analyses and
                                                             modeling results (Maslia 2005). The panel was composed
Tarawa Terrace Chapter Reports                               of experts with professional backgrounds from govern-
                                                             ment and academia, as well as the private sector. Areas
     Owing to the complexity, uniqueness, and the
                                                             of expertise included numerical model development and
number of topical subjects included in the historical
                                                             simulation, groundwater-flow and contaminant fate and
reconstruction process, a number of reports were
                                                             transport analyses and model calibration, hydraulic and
prepared that provide comprehensive descriptions of
                                                             water-quality analysis of water-distribution systems,
information, data, and methods used to conduct historical
                                                             epidemiology, and public health. After reviewing data
and present-day analyses at Tarawa Terrace and vicinity.
                                                             and initial approaches and analyses provided by ATSDR,
Table A2 lists the 11 chapters (A-K) and chapter titles
                                                             panel members made the following recommendations:
of reports that compose the complete description and
details of the historical reconstruction process used for        • Data discovery: ATSDR should expend additional
the Tarawa Terrace analyses. Also included in Table A2             effort and resources in the area of conducting
are listings of the authors and a topical summary of each          more rigorous data discovery activities. To the
chapter report. Figure A2 shows the relation among the             extent possible, the agency should augment,
Chapter A report (Summary of Findings-this report),                enhance, and refine data it is relying on to
Chapters B-K reports, and the overall process of histori-          conduct water-modeling activities.
cal reconstruction as it relates to quantifying exposures        • Chronology of events: ATSDR should focus efforts
and the ATSDR case-control epidemiological study.                  on refining its understanding of chronological
Reports for chapters B-K present detailed information,             events. These need to include documenting periods
data, and analyses. Summaries of results from each                 of known contamination, times when water-distri-
chapter report are provided in Appendix Al. Readers                bution systems were interconnected, and the start
interested in details of a specific topic, for example,            of operations of the Holcomb Boulevard WTP.

Chapter A: Summary of Findings                                                                                         AS
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Introduction - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

Table A2.  Summary of ATS DR chapter reports on topical subjects of water-modeling analyses and the historical reconstruction
process, Tarawa Terrace and vicinity, U.S. Marine Corps Base Camp Lejeune, North Carolina.
[ATSDR, Agency for Toxic Substances and Disease Registry; VOC, volatile organic compound; PCE, tetrachloroethylene; WTP, water treatment plant]


 Report
                       Author(s)                    Chapter title and reference citation                           Topical summary
 chapter
 A          Maslia ML, Sautner JB,             Summary of Findings; Maslia et al. 2007            Summary of detailed technical findings
             Faye RE, Suarez-Soto RJ,            (this report)                                      (found in Chapters B-K) focusing on the
             Aral MM, Grayman WM,                                                                   historical reconstruction analysis and present-
             Jang W, Wang J, Bove FJ,                                                               day conditions of groundwater flow, contami-
             Ruckart PZ, Valenzuela C,                                                              nant fate and transport, and distribution of
             Green JW Jr, and                                                                       drinking water
             Krueger AL
 B          Faye RE                            Geohydrologic Framework of the                     Analyses of well and geohydrologic data used
                                                 Castle Hayne Aquifer System;                       to develop the geohydrologic framework of
                                                 Faye (In press 2007a)                              the Castle Hayne aquifer system at Tarawa
                                                                                                    Terrace and vicinity
 C          Faye RE, and Valenzuela C          Simulation of Groundwater Flow;                    Analyses of groundwater flow including devel-
                                                 Faye and Valenzuela (In press 2007)                oping a predevelopment (steady state) and
                                                                                                    transient groundwater-flow model
 D          Lawrence SJ                        Properties of Degradation Pathways of              Describes and summarizes the properties, degra-
                                                 Common Organic Compounds in                        dation pathways, and degradation by-products
                                                 Groundwater; Lawrence (In press 2007)              of VOCs (non-trihalomethane) commonly
                                                                                                    detected in groundwater
 E          Faye RE, and Green JW Jr           Occurrence of Contaminants in Ground-              Describes the occurrence and distribution of
                                                 water; Faye and Green (In press 2007)              PCE and related contaminants within the
                                                                                                    Tarawa Terrace aquifer and the Upper Castle
                                                                                                    Hayne aquifer system at and in the vicinity of
                                                                                                    the Tarawa Terrace housing area
 F          Faye RE                            Simulation of the Fate and Transport               Historical reconstruction of the fate and transport
                                                 of Tetrachloroethylene (PCE);                      of PCE in groundwater from the vicinity of
                                                 Faye (In press 2007b)                              ABC One-Hour Cleaners to individual water-
                                                                                                    supply wells and the Tarawa Terrace WTP
 G          Jang W, and Aral MM                Simulation of Three-Dimensional Multi-             Descriptions about the development and applica-
                                                 species, Multiphase Mass Transport of              tion of a model capable of simulating three-
                                                 Tetrachloroethylene (PCE) and Associ-              dimensional, multispecies, and multiphase
                                                 ated Degradation By-Products; Jang and             transport of PCE and associated degradation
                                                 Aral (In press 2007)                               by-products
 H          Wang J, and Aral MM                Effect of Groundwater Pumping Schedule             Analysis of the effect of groundwater pumping
                                                 Variation on Arrival of Tetrachloroethyl-          schedule variation on the arrival of PCE at
                                                 ene (PCE) at Water-Supply Wells and the            water-supply wells and the Tarawa Terrace WTP
                                                 Water Treatment Plant; Wang and Aral
                                                 (In press 2007)
            Maslia ML, Suarez-Soto RJ,         Parameter Sensitivity, Uncertainty, and Vari-      Assessment of parameter sensitivity, uncertainty,
             Wang J, Aral MM,                    ability Associated with Model Simulations          and variability associated with model simula-
             Sautner JB, and                     of Groundwater Flow, Contaminant Fate              tions of groundwater flow, contaminant fate and
             Valenzuela C                        and Transport, and Distribution of Drink-          transport, and the distribution of drinking water
                                                 ing Water; Maslia et al. (In press 2007b)
 J           Sautner JB, Valenzuela C,         Field Tests, Data Analyses, and Simulation         Field tests, data analyses, and simulation of the
               Maslia ML, and                    of the Distribution of Drinking Water;             distribution of drinking water at Tarawa Ter-
               GraymanWM                         Sautner et al. (In press 2007)                     race and vicinity
 K          Maslia ML, Sautner JB,             Supplemental Information; Maslia et al.            Additional information such as synoptic maps
             Faye RE, Suarez-Soto RJ,            (In press 2007a)                                   showing groundwater levels, directions of
             Aral MM, Grayman WM,                                                                   groundwater flow, and the distribution of PCE
             Jang W, Wang J, Bove FJ,                                                               based on simulation; a complete list of refer-
             Ruckart PZ, Valenzuela C,                                                              ences; and other ancillary information and
             Green JW Jr, and                                                                       data that were used as the basis of this study
             Krueger AL



A6                                                          Historical Reconstruction of Drinking-Water Contamination at Tarawa Terrace
                                                                       and Vicinity, U.S. Marine Corps Base Camp Lejeune, North Carolina
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                                                     Chapter A: Summary of Findings
                                                           I                         I
                                                                                                                                ~
                                                           I Executive Summary       I
                                                           1 Published June 2007
                                                                                     1
                                                           L   __________            I




                                  Chapter B                                Chapter D                          Chapter E
                                                                       Properties and
                                Geohydrologic                                                               Occurrence
                                                                    degradation pathways
                                 framework                                                                of contaminants
                                                                          of voes



                                       1
                                   Chapter C
                                                                                         I,


                                                                                              Chapter F
                                                                                                                            .
                                 Simulation of                                       Simulation of PCE
                               groundwater flow                                      fate and transport




                                       1             Auxilliary and enhanced analyses
                                 Chapter G                        Chapter H                           Chapter I
                                Simulation of
              +-----                                             Analyses of                    Parameter and model
                            three-dimensional                  water-supply well               sensitivity, uncertainty,
                          multispecies, multiphase             pumping variation                   and variability
                               mass transport




             ----+----
                              Chapter J
                           Field tests and
                                                                       l
                                                                  Historical
                                                ------+         reconstruction
                         analyses of water-
                         distribution system
                                                     Quantified concentrations
                                                       of PCE-contaminated
                             Chapter K                    drinking water
                                                        at Tarawa Terrace
                                                  +-- water treatment plant
                             Supplemental
                         1nformat1on and data


                                                                Epidemiological
                                                                     study

                                                            Quantified historical
                                                              exposures to PCE
                                                           derived from historical
                                                             reconstruction and
                                                          water-modeling analyses



              Figure A2. Relation among Chapter A report (Summary of Findings), Chapters B-K reports, historical
              reconstruction process, and the ATSDR epidemiological case-control study, Tarawa Terrace and
              vicinity, U.S. Marine Corps Base Camp Lejeune, North Carolina. [VO Cs, volatile organic compounds;
              PCE, tetrachloroethylene]



Chapter A: Summary of Findings                                                                                                      A7
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Chlorinated Solvents and Volatile Organic Compounds - - - - - - - - - - - - - - - - - - - - - - - -

      • Groundwater modeling, Tarawa Terrace area:                            groundwater contamination (Schwille 1988). Thus,
        Several recommendations were made with respect                        VOCs are organic compounds that have a high enough
        to groundwater modeling and associated activities                     vapor pressure under normal circumstances to signifi-
        for the Tarawa Terrace area, and these included:                      cantly vaporize and enter the atmosphere.
        ( 1) refine operational schedules of water-supply                           In the United States, the production of chlori-
        wells, (2) conduct fate and dispersive transport                      nated solvents, and more generally, synthetic organic
        analyses, (3) conduct sensitivity and uncertainty                     chemicals, was most probably a direct result of World
        analyses to refine initial estimates of model                         War I. As of 1914, PCE was manufactured as a by-
        parameter values, and (4) determine sensitivity                       product of carbon tetrachloride, and domestic produc-
        of model to cell sizes and boundary conditions. 7                     tion of TCE is reported to have begun during the 1920s
                                                                              (Doherty 2000a, b). Contamination of groundwater
      • Water-distribution system analyses: In light of
                                                                              systems by chlorinated solvents, however, was not rec-
        available data, the ATSDR water-modeling team
                                                                              ognized in North America until the late 1970s. 9 The late-
        should consider using more simplified mixing
                                                                              ness of this recognition was due in part because monitor-
        models (rather than complex water-distribution
                                                                              ing for VOCs and nearly all other organic compounds
        system models) to quantify historical exposures to
                                                                              was not common until that time. Research into the
        drinking-water supplies. More complex modeling
                                                                              properties of chlorinated solvents and how their proper-
        might be warranted only if data discovery shows
                                                                              ties, such as density (DNAPLs) and significant volatility
        that the water-distribution systems had a greater
                                                                              (VOCs), were capable of leading to severe groundwater
        frequency of interconnectivity.
                                                                              problems was first recognized by Schwille in West
     The recommendations of the external expert panel                         Germany during the 1970s (Schwille 1988). Thus, VOCs
were implemented as part of the historical reconstruc-                        are considered environmental pollutants, and some may
tion analysis efforts. Results of these efforts are presented                 be carcinogenic. Briefly described next are naming
in conjunction with specific data needs, descriptions of                      conventions used for VOCs and maximum contaminant
the historical reconstruction simulations, and sensitivity                    levels (MCLs) established by the U.S. Environmental
analyses that are summarized in this report (Chapter A) and                   Protection Agency (USEPA) for selected VOCs.
discussed in detail in subsequent chapter reports (B-J).
                                                                              Naming Conventions
Chlorinated Solvents and                                                           It is common to find a confusing variety of names
Volatile Organic Compounds (VOCs)                                             used to identify VOCs. For example, tetrachloroethene
                                                                              also is known as perchloroethylene, PCE, PERC®, and
     The compounds and contaminants discussed in this                         tetrachloroethylene (Table A3). The variety of different
report and other Tarawa Terrace chapter reports belong to                     names for VOCs depends on (1) the brand name under
a class of chemicals referred to as chlorinated solvents.                     which the product is sold, (2) the region where the com-
The denser-than-water characteristic of liquid chlorinated                    pound is used, (3) the type of publication referring to
solvents has led to their being called "dense nonaqueous                      the compound, (4) the popularity of the name in recently
phase liquids" (DNAPLs 8) (Pankow and Cherry 1996).                           published literature, (5) the profession of the person
The significant volatility that characterizes chlorinated                     using the name, or (6) a combination of all or part of
solvents also has led to these compounds being referred                       the above. As early as the late 1800s, chemists and
to as "volatile organic compounds" (VOCs). It is the                          others recognized the need to have a consistent naming
property of significant volatility that has led to the great-                 convention for chemical compounds. The International
est lack of understanding of their potential for causing                      Union of Pure and Applied Chemistry (IUPAC) is an
                                                                              organization responsible for formal naming conventions
   7
     Detailed discussions related to specific model characteristics such
as geometry, cell size, boundary conditions, and more, are provided in
Chapter C (Faye and Valenzuela In press 2007) and Chapter F (Faye In             9
press 2007b) reports.                                                              Contaminants were detected in groundwater sampling by the New Jersey
                                                                              Department of Environmental Protection during 1978 (Cohn et al. 1994) and
  8
    Dense nonaqueous phase liquids (DNAPLs) have a specific gravity           at Woburn, Massachusetts, during May 1979 (Massachusetts Department of
greater than water(> 1.0), and are immiscible (nonmixing) in water.           Public Health 1996).



AS                                                              Historical Reconstruction of Drinking-Water Contamination at Tarawa Terrace
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and corresponding names assigned to chemical com-                            was the lowest level that water systems could be required
pounds. Table A3, obtained from Lawrence (2006), lists                       to achieve. Effective dates for MeLs presented in this
the IUPAe names and synonyms (associated common,                             report are as follows: TeE and vinyl chloride (Ve),
alternate, and other possible names) for selected voes                       January 9, 1989; PeE and trans-1,2-dichloroethylene
detected in groundwater. The common or alternate                             (1,2-tDeE), July 6, 1992 (40 eFR, Section 141.60,
names are used in this and all of the Tarawa Terrace                         Effective Dates, July 1, 2002, ed.). In this report and
reports for ease of reference to, and recognition of,                        other Tarawa Terrace chapter reports, the current MeL
previously published reports, documents, and laboratory                      for a specific voe-for example, 5 µg/L for PeE-is
analyses that pertain to the Tarawa Terrace area. 10                         used as a reference concentration to compare histori-
                                                                             cally measured data and computer simulation results.
Maximum Contaminant Levels                                                   These comparisons are not intended to imply (1) that
                                                                             the MeL was in effect at the time of sample measure-
     The maximum contaminant level or MeL is a legal                         ment or simulated historical time or (2) that a mea-
threshold set by the USEPA to quantify the amount of                         sured or simulated concentration above an MeL was
a hazardous substance allowed in drinking water under                        necessarily unsafe. Hereafter, the use of the term MeL
the Safe Drinking Water Act. For example, the MeL                            should be understood to mean the current MeL associ-
for PeE was set at 5 micrograms per liter (µg/L) during                      ated with a particular contaminant. A complete list of
1992 because, given the technology at that time, 5 µg/L                      MeLs for common voes can be found in USEPA report
                                                                             EPA 816-F-03-016 (2003). A complete list of effective
  10
    A detailed discussion and description of selected volatile organic
compounds and associated degradation pathways is presented in the
                                                                             dates for MeLs can be found in 40 eFR, Section 141.60,
Chapter D report (Lawrence In press 2007).                                   Effective Dates, July 1, 2002, edition.


Table AJ.       Names and synonyms of selected volatile organic compounds detected in groundwater. 1
[IUPAC, International Union of Pure and Applied Chemistry; CAS, Chemical Abstract Services;-, not applicable]


                                    Common or alternate name
 IUPAC name 2                                                                          Other possible names 3               CAS number2
                                         (synonym)3
 benzene                                                                   The Bin BTEX, coal naptha,                         71-43-2
                                                                             1,3,5-cyclohexatriene, mineral naptha
 1,2-dimethylbenzene                a-xylene                               The X in BTEX, dimethyltoluene, Xylol              95-47-6
 1,3-dimethylbenzene                m-xylene                                                                                  108-38-3
 1,4-dimethylbenzene                p-xylene                                                                                  106-42-3
 ethylbenzene                                                              The E in BTEX, Ethylbenzol, phenylethane           100-41-4
 methylbenzene                      toluene                                The Tin BTEX, phenylmethane, Methacide,            108-88-3
                                                                             Toluol, Antisal lA
 chloroethene                       vinyl chloride                         chloroethylene, VC, monochloroethylene,            75-01-4
                                                                             monovinyl chloride, MVC
 1, 1-dichloroethene                1, 1-dichloroethylene, DCE             vinylidene chloride                                75-35-4
 cis-1,2-dichloroethene             cis-1,2-dichloroethylene               1,2 DCE, Z-1,2-dichloroethene                      156-59-2
 trans-1,2-dichloroethene           trans-1,2-dichloroethylene             1,2 DCE, E-1,2-dichloroethene                      156-60-2
 tetrachloroethene                  perchloroethylene, PCE,                ethylene tetrachloride, carbon dichloride,         127-18-4
                                      1, 1,2,2-tetrachloroethylene            PERC®, PERK®, tetrachloroethylene
 1, 1,2-trichloroethene             1,1,2-trichloroethylene, TCE           acetylene trichloroethylene, trichloroethylene     79-01-6
  1
      Lawrence (modified from 2006, In press 2007)
  'International Union of Pure and Applied Chemistry (2006)
  1
      USEPA (1995)



Chapter A: Summary of Findings                                                                                                            A9
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Historical Background - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

Historical Background                                         well TT-26 after the onset of dry-cleaning operations at
                                                              ABC One-Hour Cleaners during 1953.
     U.S. Marine Corps Base Camp Lejeune is located in             The Camp Knox trailer park area was constructed
the Coastal Plain of North Carolina, in Onslow County,        during 1976 with 112 trailer spaces. An additional
southeast of the City of Jacksonville and about 70 miles      75 spaces were added during 1989 allowing for a total
northeast of the City of Wilmington, North Carolina           of 187 housing units, which could accommodate a
(Figure Al). Operations began at Camp Lejeune during          population of 629 persons (Sheet 5 of 34, Map of Knox
the 1940s. Today, nearly 150,000 people work and live         Trailer Park Area, July 31, 1984). The Camp Knox
on base, including active-duty personnel, dependents,         trailer park area is located in the southwestern part of
retirees, and civilian employees. About two-thirds of the     the Tarawa Terrace area and is bounded on the south
active-duty personnel and their dependents are less than      by Northeast Creek (Figure Al). Camp Johnson and
25 years of age.                                              Montford Point are located to the west and southwest
     Camp Lejeune consists of 15 different housing            of Tarawa Terrace, respectively. Historically, the Camp
areas; families live in base housing for an average           Knox trailer park was served by both Tarawa Terrace
of 2 years. During the 1970s and 1980s, family                and Montford Point water supplies.
housing areas were served by three water-distribution              During 1989, the USEPA placed U.S. Marine Corps
systems, all of which used groundwater as the source          Base Camp Lejeune and ABC One-Hour Cleaners on its
for drinking water-Hadnot Point, Tarawa Terrace,              National Priorities List (NPL) of sites requiring environ-
and Holcomb Boulevard (Plate 1). Hadnot Point was             mental investigation (also known as the list of Superfund
the original water-distribution system serving the            sites). During August 1990, ATSDR conducted a public
entire base with drinking water during the 1940s. The         health assessment (PHA) at ABC One-Hour Cleaners.
Tarawa Terrace WTP began delivering drinking water            The PHA found that PCE, detected in onsite and offsite
during 1952-1953, and the Holcomb Boulevard WTP               wells, was the primary contaminant of concern. Other
began delivering drinking water during June 1972              detected contaminants included TCE, 1,2-dichloro-
(S.A. Brewer, U.S. Marine Corps Base Camp Lejeune,            ethylene (1,2-DCE), 1,2-tDCE, 1,1-dichloroethylene
written communication, September 29, 2005).                   (DCE), VC, benzene, and toluene (ATSDR 1990).
     The Tarawa Terrace housing area was con-                      During 1997, ATSDR completed a PHA for Camp
structed during 1951 and was subdivided into housing          Lejeune which concluded that estimated exposures to
areas I and II (Figure Al). Originally, areas I and II con-   VOCs in drinking water were significantly below the
tained a total of 1,846 housing units and accommodated        levels shown to be of concern in animal studies. Thus,
a resident population of about 6,000 persons (Sheet 3 of      ATSDR determined that exposure to VOCs in on-base
18, Map of Tarawa Terrace II Quarters, June 30, 1961;         drinking water was unlikely to result in cancer and
Sheet 7 of 34, Tarawa Terrace I Quarters, July 31, 1984).     noncancer health effects in adults. However, because
The general area of Tarawa Terrace is bounded on the          scientific data relating to the harmful effects of VOCs
east by Northeast Creek, to the south by New River and        on a child or a fetus were limited, ATSDR recommended
Northeast Creek, to the west by New River, and to the         conducting an epidemiological study to assess the risks
north by North Carolina Highway 24 (SR 24).                   to infants and children during in utero exposure to chlo-
     The documented onset of pumping at Tarawa                rinated solvents (for example, PCE and TCE) contained
Terrace is unknown but is estimated to have begun             in on-base drinking water (ATSDR 1997).
during 1952. Water-supply well TT-26, located about                Following this recommendation, during 1998
900 feet southeast of ABC One-Hour Cleaners (Fig-             ATSDR published a study of adverse birth outcomes
ure Al), began operations during 1952. ABC One-Hour           (ATSDR 1998). ATSDR used various databases to evalu-
Cleaners-an off-base dry-cleaning facility that used          ate possible associations between maternal exposure to
PCE in the dry-cleaning process (Melts 2001)-is the           contaminants contained in drinking water on the base
only documented source of PCE contamination of                and mean birth weight deficit, preterm birth (less than
groundwater resources at Tarawa Terrace (Shiver 1985).        37 weeks gestational age), and small for gestational
The first occurrence of PCE contamination at a Tarawa         age (SGA). To identify women living in base housing
Terrace water-supply well probably occurred at                when they delivered, birth certificates were collected


A10                                             Historical Reconstruction of Drinking-Water Contamination at Tarawa Terrace
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for live births that occurred January 1, 1968-Decem-                               history and water use as well as potential risk
ber 31, 1985. The study found that exposure to PCE in                              factors such as a mother's occupation and ill-
drinking water was related to an elevated risk of SGA                              nesses during pregnancy) and obtain exposure
for mothers older than 35 years or who experienced two                             estimates through water-modeling analyses and
or more prior fetal losses (ATSDR 1998; Sonnenfeld et                              the historical reconstruction process.
al. 2001). The study could not, however, evaluate child-                     During 2004, the study protocol received approval from
hood cancers and birth defects because the study relied                      the Centers for Disease Control and Prevention Institu-
solely on birth certificates to ascertain adverse birth                      tional Review Board and the U.S. Office of Management
outcomes. 11 However, because this study used incorrect                      and Budget.
information on the start-up date for the Holcomb Boule-
vard WTP, 12 errors were made in assigning exposures to
the mothers. Therefore, this study is being re-analyzed                      Water-Distribution Investigation
using the results from the historical reconstruction                              Given the paucity of measured historical
process and water-modeling analyses.                                         contaminant-specific data and the lack of historical
      During 1999, ATSDR began an epidemiological                            exposure data during most of the period relevant to the
study to evaluate whether in utero and infant (up to 1 year                  epidemiological study (January 1968-December 1985),
of age) exposure to VOC-contaminated drinking water                          ATSDR decided to apply the concepts of historical
was associated with specific birth defects and childhood                     reconstruction to synthesize and estimate the spatial and
cancers. The study includes births during 1968-1985                          temporal distributions of contaminant-specific concen-
to women who resided at the base anytime during their                        trations in the drinking-water supply at Tarawa Terrace.
pregnancy. The first year of the study, 1968, was chosen                     Historical reconstruction typically includes the applica-
because North Carolina computerized its birth certificates                   tion of simulation tools, such as models, to recreate (or
starting that year. The last year of the study, 1985, was                    synthesize) past conditions. For this study, historical
chosen because the most contaminated Tarawa Terrace                          reconstruction included the linking of groundwater
water-supply wells (TT-23 and TT-26, Figure Al) were                         fate and transport models with materials mass balance
removed from regular service that year (February 1985).                      (simple mixing) and water-distribution system models
The study is evaluating the central nervous system                           (Table A4 ). The primary focus for the investigation of
defects known as neural tube defects (for example, spina                     the Tarawa Terrace historical reconstruction analyses
bifida and anencephaly), cleft lip and cleft palate, and                     was the fate and transport of, and exposure to, a single
childhood leukemia and non-Hodgkin's lymphoma.                               constituent-PCE. Additional and enhanced analyses
The study consists of a multistep process that includes:                     that relate to degradation by-products of PCE-TCE,
      • a scientific literature review to identify                           1,2-tDCE, and VC-also are presented (Figure A2).
        particular childhood cancers and birth defects                       Based on groundwater and water-quality data collection
        associated with exposure to VOC-contaminated                         and analyses by Shiver (1985), PCE originating from
        drinking water,                                                      the site of ABC One-Hour Cleaners is considered the
                                                                             primary VOC compound responsible for contaminating
      • a telephone survey to identify potential cases,
                                                                             the Tarawa Terrace water-supply wells.
      • a medical records search to confirm the
        diagnoses of the reported cases, and                                 Models Used for Water-Distribution Investigation
      • a case-control study to interview parents                                 Applying simulation tools or models to recon-
        (collect information on a mother's residential                       struct historical contamination and exposure events
                                                                             at Tarawa Terrace and vicinity required the develop-
  11
     Birth defects are only poorly ascertained using birth certificates;     ment of databases from diverse sources of information
childhood cancers are not included on birth certificates.
                                                                             such as well and geohydrologic analyses, computa-
   12
      Current information from the Camp Lejeune Public Works Department
Utilities Section indicates that the Holcomb Boulevard WTP began supplying
                                                                             tions of PCE mass at the ABC One-Hour Cleaners
finished water to areas serviced by the Holcomb Boulevard WTP (Plate 1)      site and within the Tarawa Terrace and Upper Castle
during .Tune 1972 (S.A. Brewer, U.S. Marine Corps Base Camp J,ejeune,
written communication, September 29, 2005).                                  Hayne aquifers, and analyses and assessment of

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Table A4. Analyses and simulation tools (models) used to reconstruct historical contamination events at Tarawa Terrace and vicinity,
U.S. Marine Corps Base Camp Lejeune, North Carolina.
[VOC, volatile organic compound; PCE, tetrachloroethylene; GIS, geographic information system; WTP, water treatment plant; TCE, trichloroethylene;
1,2-tDCE, trans-1,2-dichloroethylene; VC, vinyl chloride]


                                                                                        Analysis or simulation tool
 Analysis                                         Description                                                                       Reference
                                                                                                 and type

Geohydrologic framework           Detailed analyses of well and geohydro-               Data analysis                     Faye (In press 2007a)
                                    logic data used to develop framework
                                    of the Castle Hayne aquifer system at
                                    Tarawa Terrace and vicinity

Predevelopment ground-            Steady-state groundwater flow, occurring              MODFLOW-96-                       Harbaugh and McDonald
  water flow                        prior to initiation of water-supply well             numerical model                    (1996); Faye and Valen-
                                    activities ( 1951) or after recovery of                                                 zuela (In press 2007)
                                    water levels from cessation of pumping
                                    activities ( 1994)

Transient ground-                 Unsteady-state groundwater flow occur-                MODFLOW-96-                       Harbaugh and McDonald
  water flow                        ring primarily because of the initiation             numerical model                    (1996); Faye and Valen-
                                    and continued operation of water-supply                                                 zuela (In press 2007)
                                    wells (January 1951-December 1994)

Properties of VOCs                Properties of degradation pathways of com-            Literature survey                 Lawrence (2006,
  in groundwater                    mon organic compounds in groundwater                                                    In press 2007)

Computation of PCE mass           Estimates of mass (volume) of PCE;                    Site investigation data,          Roy F. Weston, Inc. (1992,
                                    (a) unsaturated zone (above water table)               GIS, and spatial analyses        1994); Pankow and Cherry
                                    in vicinity of ABC One-Hour Cleaners                                                    (1996); Faye and Green
                                    based on 1987-1993 data; (b) within                                                     (In press 2007)
                                    Tarawa Terrace and Upper Castle Hayne
                                    aquifers based on 1991-1993 data

Fate and transport of PCE         Simulation of the fate and migration                  MT3DMS-numerical                  Zheng and Wang (1999);
                                    of PCE from its source (ABC One-                     model                              Faye (In press 2007b)
                                    Hour Cleaners) to Tarawa Terrace
                                    water-supply wells (January 1951-
                                    December 1994)

PCE concentration in              Computation of concentration of PCE                   Materials mass balance            Masters (1998); Faye
  WTP finished water                in drinking water from the Tarawa                    model using principles of         (In press 2007b)
                                    Terrace WTP using results from fate                  conservation of mass and
                                    and transport modeling                               continuity-algebraic

Fate and transport of             Three-dimensional, multiphase simulation              TechFlowMP-numerical              Jang and Aral (2005,
  PCE and degradation               of the fate, degradation, and transport                                                 2007, In press 2007)
  by-products in ground-            of PCE degradation by-products: TCE,
  water and vapor phase             1,2-tDCE, and VC

Early and late arrival of         Analysis to assess impact of schedule                 PSOpS- numerical;                 Wang and Aral (2007,
  PCE atWTP                         variation of water-supply well operations            optimization                      In press 2007)
                                    on arrival of PCE at wells and the
                                    Tarawa Terrace WTP

Parameter uncertainty             Assessment of parameter sensitivity, un-              PEST; Monte Carlo simula-         Doherty (2005); Maslia
  and variability                   certainty, and variability associated with            tion-probabilistic                et al. (In press 2007b)
                                    model simulations of ground-water flow,
                                    fate and transport, and water distribution

Distribution of PCE              Simulation of hydraulics and water quality             EPANET 2-numerical                Rossman (2000); Sautner
  in drinking water                in water-distribution system serving                                                     et al. (In press 2007)
                                   Tarawa Terrace based on present-day
                                   (2004) conditions




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historical and present-day (2002) operations of the                              5.   To analyze the degradation of PCE into degrada-
water-distribution system serving Tarawa Terrace. 13 A                                tion by-products (TCE, 1,2-tDCE, and VC) and
complete list of analysis and simulation tools used to                                to simulate the fate and transport of these contam-
reconstruct historical contamination and exposure events                              inants in the unsaturated zone (zone above the
at Tarawa Terrace and vicinity is provided in Table A4.                               water table), a three-dimensional, multispecies, and
Information and data were applied to the models in the                                multiphase mass transport model was developed by
following sequence:                                                                   the Multimedia Simulations Laboratory (MESL)
1. Geohydrologic framework information, aquifer and                                   at the Georgia Institute of Technology (Jang and
   confining unit hydraulic data, and climatic data were                              Aral 2005, 2007, In press 2007).
   used to determine predevelopment (prior to 1951)                              6.   To analyze and understand the impacts of unknown
   groundwater-flow characteristics. 14 To simulate                                   and uncertain historical pumping schedule varia-
   predevelopment groundwater-flow conditions,                                        tions of water-supply wells on arrival of PCE at
   the public-domain code MODFLOW-96 (Har-                                            the Tarawa Terrace water-supply wells and WTP,
   baugh and McDonald 1996)-a three-dimensional                                       a pumping and schedule optimization system tool
   groundwater-flow model code-was used.                                              (PSOpS) was used. This model was also developed
2.   Transient groundwater conditions occurring primar-                               by the MESL (Wang and Aral 2007, In press 2007).
     ily because of the initiation and continued operation                       7.   To assess parameter sensitivity, uncertainty, and
     of water-supply wells at Tarawa Terrace also were                                variability associated with model simulations of
     simulated using the three-dimensional model code                                 flow, fate and transport, and computed PCE con-
     MODFLOW-96; well operations were accounted for                                   centrations in finished water at the Tarawa Terrace
     and could vary on a monthly basis.                                               WTP, sensitivity and probabilistic analyses were
3.   Groundwater velocities or specific discharges                                    conducted. Sensitivity analyses were conducted
     derived from the transient groundwater-flow model                                using a one-at-a-time approach; the probabilistic
     were used in conjunction with PCE source, fate, and                              analyses applied the Monte Carlo simulation (MCS)
     transport data to develop a fate and transport model.                            and sequential Gaussian simulation (SGS) methods
     To simulate the fate and transport of PCE as a single                            to results previously obtained using MODFLOW-96,
     specie from its source at ABC One-Hour Cleaners                                  MT3DMS, and the drinking-water mixing model.
     to Tarawa Terrace water-supply wells, the public                            8.   The initial approach for estimating the concentration
     domain code MT3DMS (Zheng and Wang 1999)                                         of PCE delivered to residences of Tarawa Terrace
     was used. MT3DMS is a model capable of simulat-                                  used the public domain model, EPANET 2 (Ross-
     ing three-dimensional fate and transport. Simulations                            man 2000)-a water-distribution system model
     describe PCE concentrations on a monthly basis                                   used to simulate street-by-street PCE concentra-
     during January 1951-December 1994.                                               tions (Sautner et al. 2005, 2007). Based on expert
4.   The monthly concentrations of PCE assigned                                       peer review of this approach (Maslia 2005) and
     to finished water at the Tarawa Terrace WTP                                      exhaustive reviews of historical data-including
     were determined using a materials mass balance                                   water-supply well and WTP operational data when
     model (simple mixing) to compute the flow-                                       available-study staff concluded that the Tarawa
     weighted average concentration of PCE. The                                       Terrace WTP and water-distribution system was
     model is based on the principles of continuity and                               not interconnected with other water-distribution
     conservation of mass (Masters 1998).                                             systems at Camp Lejeune for any substantial time
                                                                                      periods (greater than 2 weeks). 15 Thus, all water

   13
      A comprehensive list of references used to gather, analyze, and assemble
information and data for the Tarawa Terrace water-distribution investigation        15
is provided on the electronic media (DVD) accompanying this report and in              The term "interconnection" is defined in this study as the continuous
the Chapter K report (Masha et al. In press 2007a).                              flow of water in a pipeline from one water-distribution system to another
                                                                                 for periods exceeding two weeks. Pipelines did connect two or more
   14
      Predevelopment or steady-state refers to groundwater conditions prior      water-distribution systems, but unless continuous flow was documented,
to or after the cessation of all water-supply well pumping activity.             the water-distribution systems were assumed not to be interconnected.



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      arriving at the WTP was assumed to originate solely                           Ideally, data collection in support of the historical
      from Tarawa Terrace water-supply wells (Faye and                         reconstruction process is through direct measurement and
      Valenzuela In press 2007; Faye In press 2007b)                           observation. In reality, however, data collected are not
      and to be completely and uniformly mixed prior to                        routinely available by direct measurement and must be
      delivery to residents of Tarawa Terrace through the                      recreated or synthesized using generally accepted engi-
      network of distribution system pipelines and stor-                       neering analyses and methods (for example, modeling
      age tanks. Based on these information and data,                          analyses). Additionally, the reliability of data obtained by
      study staff concluded that a simple mixing model                         direct measurement or observation must be assessed in
      approach, based on the principles of continuity and                      accordance with methods used to obtain the data. Issues
      conservation of mass, would provide a sufficient                         of data sources and the methods used to obtain data that
      level of detail and accuracy to estimate monthly                         cannot be directly measured, or are based on methods
      PCE exposure concentrations at Tarawa Terrace. 16                        of less accuracy, ultimately reflect on the credibility of
      Thus, results of the monthly flow-weighted aver-                         simulation results. The methods for obtaining tl1e neces-
      age PCE-concentration computations were provided                         sary data for the historical reconstruction analysis were
      to agency health scientists and epidemiologists to                       grouped into three categories (ATSDR 2001):
      assess population exposure to PCE.                                            • Direct measurement or observation-Data included
                                                                               in this category were obtained by direct measurement
                                                                               or observation of historical data and are verifiable by
Data Needs and Availability                                                    independent means. Data obtained by direct measurement
                                                                               or observation still must be assessed as to the methods
     The historical reconstruction process required                            used in measuring the data. For example, in the Chap-
information and data describing the functional and                             ter C report, Faye and Valenzuela (In press 2007) discuss
physical characteristics of the groundwater-flow                               that water-level data obtained from properly constructed
system, the chemical specific contaminant (PCE) and                            monitor wells using electric- or steel-tape measurements
its degradation by-products, and the water-distribution                        are more reliable than water-level data obtained from
system. Required for the successful completion of                              water-supply wells using airline measurements. Of
the historical reconstruction process, specific data                           the three data categories discussed, data obtained by
can be categorized into four generalized informa-                              direct measurement were the most preferred in terms
tion types that relate to: (1) aquifer geometry and                            of reliability and least affected by issues of uncertainty.
hydraulic characteristics (for example, horizontal                             Examples of such data included aquifer water levels,
hydraulic conductivity, effective porosity, and disper-                        PCE concentrations in water-supply wells and in finished
sivity); (2) well-construction, capacity, and pumpage                          water at the WTP, and PCE concentration at the location
data (for example, drilling dates, well depth, opera-                          of the contaminant source (ABC One-Hour Cleaners).
tional dates, and quantities of pumped groundwater                                  • Quantitative estimates-Data included in this
by month); (3) chemical properties and transport                               category were estimated or quantified using generally
parameters (for example, partition coefficients,                               accepted computational methods and analyses, for
sorption rate, solubility, and biodegradation rate); and                       example, monthly infiltration or recharge rates to the
(4) water-distribution system design and operation                             Castle Hayne aquifer system and estimates of contami-
data (for example, monthly delivery of finished water                          nant mass in the vicinity of ABC One-Hour Cleaners and
from the Tarawa Terrace WTP, network geometry                                  the Tarawa Terrace and Upper Castle Hayne aquifers.
and materials of pipelines, and size and location of                                • Qualitative description-Data included in this
storage tanks). Availability of specific data, methods of                      category were based on inference or were synthesized
obtaining data, assessment of the reliability of the data,                     using surrogate information, for example, water-supply
and implications with respect to model assumptions and                         well operational information, retardation factors,
simulations are discussed in detail in chapter reports B-J                     and aquifer dispersivity. Of the three data categories
(Table A2 and Appendix Al).                                                    described, data derived by qualitative description were
  16
     This assumption is tested and verified in the Chapter J report
                                                                               the least preferred in terms of reliability and the most
(Sautner et al. In press 2007) of this study.                                  affected by issues of uncertainty.


A14                                                              Historical Reconstruction of Drinking-Water Contamination at Tarawa Terrace
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Chronology of Events                                         Occurrence of Contaminants in Groundwater17
     To reconstruct historical exposures, a reliable chro-        Detailed analyses of concentrations of PCE at
nology related to operations of the identified source of     groundwater sampling locations and at Tarawa Ter-
the PCE contamination, ABC One-Hour Cleaners, and of         race water-supply wells during the period 1991-1993
water-supply facilities (wells and the WTP) is of utmost     were sufficient to estimate the mass, or amount, of PCE
importance. This information has a direct impact on          remaining in the Tarawa Terrace and Upper Castle Hayne
the reliability and accuracy of estimates derived for the    aquifers. Similar methods were applied to compute the
levels and duration of exposure to contaminated drinking     mass of PCE in the unsaturated zone (zone above the
water. Using a variety of information sources and refer-     water table) at and in the vicinity of ABC One-Hour
ences, events related to water supply and contamination      Cleaners using concentration-depth data determined from
of groundwater and drinking water at Tarawa Terrace          soil borings during field investigations of 1987-1993.
and vicinity are shown graphically and explained in          These analyses are presented in Faye and Green (In
Figure A3. Examples of information sources and refer-        press 2007) and are summarized in Table A5. This infor-
ences used to develop the chronology of events shown         mation and data were necessary to develop accurate and
in Figure A3 include: (1) capacity and operational           reliable databases to conduct model simulations of the
histories of Tarawa Terrace water-supply wells and the       fate and transport of PCE from its source-ABC One-
WTP (Faye and Valenzuela In press 2007), (2) depo-           Hour Cleaners-to Tarawa Terrace water-supply wells
sitions from the owners of ABC One-Hour Cleaners             and WTP. The total mass of PCE computed in ground-
(Melts 2001), (3) identification and characterization of     water and within the unsaturated zone during the period
the source of PCE contamination (Shiver 1985), and           1953-1985 equals about 6,000 pounds and equates
(4) laboratory analyses of samples from water-supply         to a volume of about 430 gallons (gal). 18 This volume
wells (Granger Laboratories 1982) and the WTP                represents an average minimum loss rate of PCE to the
(CLW 3298-3305).
     One of the purposes of Figure A3 is to present, in      Table A5. Computed volume and mass of tetrachloroethylene in
a graphical manner, the relation among water supply,         the unsaturated and saturated zones, Tarawa Terrace and vicinity,
contamination events, exposure to contaminated drink-        U.S. Marine Corps Base Camp Lejeune, North Carolina. 1
ing water in family housing areas, selected simulation       [PCE, tetrachloroethy Jene]
results, and the time frame of the epidemiological case-
control study. For the first time, all of these different                                                             Average annual
                                                                                    Dates of         Volume,        contribution of PCE,
types of information and data sources are summarized in       Zone                                                       1953-1985
                                                                                  computation      in gallons2
one document that is believed to be an accurate recon-
                                                                                                                    In gallons   In grams
ciliation of chronological events that relate to Tarawa                      3
                                                              U nsaturated          1987-1993         190                6       36,340
Terrace and vicinity. Three events are noteworthy:
                                                              Saturated4            1991-1993         240                7       42,397
(1) the year shown for the start of operations of ABC
                                                                    Total                             430               13       78,737
One-Hour Cleaners (1953) is used as the starting time          1
                                                                Refer to Chapter E report (Faye and Green In press 2007) for specific
for PCE contamination of groundwater in the fate and         computational details
transport modeling of PCE, (2) sampling events and PCE         'Density of PCE is 1.6 grams per cubic centimeter, or about 101 pounds
concentration values of tap water are shown for 1982,        per cubic foot
                                                               3
and (3) the closure of the Tarawa Terrace WTP is shown             Zone above water table in vicinity of ABC One-Hour Cleaners
                                                               4
as occurring during March 1987. Care has been taken                Tarawa Terrace and Upper Castle Hayne aquifers

to assure that chronological event information and data
required for modeling analyses and the historical recon-        17
                                                                   For detailed analyses and discussions of occurrence of contaminants
                                                             in groundwater at Tarawa Terrace and vicinity, refer to the Chapter E report
struction process ( 1) honor original data and information   (Faye and Green In press 2007).
sources, (2) are consistent and in agreement with all           18
                                                                   Typically, such volumes also are expressed in terms of 55-gal drums. The
Tarawa Terrace chapter reports, and (3) reflect the most     aforementioned volume of 430 gal of PCE is equivalent to 7 .8 drums of PCE.
up-to-date information.



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                1940s: Building constructed
                 on site of ABC One-Hour Cleaners


                     I
                                               ------=I
                 with septic tank soil-adsorption
                 (ST-STA) system
                                               I
                                                             1942-1943: Hadnot Point water treatment
                                                              plant (WTP) begins operations



                 1940                                                               1945                                                1949
                         1951-1952: Tarawa Terrace (TT)
                          housing constructed                                           1953: ABC One-Hour Cleaners
                                    May 1951: Well TT-26 constructed 900 feet             begins operations using existing
                                      from ABC One-Hour Cleaners site;                    ST-STA for disposal of wastewater
                                      Well TT-27 constructed
                                                                                               January 1957: PCE
                                     1951-1952: Wells TT-28, TT-29,                             concentration
                                                                                                                          1957: Montford Point WTP, servicing


                                 r
                                      and TT-45 constructed


                                                                                                                   IrI
                                                                                                in well TT-26,
                                                                                                                            Camp Johnson area, begins operations
                                              ______r:::= 1952-1953:TTWTP                       5.2 µg/L
                                              I         I begins operations                                                 November 1957: PCE concentration
                              ~-,------------'~1-----'---------1                                               □I            at TT WTP, 5.4 µg/L




                 1950                                                               1955                                                1959
                1960s: ABC One-Hour Cleaners
                                                                                                                              January 1968-Oecember 1985:
                 installs floor drain to septic system

                                  I 1961: Wells TT-52, TT-53, TT-54,
                                  I   and TT-55 constructed
                                                                                                                           !    lime frame of ATS OR case-control
                                                                                                                                epidemiological study on birth
                                                                                                                                defects and childhood cancers




                 1960                                                               1965                                                1969
                                      1971: Well TT-30 constructed




                                  II
                                      November 1971: Well TT-67 constructed
                                                   June 1972: Holcomb Boulevard WTP begins
                                                     deliverin_g treated water to Holcomb Boulevard area
                                                         1973. Well TT-31 constructed
                                                                                                              19ro, C,mp K""' li,.,.,
                                                                                                                                  -

                                                                                                     =:j: '"' '"""''"""d
                                                                                                                                   1

                            --------~-~I                                                             7
                 1970                                                               1975                                                1979

                                                                           March 1983: Well TT-23 constructed about
                July 1981: Well TT-25 constructed
                                                                            1,800 feet from ABC One-Hour Cleaners
                     April 1982: VOCs detected in drinking water           March 1984: Simulated PCE concentration at TT WTP, 183 µg/L
                    May 28, 1982: Tap water at TT sampled,                 July 1984: Simulated PCE concentration in well TT-26, 851 µg/L
                     PCE concentration, 80 µg/L
                                                                               July 1984: TT wells sampled for TCE: TT-23, 37 µg/L;
                    July 28, 1982: Tap water at TT sampled,                      TT-25, trace; TT-26, 3.9 µg/L
                      PCE concentration, 104 µg/L;
                                                                                  February 11, 1985: STT-39A at TT sampled,
                      distribution system sampled,
                                                                                    PCE, 215 µg/L; TCE, 8.0 µg/L; 1,2-tOCE, 12 µg/L
                      PCE concentration, 76 and 82 µg/L
                                                                                     1I February 8, 1985: Wells TT-23 and TT-26 taken off-line
                                                                                             1985: ABC One-Hour Cleaners
                                                                                           1
                                                                                                   discontinues use of septic tank
                                                                                                                       March 1987: TT WTP closed

                                                                       "
                                                                                                                   I   1987: Montford Point WTP closed



                 1980                                                               1985                                                1989

                                                                            Category of event

                 D
             Housing/buildings
                                           D
                                        Water supply
                                                                     D
                                                             Contaminant source
                                                                                                  D
                                                                                               Sampling event
                                                                                                                            D
                                                                                                                        Simulated event
                                                                                                                                                  D
                                                                                                                                                Health study


       Figure AJ. Chronology of events related to supply and contamination of drinking water, Tarawa Terrace and vicinity,
       U.S. Marine Corps Base Camp Lejeune, North Carolina. (STT-39A is the pump house associated with storage tank STT-39.)
       [ft, foot; µg/L, microgram per liter; VOC, volatile organic compound; PCE, tetrachloroethylene; TCE, trichloroethylene;
       1,2-tDCE, trans-1,2-dichloroethylene; current maximum contaminant levels: PCE 5 µg/L, TCE 5 µg/L, 1,2-tDCE 100 µg/L]

A16                                                                Historical Reconstruction of Drinking-Water Contamination at Tarawa Terrace
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subsurface at ABC One-Hour Cleaners of about 13 gal-           groundwater wells in the Tarawa Terrace area supplied
lons per year during the period 1953-1985. This PCE            untreated (or raw) water to a central treatment facility-
loss rate should be considered a minimum because ( 1) the      the Tarawa Terrace WTP (Figure A4 ). Information
quantity of PCE removed from the aquifers at Tarawa Ter-       pertaining to well-capacity histories, including construc-
race water-supply wells during 1953-1985 is unknown,           tion, termination of service, and abandonment dates and
(2) biodegradation of PCE to daughter products of              spatial coordinate data are described in detail in Chap-
TCE, 1,2-tDCE, and VC was probably occurring in the            ter C (Faye and Valenzuela In press 2007).
aquifers during and prior to 1991, and (3) PCE mass                 After treatment at the Tarawa Terrace WTP, fin-
adsorbed to the sands and clays of the aquifer porous          ished water was distributed through pipelines to storage
media and was not accounted for during the PCE mass            tanks, residential housing, military facility buildings,
computations. Pankow and Cherry (1996) indicate that           and shopping centers. 19 Information and data related to
computations of contaminant mass similar to those sum-         the water-distribution system (Plate 1; Figure A4) were
marized here and described in detail in Faye and Green         gathered as part of data discovery and field investigation
(In press 2007) represent only a small fraction of the         activities in support of the ATSDR epidemiological case-
total contaminant mass in the subsurface. Comparing the        control study. The network of pipelines and storage tanks
estimated volume of 430 gal of PCE (7.8 55-gal drums)          shown on Plate 1 and in Figure A4 represents present-
computed by Faye and Green (In press 2007) with                day (2004) conditions, described in detail in Chapter J
documented contaminant plumes in sand-gravel aquifers          (Sautner et al. In press 2007). Based on a review of
indicates that the contaminant mass in the subsurface          historical operating and housing information, the histor-
at Tarawa Terrace would have been ranked as the third          ical water-distribution system serving Tarawa Terrace
greatest volume of contaminant mass among seven                was considered very similar and nearly identical to the
contamination sites in the United States listed in a table     present-day (2004) water-distribution system-the excep-
provided in Mackay and Cherry (Table 1, 1989).                 tion being two pipelines that were put into service during
                                                               1987 after the closing of the Tarawa Terrace and Camp
Relation of Contamination to Water Supply,                     Johnson WTPs. One pipeline, constructed during 1984,
                                                               follows SR 24 northwest from the Holcomb Boulevard
Production, and Distribution
                                                               WTP and presently is used to supply ground storage
      Historically, groundwater was used as the sole           tank STT-39 with finished water (Plate 1, Figure A4).
source of water supply for Camp Lejeune, and in particu-       The other pipeline, constructed during 1986, trends
lar, Tarawa Terrace. Of critical need in terms of historical   east-west from the Tarawa Terrace II area to storage tank
reconstruction analysis, was information and data on the       SM-623 and presently is used to supply finished water
monthly raw water production of supply wells (to enable        from Tarawa Terrace to elevated storage tank SM-623.
computations of flow-weighted drinking-water concen-           Historically (1952-1987), the Tarawa Terrace water-
trations), and the distribution of finished water to family    distribution system was operated independently of, and
housing areas. The supply of drinking water to Tarawa          was not interconnected with, the Montford Point or
Terrace was composed of two components: (1) the supply         Holcomb Boulevard water-distribution systems. 20
of water from groundwater wells to the Tarawa Terrace               Based on epidemiological considerations, historical
WTP and (2) the delivery of finished water from the            reconstruction results were provided at monthly intervals.
WTP through the network of pipelines and storage tanks         Ideally, these analyses require monthly groundwater
of the water-distribution system. The placement of water-      pumpage data for the historical period. However, pump-
supply wells into service and their permanent removal          age data were limited and were available on a monthly
from service are critical to the analysis and simulation       basis solely for 1978 and intermittently during the period
of contamination events. For example, water-supply             of 1981-1985. Faye and Valenzuela (In press 2007)
well TT-26 was constructed during May 1951, probably
placed into service during 1952, and was permanently             19
                                                                    Based on an analysis of building type and usage in Tarawa Terrace,
                                                               greater than 90% of the buildings were used for residential housing.
taken off-line (service terminated) February 8, 1985. The
                                                                 20
Tarawa Terrace WTP began operations during 1952-1953                Although the two pipelines discussed were constructed during 1984 and
                                                               1986, historical records such as water plant operator notes indicate that the
and was closed during March 1987 (Figure A3). All              pipelines did not convey finished water on a continuous basis prior to 1987.


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                                         77°24'                                            77°22'30"                                       77°21'



                                                                                                            -...../..
      34°45'
                                                                              Area of maps in Figures A13a-A15a and A17 a




   34°43'30"

                           Terrace water supplies at
                           various historical times~
                                                           J
               Base from U.S. Marine Corps and                                                                                0.5                   1 MILE
               U.S. Geological Survey digital data files
                                                                                                                     0.5            1 KILOMETER
                                                                              EXPLANATION
                       Historical water-supply                        Water distribution                           Groundwater-flow and
                         areas of Camp Lejeune                           Tarawa Terrace water pipeline               contaminantfate and
                         Military Reservation                                                                        transport model boundaries
                                                               .A. SM-623 Elevated storage tank and number
               D         Montford Point                                                                             Domain - -         Active area
                                                               • sTT-39 Ground storage tank and number
               D         Tarawa Terrace
                                                                                                                   Boundary conditions for
               D         Holcomb Boulevard                        D      Water treatment plant-Tarawa                groundwater-flow model
                                                                          Terrace and Montford Point
               D       Other areas of Camp Lejeune                        (MPWTP) (closed 1987)                     General head             No flow
                         Military Reservation                                                                       Drain              •    Specified
                                                               TT-26 ° Water-supply well                                                     head
                 ■     ABC One-Hour Cleaners                            and identification

               Figure A4. Location of groundwater-flow and contaminant fate and transport modeling areas and water-supply
               facilities used for historical reconstruction analyses, Tarawa Terrace and vicinity, U.S. Marine Corps Base Camp
               Lejeune, North Carolina.

provide details regarding groundwater pumpage includ-                               porary shut downs for long-term maintenance. Breaks
ing sources and capacity history. Where pumpage data                                in continuous operations, such as those for wells TT-26
were missing or incomplete, aquifer water-level and                                 and TT-53, also are shown in Figure AS and are based on
water-supply data, in conjunction with model simulation,                            documented information detailing periods of maintenance
were used to synthesize and reconstruct monthly water-                              for specific wells. For example, water-supply well TT-26
supply well operations. Tarawa Terrace water-supply well                            was shut down for maintenance during July-August 1980
operations-in terms of online dates and off-line dates for                          and January-February 1983 (Faye and Valenzuela In
water supply-are presented graphically in Figure A5.                                press 2007). Table A6 lists the specific month and year
Once a well was put in service, it was assumed to oper-                             for the start of service for all Tarawa Terrace water-supply
ate continuously for modeling purposes until it was                                 wells and the specific month and year for the end of ser-
permanently taken off-line-the exception being tern-                                vice. Because raw water from all groundwater wells was


A18                                                             Historical Reconstruction of Drinking-Water Contamination at Tarawa Terrace
                                                                           and Vicinity, U.S. Marine Corps Base Camp Lejeune, North Carolina
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                                     I                        I                  I                   I                     I                     I                 I
                                                                                                                               TT-67
                                              Well name
               -
                                          /                    -------c                ITT-55
                                  TT-54
               -              /                ~               -                                                           TT-54
                          Well in              Well not in
               -         operation             operation                                                        TT-53

                                                                                                                   TT-52

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               -          :                                  ITT-45
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              Jan                  Jan                       Jan                Jan                 Jan                 Jan                    Jan               Jan        Jan
              1950                 1955                      1960               1965                1970                1975                   1980              1985       1990

               Figure A5. Historical operations of water-supply wells, 1952-87, Tarawa Terrace and vicinity, U.S. Marine Corps
               Base Camp Lejeune, North Carolina.


               Table AG. Historical operations for water-supply wells, 1952-1987, Tarawa Terrace and vicinity,
               U.S. Marine Corps Base Camp Lejeune, North Carolina. 1
               [-, not applicable]

                             Well
                                                                   In service                               Off-line                                   Service terminated
                         identification
                         #6                                  January 1952                                                                                January 1962
                         #7                                  January 1952                                                                                January 1962
                         TT-23                               August 1984                             February 1985                                       May 1985
                         TT-25                               January 1982                                                                                March 1987
                         TT-26                               January 1952                         July-August 1980;                                      February 1985
                                                                                                January-February 1983
                         TT-27                               January 1952                                                                                January 1962
                         TT-28                               January 1952                                                                                January 1972
                         TT-29                               January 1952                                                                                July 1958
                         TT-30                               January 1972                            September 1984                                      February 1985
                         TT-31                               January 1973                                  June 1984                                     March 1987
                         TT-45                               January 1952                                                                                January 1972
                         TT-52                               January 1962                                March 1986                                      March 1987
                         TT-53                               January 1962                           July-August 1981                                     February 1984
                         TT-54                               January 1962                       February-March 1984                                      March 1987
                         TT-55                               January 1962                                                                                January 1972
                         TT-67                               January 1967                                                                                March 1987
                     Refer to the Chapter C report (Faye and Valenzuela In press 2007) for additional details
                     1




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mixed at the Tarawa Terrace WTP prior to treatment and                                                                       The historical Tarawa Terrace water-distribution
distribution to Tarawa Terrace housing areas, the start-up                                                             system was probably nearly identical to the present-day
and shut-down dates of specific water-supply wells, such                                                               (2004) water-distribution system. Operational charac-
as TT-26 and TT-23, were critical to accurately deter-                                                                 teristics of the present-day water-distribution system
mining the concentration of contaminants in finished                                                                   were used for historical reconstruction analyses and
water delivered from the Tarawa Terrace WTP.                                                                           were based on data gathered during field investigations
     Total annual groundwater pumpage by well for all                                                                  (Sautner et al. 2005, Maslia et al. 2005). Delivery rates of
Tarawa Terrace water-supply wells is shown graphically                                                                 finished water on a monthly basis during 2000-2004 are
in Figure A6. Refer to the Chapter C report (Faye and                                                                  listed in Table A7 and shown graphically in Figure A7.
Valenzuela In Press 2007) for data sources used to derive                                                              For the 5-year period 2000-2004, the mean monthly
Figure A6. This illustration also shows the contribution                                                               delivery of finished water to the Tarawa Terrace water-
to pumpage by individual wells on an annual basis.                                                                     distribution system was estimated to be 18.5 MG. 21
For example, during 1978 total annual groundwater                                                                      Monthly variations were most probably due to troop
pumpage was 327 million gallons (MG) contributed                                                                       deployments. Monthly delivery data indicate that rela-
by wells TT-26 (64.7 MG), TT-30 (25.9 MG), TT-31                                                                       tively high rates of finished water were delivered during
(46.2 MG), TT-52 (48.1 MG), TT-53 (27.7 MG), TT-54                                                                     the months of April, May, June, and July of 2000 and
(62.8 MG), and TT-67 (51.7 MG) (Faye and Valenzuela                                                                    2001. In addition, May and June of 2000 were the months
In press 2007). Thus, well TT-26 and TT-54 contributed                                                                 of greatest delivery of finished water to the Tarawa Ter-
about 20 percent(%) each to the total annual pumpage                                                                   race water-distribution system-an estimated 30.9 MG of
for 1978, and well TT-30 contributed about 8%. This                                                                    finished water during each month (Figure A7, Table A7).
total annual groundwater pumpage is in agreement with                                                                     21
                                                                                                                             Since March 1987, finished water for the Tarawa Terrace water-
the average rate of water delivered to the Tarawa Terrace                                                              distribution system has been provided by the Holcomb Boulevard WTP and
WTP in 1978 of 0.90 million gallons per day, reported                                                                  delivered to ground storage tank STT-39 (Plate 1). See section on Field Tests
                                                                                                                       and Analyses of the Water-Distribution System or the Chapter J report
by Henry Von Oesen and Associates Inc. (1979).                                                                         (Sautner et al. In press 2007).



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               -                                          Water-supply well                                                                                                                                              -
                         0   #6          OTT-25          • TT-28    0 TT-31               0        TT-53     O TT-67                                                                      -
               -                                                                                                                                                                                                         -
                         0   #7
                         □ TT-23
                                           TT-26
                                         O TT-27
                                                           TT-29
                                                         O TT-30
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               Figure AG. Total annual groundwater pumpage at water-supply wells, 1952-1987, Tarawa Terrace and vicinity,
               U.S. Marine Corps Base Camp Lejeune, North Carolina.


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                                                                                                   and Vicinity, U.S. Marine Corps Base Camp Lejeune, North Carolina
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                                                                                                                                        Water-Distribution Investigation

Table A7. Estimated monthly delivery of finished water to the Tarawa Terrace water-distribution system, 2000-2004, U.S. Marine
Corps Base Camp Lejeune, North Carolina.1-2
[MG, million gallons; MGD, million gallons per day]

                                                                                     Delivered finished water 3
 Month                                   2000                         2001                        2002                         2003                         2004
                                   MG           MGD            MG            MGD             MG          MGD              MG            MGD          MG            MGD
 January                         23.500         0.758         19.028         0.613          21.017       0.678        21.775            0.702      14.238          0.459
 February                        20.937         0.722         18.557         0.663          17.320       0.619        14.960            0.534      13.715          0.473
 March                           22.847         0.737         19.338         0.624          18.300       0.590        15.735            0.508      11.721          0.378
 April                           26.371         0.879         27.060         0.902          18.549       0.618        14.060            0.469      12.805          0.427
 May                             30.924         0.998         19.468         0.628          16.974       0.548        13.365            0.431      14.088          0.454
 June                            30.907         1.030         25.156         0.839          17.163       0.570        13.629            0.454      12.763          0.425
 July                            24.297         0.784         23.984         0.774          16.440       0.530        13.604            0.439      13.945          0.450
 August                          22.145         0.714         17.931         0.578          18.020       0.581        18.539            0.598      12.106          0.391
 September                       19.732         0.658         16.469         0.549          16.900       0.563        19.916            0.664      12.135          0.405
 October                         18.274         0.589         16.619         0.536          15.907       0.513        21.798            0.703      16.435          0.548
 November                        20.663         0.689         17.240         0.575          16.807       0.560        20.607            0.687      16.982          0.566
 December                        25.785         0.832         17.101         0.552          17.082       0.551        20.939            0.675      16.861          0.544
  1
   Since March 1987, finished water for the Tarawa Terrace water-distribution system has been provided by the Holcomb Boulevard WTP
and delivered to ground storage tank STT-39 (Plate 1)
  2
      Data from Joel Hartsoe, Camp Lejeune Public Works Department Utilities Section, December 6, 2006
  3
      Flow data measured at venturi meter located in building STT-39A (Tarawa Terrace pump house)


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                                                                                                          Mean monthly delivery
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                                 JAN        FEB         MAR     APR          MAY     JUNE      JULY       AUG      SEPT           OCT      NOV     DEC

                        Figure A7. Estimated monthly delivery of finished water to the Tarawa Terrace water-distribution system,
                        2000-2004, U.S. Marine Corps Base Camp Lejeune, North Carolina. [Data from Joel Hartsoe, Camp Lejeune
                        Public Works Department Utilities Section, December 6, 2006; flow data measured at venturi meter located
                        in building STT-39A (Tarawa Terrace pump house)]


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     Additional information gathered during a field                                                                                                                                            Works Association Engineering Computer Applica-
investigation of the Tarawa Terrace water-distribution                                                                                                                                         tions Committee indicates that "true model calibration
system included hourly delivery rates of finished water.                                                                                                                                       is achieved by adjusting whatever parameter values
These hourly data were used in conjunction with water-                                                                                                                                         need adjusting until a reasonable agreement is achieved
distribution system model simulation (see section on                                                                                                                                           between model-predicted behavior and actual field
Field Tests and Analyses of the Water-Distribution                                                                                                                                             behavior" (AWWA Engineering Computer Applications
System) to determine a diurnal pattern of water use for                                                                                                                                        Committee 1999). A model modified in this manner is
Tarawa Terrace (Figure A8). Data from the field test                                                                                                                                           called a calibrated model (Hill and Tiedeman 2007).
show a gradually increasing demand for water occurring                                                                                                                                         Calibration of models used for the Tarawa Terrace
during 0200-0700 hours. Peak demand occurs between                                                                                                                                             analyses was accomplished in a hierarchical or step-wise
1000-1400 hours, at 1800 hours, and at 2200 hours.                                                                                                                                             approach consisting of four successive stages or levels.
Thus, greater amounts of water were delivered (and                                                                                                                                             Simulation results achieved for each calibration level
presumably consumed) during these time periods than                                                                                                                                            were refined by adjusting model parameter values and
during other hours of the day.                                                                                                                                                                 comparing these results with simulation results of previ-
                                                                                                                                                                                               ous levels until results at all levels were within ranges
                                                                                                                                                                                               of preselected calibration targets or measures. The
                                                                                                                                                                                               step-wise order of model-calibration levels consisted of
                                                                                                                                                                                               simulating (1) predevelopment (steady or nonpumping)
                                                                                                                                                                                               ground-water-flow conditions, (2) transient (time varying
                                                                                                                                                                                               or pumping) groundwater-flow conditions, (3) the fate
                                                                                                                                                                                               and transport (migration) of PCE from its source at ABC
                                                                                                                                                                                               One-Hour Cleaners to water-supply wells, and (4) the
                                                                        Note: Measured flows are hourly                                                                                        concentration of PCE in finished water at the Tarawa
                                                                         averages using 2-minute data                                                                                          Terrace WTP-water from the Tarawa Terrace WTP
                                                                         (R. Cheng, Camp Lejeune Environ-
      100                                                                mental Management Division,                                                                                           that was delivered to residents living in family housing.
                                                                         written communication, January 25, 2005)



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                                                                                                            HOUR
                                                                                                                                                                                                    The hierarchical approach to estimating the concen-
            Figure AB. Measured diurnal pattern (24 hours)                                                                                                                                     tration of PCE in finished water from the Tarawa Terrace
            of delivered finished water during field test,                                                                                                                                     WTP can be conceptually described in terms of Venn
            September 22-October 12, 2004, Tarawa Terrace
            water-distribution system, U.S. Marine Corps Base
                                                                                                                                                                                               or set diagrams (Borowski and Borwein 1991). Such
            Camp Lejeune, North Carolina.                                                                                                                                                      diagrams are useful for showing logical relations between
                                                                                                                                                                                               sets or groups of like items and are shown in Figure A9
                                                                                                                                                                                               for each hierarchical calibration level. At level 1 (Fig-
Hierarchical Approach for                                                                                                                                                                      ure A9a), there may be a large number of combinations
                                                                                                                                                                                               of parameters that yield solutions to predevelopment
Quantifying Exposure                                                                                                                                                                           groundwater-flow conditions. However, only a smaller
     A simulation or modeling approach was used to                                                                                                                                             set-the subset of solutions indicated by circle "A" in
reconstruct and estimate (quantify) historical concen-                                                                                                                                         Figure A9a-yields acceptable combinations of param-
trations of PCE in finished water delivered to residents                                                                                                                                       eters for a calibrated predevelopment groundwater-flow
of Tarawa Terrace. In using a simulation approach, a                                                                                                                                           model. For transient groundwater-flow conditions, viable
calibration process is used so that the combination of                                                                                                                                         solutions are indicated by circle "B" (Figure A9b). Only
various model parameters-regardless of whether a                                                                                                                                               those solutions that successfully simulate both predevel-
model is simple or complex-appropriately reproduces                                                                                                                                            opment and transient groundwater-flow conditions can be
the behavior of real-world systems (for example, migra-                                                                                                                                        accepted and classified as resulting in calibrated transient
tion of PCE) as closely as possible. The American Water                                                                                                                                        and predevelopment groundwater-flow models. These


A22                                                                                                                                                                   Historical Reconstruction of Drinking-Water Contamination at Tarawa Terrace
                                                                                                                                                                                 and Vicinity, U.S. Marine Corps Base Camp Lejeune, North Carolina
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        a. Predevelopment groundwater flow                            b. Transient groundwater flow


           Universe of solutions




        c. Contaminant fate and transport                             d. Water-supply well mixing

                                         Calibration                                                  Calibration



                       B
                                                                                 B




                                     A                                                          A




        Figure A9. Venn diagrams showing hierarchical approach of model calibration used to estimate concentration of
        finished water: (a) predevelopment groundwater flow, (b)transient groundwater flow, (c) contaminant fate and transport,
        and (d) water-supply well mixing, Tarawa Terrace and vicinity, U.S. Marine Corps Base Camp Lejeune, North Carolina.




select and fewer solutions are indicated by the intersec-          concentrations in drinking water was the development
tion of circles "A" and "B." The transient groundwater-            of a calibrated mixing model (using the materials mass
flow simulations provide velocity information (specific            balance approach and mixing PCE-contaminated and
discharge) required to conduct a fate and transport simu-          uncontaminated groundwater from supply wells). Viable
lation. Viable solutions for the fate and transport problem        calibrated solutions depend on calibrated solutions for the
are indicated by circle "C" (Figure A9c). Only those               previous three hierarchical levels of model calibration,
solutions that satisfy: (a) predevelopment groundwater-            thereby resulting in even fewer calibrated solutions to the
flow, (b) transient groundwater-flow, and (c) contaminant          mixing problem-circle "D" in Figure A9d. Thus, only
fate and transport calibration criteria are accepted and           solutions that satisfy all four levels of model calibration,
classified as resulting in a calibrated contaminant fate and       indicated by the intersection of circles "A," "B," "C," and
transport model. These solutions are even fewer than for           "D," provide reasonable estimates for the concentration
predevelopment and transient groundwater flow and are              of PCE in finished water at the Tarawa Terrace WTP.
indicated by the intersection of circles "A," "B," and "C."        The final calibrated models were the end product of this
The fourth hierarchical level used to reconstruct PCE              hierarchical process.


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Quantitative Assessment of Model Calibration                                                     a. Predevelopment (steady state)

     Specific details of the calibration process for each
hierarchical level are described in the Chapter C report                                  20

for levels 1 and 2 (Faye and Valenzuela In press 2007)                                                                                                                                            •
and the Chapter F report for levels 3 and 4 (Faye In                                                                                                                                             •
                                                                                          15
press 2007b ). To summarize, at each hierarchical level,
an initial calibration target or "goodness of fit" crite-
rion was selected based on the availability, method of                                                                                                                                  •
                                                                                          10
measurement or observation, and overall reliability
of field data and related information. Once model-
specific parameters were calibrated, statistical and                              I-
                                                                                  ~        5
graphical analyses were conducted to determine if                                 u...
                                                                                                  /
selected parameters met calibration criteria targets.                             z
                                                                                  _,-
Summaries of calibration targets and resulting calibra-                           LU
                                                                                  >
                                                                                  LU
tion statistics for each of the four hierarchical levels are                      -'
                                                                                  a:                                                           10                    15                     20        25
                                                                                  LU
listed in Table AS. Graphs of observed and simulated                              !;j:    30 ~~~~~~--------~~~~~m

water levels using paired data points 22 are shown in Fig-                        s
                                                                                  Cl
                                                                                                 b. Transient, 1951-1994
                                                                                  LU
ure AlO for predevelopment and transient groundwater-                             !;j:
flow calibrations (hierarchical levels 1 and 2). Of special                       ~       m                                                                               ,,
note are calibration targets and resulting calibration
statistics for hierarchal level 2-transient groundwater                           ! '"                                                   +   ~f;_,,/
flow (Figure AlOb and Table AS). The calibration targets
                                                                                                                                               ,, +                                         ,,
were divided into those reflective of monitor well data                                                                                      ,'* +                                  ,,,' +
and those reflective of water-supply well data. As listed                                                               :j:         + fr'~               +                        ,,,
                                                                                                               +                 + ,¥         +                           + ,f,
in Table AS, calibration targets for water-level data                                                          +                ,-A t   t¾                                cl;/
                                                                                                                          ,/ +++!                                ++$ ,ti-
derived from monitor well data were assigned a smaller
                                                                                                                       ,,,                                         tf' + :it+ +
head difference (±3 ft) when compared with calibration                                   -10               ,,,,                                                  A- +:j: +
                                                                                                          ,,                                  ' . -'-="""-'- =   +    +
targets derived from water-supply well data (±12 ft).                                          ,,,,,,                                                             4++

This difference in the calibration targets-and resulting
                                                                                         -20
calibration statistics-reflects the more accurate mea-                                                                                          +       ++
surement method used to determine monitor well water
levels (steel-tape measurements) when compared with                                      -30 LL.LLL.L~~..,._,_~~~~~~~~~~~~~~~
                                                                                           -30        -20      -10    10 20  30
the method used to determine water-supply well water
                                                                                                           OBSERVED WATER LEVEL, IN FEET ABOVE OR BELOW(-)
levels (airline measurements). The resulting calibration                                                      NATIONAL GEODETIC VERTICAL DATUM OF 1929
statistics and paired data point graphs also demonstrate
a better agreement between monitor well data and model                                                                                          EXPLANATION
simulation (average magnitude of head difference of                                                   - - Line of equality

1.4 ft) than between water-supply well data and model                                                 -            -          Calibration target, monitor-well data± 3 feet

simulation results (average magnitude of head difference                                              - - - - - Calibration target, supply-well data± 12 feet

of 7.1 ft). 23 Detailed discussion and analyses of calibra-                                                    •              Monitor well and simulated paired data point

tion procedures and results are provided in the Chapter C                                                      +              Supply well and simulated paired data point

report (Faye and Valenzuela In press 2007).
                                                                                               Figure A10. Observed and simulated water levels, model
   22
      A location with observed data (for example, water level or concentration)
                                                                                               layer 1, and calibration targets for (a) predevelopment
that is associated with a model location for the pnrpose of comparing observed                 (steady-state) conditions and (b) transient conditions,
data with model results.                                                                       1951-1994, Tarawa Terrace and vicinity, U.S. Marine Corps
  23
     Definitions of head difference, average magnitude of head difference,                     Base Camp Lejeune, North Carolina.
and other calibration targets and statistics are provided in Table A8.



A24                                                            Historical Reconstruction of Drinking-Water Contamination at Tarawa Terrace
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     To assess the calibration of the fate and transport               well TT-23. The inclusive geometric bias, using data
simulation of PCE and the mixing model computations                    for water-supply well TT-23, was 5.9. The selected
for finished water at the Tarawa Terrace WTP (hierarchi-               geometric bias, omitting data for supply well TT-23,
cal levels 3 and 4), a statistic referred to as the model              was 3.9 (Table A8). Both results, however, indicate over-
bias was computed (Bm, Table A8). Model bias allows                    prediction by the model. The rationale for computing the
one to test the accuracy of a model by expressing the                  selected geometric bias is based on data, observations,
bias in terms of a simulated-to-observed (or measured)                 and discussions provided in Chapter E of this report
ratio (Maslia et al. 2000, Rogers et al. 1999). Model bias,            series (Faye and Green In press 2007). Briefly, enhanced
defined as the ratio of simulated PCE concentration to                 biodegradation possibly occurred in the vicinity of
observed PCE concentration ( c.s,m /cobs ), is character-              water-supply well TT-23 during 1984 and 1985. A bio-
ized by the following properties:                                      degradation rate for PCE of 0.5/d was computed using
                        when C.   Slm
                                     b  /c
                                        < I, there is
                                            OS
                                                                       analytical results and sample collection dates reported
                          underprediction by the model,                for water-supply well TT-23. This rate probably was not
                        when Cs1m.  obs
                                        /c
                                        = 1, there is exact            representative of biodegradation occurring in contami-
                          agreement, and                               nated aquifer media at other wells and was significantly
                        when C.   Slm
                                     b  /c
                                        > I, there is
                                            OS
                                                                       greater than the calibrated reaction rate of 5.0 x I0-4/d
                          overprediction by the model.                 (Table All). Such greatly enhanced biodegradation
                                                                       would result in much lower PCE concentrations in water
     Data used to compute model bias are spatially and
                                                                       samples obtained from supply well TT-23. A second
temporally disparate and are listed in Table A9 for water-
                                                                       reason for computing a selected geometric bias-
supply wells and Table AlO for the Tarawa Terrace WTP.
                                                                       omitting data from water-supply well TT-23-is bias
The geometric bias (B g ) is the geometric mean of the
                                                                       introduced into analytical results caused by incomplete
individual C .     b
                  Slm
                        /c
                     ratios and is a measure of model
                             OS
                                                                       or inadequate sampling methodology. As noted in
bias (B ). Geometric bias, (B g ), is computed using the
        m1
                                                                       Table A9, four sequential sampling events took place
following equation:
                                                                       during March 11-12, 1985, at water-supply well TT-23.
                                        N
                                                                       Each sampling event resulted in increased PCE con-
                                        Lln(BmJ
                        B = exp, _i_=i_ __                       (1)   centrations compared to the preceding sample. Thus,
                         g                   N                         sampling methodology at water-supply well TT-23
                                                                       may not have included a sufficient volume of water
where                                                                  discharged from the well bore prior to sampling, and
         B.
          m,1
                        is the model bias defined as the ratio         samples obtained did not represent PCE concentration
                            of simulated PCE concentration to          within the entire volume of aquifer material contributing
                            observed PCE concentration ( Cs1m./c ),
                                                                obs    to the well.
             N          is the number of observation points,                For the Tarawa Terrace WTP, 15 of 25 samples were
        ln ()           is the N aperian or natural logarithm, and     recorded as nondetect (Table AlO). The nondetect sam-
           Bg           is the geometric bias.                         ples were not used in the computation of the geometric
The geometric bias is used because the distribution of                 bias (B g). The resulting geometric bias computed for
    I
 csim cobs ratios is skewed like a lognormal distribution.             measured data at the Tarawa Terrace WTP is 1.5,
That is, the values are restricted for underprediction                 which indicates a slight overprediction by the model.
(0-1 ), but are unrestricted for overprediction (anything                   All data, measured and nondetect, and simulated
greater than 1).                                                       values are displayed in Figures Al I and A12 for water-
     Water-supply well data included 17 of 36 samples                  supply wells and the WTP, respectively. The sample
recorded as nondetect (Table A9), and these samples                    numbers shown on the horizontal (x-) axis of each graph
were not used in the computation of the geometric                      correspond to the sample numbers listed in Table A9
bias (B g). In addition, the computation of geometric bias             for water-supply wells and Table AlO for the WTP. The
was accomplished twice; an inclusive bias computation                  data in Figures All and A12 are compared with the
that included all water-supply well data and a selected                corresponding PCE concentration calibration targets
bias computation that omitted data for water-supply                    for water-supply wells and the WTP listed in Table A8.


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Table AB. Summary of calibration targets and resulting calibration statistics for simulation models used to reconstruct historical
contamination events at Tarawa Terrace and vicinity, U.S. Marine Corps Base Camp Lejeune, North Carolina.

                                                                                                                                                                5
                                                                                                                                  Resulting                      Number of
   Calibration
                                         Analysis type                            Calibration target     3
                                                                                                                                 calibration                    paired data
    level 1• 2
                                                                                                                                 statistics 4                    points (N)
                          Predevelopment (no pumping)                  Magnitude of head difference: 3 feet                  IM I= 1.9 ft                            59
                            groundwater flow                                                                                 0 = 1.5 ft

                                                                                                                             RMS= 2.1 ft
            2             Transient groundwater flow-                  Magnitude of head difference: 3 feet                  IM I= 1.4ft                            263
                            monitor wells                                                                                    0= 0.9 ft
                                                                                                                             RMS= 1.7 ft
                          Transient groundwater flow-                  Magnitude of head difference: 12 feet                 IM I= 1.1 ft                           526
                            supply wells                                                                                     0=4.6 ft
                                                                                                                             RMS= 8.5 ft
            3             Contaminant fate and transport-              Concentration difference: ± one-half                  Geometric bias
                            supply wells                                 order of magnitude or model bias (B m)                6
                                                                                                                                B g = 5.8/3.9
                                                                         ranging from 0.3 to 3
            4             Mixing model-treated water at                Concentration difference: ± one-half                  Geometric bias
                            water treatment plant                        order of magnitude or model bias (B m)                B g = l.5
                                                                         ranging from 0.3 to 3
  1
      Refer to the Chapter C report (Faye and Valenzuela In press 2007) for calibration procedures and details on levels 1 and 2
  'Refer to the Chapter F report (Faye In press 2007b) for calibration procedures and details on levels 3 and 4
   3
     Head difference is defined as observed water level (h b ) minus simulated water level (h. ); Magnitude of head difference is defined as:
lb.hi= lh ,b, - h,,ml; a concentration difference of± one-half order of magnitude equates to a ;ode! bias of 0.3 to 3, where, B m= model bias and is defined as:
Bm = c,,m!C,b,' where c,m is the simulated concentration and c,b, is the observed concentration; when Bm = 1, the model exactly predicts the observed
concentration, when Bm > 1, the model overpredicts the concentration, and when Bm < 1, the model underpredicts the concentration

                      .              .         .            -   1
  4
      Average magmtude of head difference 1s defined as:    1~1 N
                                                                  I:l~,1 ;standard deviat10n of head difference 1s defmed as: = t(M,-Mr
                                                                 = -
                                                                       N

                                                                       ,~1
                                                                                             .   .           .           .       .


                                                                                                                                          1
                                                                                                                                                 J    11~
                                                                                                                                                          1
                                                                                                                                                        •-~- - - -
                                                                                                                                                            N-1

where                                                                                                                i
           ~ is the mealnNor averagle of head difference; root-mean-square of head difference is defined as: RMS= [ tM,              2
                                                                                                                                         ]' ;   geometric bias, Bg, is

defined as: Bg = exp ~l~Bm,,) , where In () is the Naperian logarithm

  5
    A paired data point is defined as any location with observed data that is associated with a model location for the purpose of comparing observed data with
model results for water level or concentration
  6
      Bg   = 5.8 computed using all water-supply wells listed in table A9; Bg = 3.9 computed without considering water-supply well TT-23-See text for explanation
  7
      Observed concentration of 17 samples recorded as nondetect (see Table A9) and are not used in computation of geometric bias
  'Observed concentration of 15 samples recorded as nondetect (see Table AlO) and are not used in computation of geometric bias




For the nondetect sample data, the upper calibration                                 port (Figure All), and water-supply well mixing at the
target was selected as the detection limit for the sample                            Tarawa Terrace WTP (Figure Al2) presented herein:
(Tables A9 and AlO), and the lower calibration target                                (1) are reasonably calibrated and (2) provide an accept-
was selected as 1 µg/L. The statistical analyses sum-                                able representation of the groundwater-flow system, the
marized in Table A8 and comparisons of observed                                      fate and transport of PCE, and the distribution of PCE-
data, simulated values, and calibration targets shown in                             contaminated finished water to residences of Tarawa
Figures AlOa, AlOb, All, and A12 for the four hier-                                  Terrace. A listing of calibrated model parameter values
archical levels of model analyses provide evidence that                              for the predevelopment (hierarchical level 1), transient
the models of groundwater flow (predevelopment and                                   (hierarchical level 2), and fate and transport (hierarchical
transient-Figure AlO), contaminant fate and trans-                                   level 3) models is presented in Table Al 1.




A26                                                               Historical Reconstruction of Drinking-Water Contamination at Tarawa Terrace
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Table A9.  Summary of model-derived values and observed data of tetrachloroethylene at water-supply wells, Tarawa Terrace,
U.S. Marine Corps Base Camp Lejeune, North Carolina. 1
[PCE, tetrachloroethylene; µg/L, microgram per liter; J, estimated; ND, nondetect]

               Model-derived value                                                                 Observed data
                          PCE concentration,                                PCE concentration,         Detection limit,        Calibration tar-      Sample
 Month and year                                         Sample date
                               in 11g/L                                          in 11g/L                  in 11g/L             gets 2, in 11g/L     number3
                                                                       Supply well TT-23
 January 1985                      254                    1/16/1985                   132                      10                  41.7-417
 February 1985                     253                    2/12/1985                    37                      10                  11.7-117              2
 February 1985                     253                    2/19/1985                    26.2                     2                  8.3-82.9              3
 February 1985                     253                    2/19/1985                    ND                      10                    1-10                4
 March 1985                        265                    3/11/1985                    14.9                    10                  4.7-47.1              5
 March 1985                        265                    3/11/1985                    16.6                     2                  5.2-52.5              6
 March 1985                        265                    3/12/1985                    40.6                    10                  12.8-128              7
 March 1985                        265                    3/12/1985                    48.8                    10                  15.4-154              8
 April 1985                        274                    4/9/1985                     ND                      10                    1-10                9
 September 1985                    279                    9/25/1985                     4J                      2                  1.3-12.6             10
 July 1991                         191                    7/11/1991                 ND                         10                    1-10               11
                                                                       Supply well TT-25
 February 1985                       7.3                  2/5/1985                  ND                         10                    1-10               12
 April 1985                          9.6                  4/9/1985                  ND                         10                    1-10               13
 September 1985                     18.1                  9/25/1985                     0.43J                  10                  0.14-1.4             14
 October 1985                       20.4                  10/29/1985                   ND                      10                    1-10               15
 November 1985                      22.8                  11/4/1985                    ND                      10                    1-10               16
 November 1985                      22.8                  11/12/1985                   ND                      10                    1-10               17
 December 1985                      25.5                  12/3/1985                    ND                      10                    1-10               18
 July 1991                          72.7                  7/11/1991                    23                      10                  7.3-72.7             19
                                                                       Supply well TT-26
 January 1985                      804                    1/16/1985                  1,580.0                   10                 500-4,996             20
 January 1985                      804                    2/12/1985                      3.8                   10                   1.2-12              21
 February 1985                     798                    2/19/1985                     64.0                   10                  20.2-202             22
 February 1985                     798                    2/19/1985                     55.2                   10                  17.5-175             23
 April 1985                        801                    4/9/1985                     630.0                   10                 199-1,992             24
 June 1985                         799                    6/24/1985                  1,160.0                   10                 367-3,668             25
 September 1985                    788                    9/25/1985                  1,100.0                   10                 348-3,478             26
 July 1991                         670                    7/11/1991                    350.0                   10                 111-1,107             27
                                                                    Supply well TT-30
 February 1985                        0.0                 2/6/1985               ND                            10                    1-10               28
                                                                    Supply well TT-31
 February 1985                        0.17                2/6/1985               ND                            10                    1-10               29
                                                                    Supply well TT-52
 Februar~ 1985                        0.0                 2/6/1985               ND                            10                    1-10               30
                                                                    Supply well TT-54
 February 1985                       6.0                  2/6/1985               ND                            10                    1-10               31
 July 1991                          30.4                  7/11/1991              ND                             5                    1-5                32
                                                                    Supply well TT-67
 Februar~ 1985                        4.1                 2/6/1985               ND                            10                    1-10               33
                                                                    Supply well RW1
 July 1991                            0.0                 7/12/1991              ND                             2                     1-2               34
                                                                    Supply well RW2
 July 1991                         879                    7/12/1991                   760                       2                 240-2,403             35
                                                                    Supply well RW3
 July 1991                            0.0                 7/12/1991             ND                              2                     1-2               36
  1
   Model-derived values for water-supply wells based on simulation results obtained from the fate and transport model MT3DMS (Zheng and Wang 1999);
see the Chapter F report (Faye In press 2007b) for details
  'Calibration targets are ±½-order of magnitude for observed data; when observed data are indicated as ND, upper calibration target is detection limit and
lower calibration target is 1 ftg/L
  3
      See Figure Al 1

Chapter A: Summary of Findings                                                                                                                                A27
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Table A10.  Summary of model-derived values and observed data of tetrachloroethylene at the water treatment plant, Tarawa Terrace,
U.S. Marine Corps Base Camp Lejeune, North Carolina. 1
[PCE, tetrachloroethylene; µg/L, microgram per liter; ND, nondetect]


          Model-derived value                                                                    Observed data
                           PCE concentra-                                   PCE concentra-          Detection limit,      Calibration targets,       Sample
 Month and year                                        Sample date
                            tion, in 11g/L                                    tion, in 11g/L            in 11g/L                in 11g/L2            number3

 May 1982                          148                   5/27/1982                  80                     10                   25-253

 July 1982                         112                   7/28/1982                 104                     10                   33-329                    2

 July 1982                         112                   7/28/1982                  76                     10                   24-240                    3

 July 1982                         112                   7/28/1982                  82                     10                   26-259                    4

 January 1985                      176                   2/5/1985                   80                     10                   25-253                    5

 January 1985                      176                   2/11/1985                 215                     10                   68-680                    6

 February 1985                        3.6                2/13/1985                 ND                      10                     1-10                    7

 February 1985                        3.6                2/19/1985                 ND                       2                     1-2                     8

 February 1985                        3.6                2/22/1985                 ND                      10                     1-10                    9

 March 1985                           8.7                3/11/1985                 ND                       2                     1-2                    10

 March 1985                           8.7                3/12/1985                   6.6                   10                   2.1-21                   11

 March 1985                           8.7                3/12/1985                  21.3                   10                   6.7-67                   12

 April 1985                           8.1                4/22/1985                                         10                   0.3-3.2                  13

 April 1985                           8.1                4/23/1985                 ND                      10                     1-10                   14

 April 1985                           8.1                4/29/1985                   3.7                   10                   1.2-11.7                 15

 May 1985                             4.8                5/15/1985                 ND                      10                     1-10                   16

 July 1985                            5.5                7/1/1985                  ND                      10                     1-10                   17

 July 1985                            5.5                7/8/1985                  ND                      10                     1-10                   18

 Julyl985                             5.5                7/23/1985                 ND                      10                     1-10                   19

 July 1985                            5.5                7/31/1985                 ND                      10                     1-10                  20

 August 1985                          6.0                8/19/1985                 ND                      10                     1-10                  21

 September 1985                       6.5                9/11/1985                 ND                      10                     1-10                  22

 September 1985                       6.5                9/17/1985                 ND                      10                     1-10                  23

 September 1985                       6.5                9/24/1985                 ND                      10                     1-10                  24

 October 1985                         7.1               10/29/1985                 ND                      10                     1-10                  25
  1
    Model-derived values for water treatment plant based on simulation results obtained from the fate and transport model MT3DMS (Zheng and Wang 1999)
and application of a materials mass balance (mixing) model; see the Chapter F report (Faye In press 2007b) for details
  'Calibration targets are ±½-order of magnitude for observed data; when observed data are indicated as ND, upper calibration target is detection limit and
lower calibration target is 1 µg/L
  3
   See Figure A12




A28                                                           Historical Reconstruction of Drinking-Water Contamination at Tarawa Terrace
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Table A11. Calibrated model parameter values used for simulating groundwater flow and contaminant fate and transport,
Tarawa Terrace and vicinity, U.S. Marine Corps Base Camp Lejeune, North Carolina.
[ft/d, foot per day; ft 3/d, cubic foot per day; ft 3/g, cubic foot per gram; g/ft 3, gram per cubic foot; d- 1, 1/day; g/d, gram per day; ft, foot; ft'/d, square foot per day;
- , not applicable]


                                                                                                     Model layer number2
 Model parameter 1
                                                                                2                3                4                5                6                7

                                         Predevelopment groundwater-flow model (conditions prior to 1951)
 Horizontal hydraulic conductivity, KH (ft/d)             12.2-53.4            1.0          4.3-20.0             1.0           6.4-9.0             1.0              5.0

 Ratio of vertical to horizontal hydraulic                    1:7.3           1:10             1:8.3            1:10             1:10             1:10             1:10
   conductivity, K/KH3

 Infiltration (recharge), IR (inches per year)                13.2

                                          Transient groundwater-flow model, January 1951-December 1994
 Specific yield, SY                                             0.05
 Storage coefficient, S                                                    4.0xlQ-4         4.0x 10-4        4.0xlQ-4         4.0xlQ-4         4.0x 10-4        4.0xlQ-4
 Infiltration (recharge), IR (inches per year)            6.6-19.3
 Pumpage, Qk (ft /d)  3
                                                       See footnote 4                    See footnote 4                             0                                 0

                             Fate and transport of tetrachloroethylene (PCE) model, January 1951-December 1994
 Distribution coefficient, Kd (ft3/g)                     5.0xl0-6         5.0xl0-6         5.0x 10-6        5.0xl0-6         5.0xl0-6         5.0x 10-6        5.0xl0-6

 Bulk density, pb (g/ft3)                                77,112           77,112           77,112           77,112           77,112           77,112           77,112

 Effective porosity, nE                                         0.2              0.2              0.2              0.2              0.2              0.2              0.2
 Reaction rate, r (d- 1)                                 5.0xlQ-4          5.0xlQ-4        5.0x 10-4        5.0xlQ-4         5.0xlQ-4         5.0xl0--4        5.0x 10-4

 Mass-loading rate 5 , q8 C8 (g/d)                         1,200

 Longitudinal dispersivity, O'. L (ft)                        25               25               25               25               25               25               25

 Transverse dispersivity, O'. T (ft)                            2.5              2.5              2.5              2.5              2.5              2.5              2.5

 Vertical dispersivity, O'. v (ft)                              0.25             0.25             0.25             0.25             0.25             0.25             0.25
 Molecular diffusion coefficient, D* (ft2/d)             8.5 X lQ-4        8.5 X lQ-4       8.5x 10-4        8.5 X lQ-4       8.5 X lQ-4       8.5x 10-4        8.5 X lQ-4
  1
      Symbolic notation used to describe model parameters obtained from Chiang and Kinzelbach (2001)
  2
   Refer to Chapter B (Faye In press 2007a) and Chapter C (Faye and Valenzuela In press 2007) reports for geohydrologic framework corresponding to
appropriate model layers; aquifers are model layers 1, 3, 5, and 7; semiconfining units are model layers 2, 4, and 6
  3
      For model cells simulating water-supply wells, vertical hydraulic conductivity (Kv) equals 100 feet per day to approximate the gravel pack around the well
  4
      Pumpage varies by month, year, and model layer; refer to Chapter K report (Maslia et al. In press 2007a) for specific pumpage data
  5
      Introduction of contaminant mass began January 1953 and terminated December 1984




Chapter A: Summary of Findings                                                                                                                                               A29
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             10,000

                                                                                                        4,996                    3,668
                                                                                                                                      \ 3,478

                                                                                                                                 1,992

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              1,000

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       z'                                                                                                         12 - 17.5                          10 10 10 lQ      I   10
       0
                10
       i==                                                                                                                 Maximum
       <(
       a:                                                                                            7.3                contaminant level
       1-
       z                           4.7 5.2
       w
       u
       z
       0
       u                                                                   1.4
       w
       u                                                1.3
       a..                                                                                                        1.2
                                                              1   1    1          1     1    1   1                                                                1   1   1




                                                                                                                                                         ■
                                                                           0.14
                0.1
                                                                                                                                                     ■       ■                 ■


                      0                                  10                       15                        20                         25                    30                    35
                                                                      SAMPLE NUMBER (SEE TABLE A9)

                                                                                  EXPLANATION
                                                Observed sample data                                       Nondetect sample data
                                                 Upper calibration target,            417        10        Detection limit and upper
                                                  1/2-order of magnitude                                    calibration target
                                              higher than observed value

                                        Simulated concentration of PCE                                     Simulated concetration of PCE

                                        Observed concentration of PCE


                                                                                                           Lower calibration target
                                                 Lower calibration target,            41.7
                                                  1/2-order of magnitude
                                                                                                 ■         Simulated concentration is 0.0 µg/L,
                                               lower than observed value
                                                                                                            plotted as less than 0.1 µg/L for display
                                                                                                            and relative comparison purposes

                                                                  Solid line, calibration target range
                                                                  Dashed line, groups data with unique
                                                                   sample identification



                      Figure A11. Comparison of observed and nondetect tetrachloroethylene sample data with calibration
                      targets and simulated concentrations at water-supply wells, Tarawa Terrace, U.S. Marine Corps Base
                      Camp Lejeune, North Carolina. [PCE, tetrachloroethylene; µg/L, microgram per liter]




A30                                                               Historical Reconstruction of Drinking-Water Contamination at Tarawa Terrace
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- - - - - - - - - - - - - - - - - - - - - - - - - - - - Hierarchical Approach for Quantifying Exposure




                                329
                          253         240 259 253



        a:
        ~       100
        ::::;                                                                              67
        a:
        w                                              68
        a..
        Cl)
        ~
        <(
        a:                      33
        (!J
                           25         24   26    25                             21
        0
        a:
        u
        ~                                                   10        10                                   10 ll.7    10   10   10   10   10   10   10   10   10   10
                 10
        ~                                                                  ■
                                                                            I                       ■
        z'                                                                                           I
        0                 Maximum contaminant leve l                                      6.7        I
        i==                                                                           -    -    -   .J -
                                                                                                     I
        <(
        a:                                                       ■                                  3.2
       1-
        z

                                                                 r r
        w                                                         2         2
        u
        z
        0
        u                                                                       2.1
        w
        u                                                                                                       1.2
        a..




                                                                                                    0.3



                 0.1 ~~-~~-~~-~~~-~~-~~-~~-~~-~~-~~-~~-~~-~~
                      0                                                    10                                   15                        20                       25
                                                                   SAMPLE NUMBER (SEE TABLE A10)

                                                                                EXPLANATION
                                                       Observed sample data                                  Nondetect sample data
                                                         Upper calibration target, 240                    10 Detection limit and upper
                                                          1/2-order of magnitude                              calibration target
                                                      higher than observed value


                                                Simulated concentration of PCE
                                                                                                             Simulated concentration of PCE
                                                Observed concentration of PCE




                                                        Lower calibration target,         24               1 Lower calibration target
                                                         1/2-order of magnitude
                                                      lower than observed value

                                                                       Solid line, calibration target range
                                                                       Dashed line, groups data with unique
                                                                        sample identification



                      Figure A12. Comparison of observed and nondetect tetrachloroethylene sample data with calibration
                      targets and simulated concentrations at the water treatment plant, Tarawa Terrace, U.S. Marine Corps Base
                      Camp Lejeune, North Carolina. [PCE, tetrachloroethylene]




Chapter A: Summary of Findings                                                                                                                                          A31
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Selected Simulation Results - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -


Selected Simulation Results                                                  January 1958
     Examples of simulation results showing the distri-                           With the onset of simulated pumping at water-
bution of PCE in groundwater and the concentration of                        supply well TT-26 during January 1952, local cones of
PCE in finished water at the Tarawa Terrace WTP are                          depression are shown around all active supply wells. In
presented in the form of maps and graphs. Maps show                          general, however, flow is toward Northeast Creek and
simulated water levels, directions of groundwater flow,                      Frenchmans Creek (A13a). Under these flow condi-
and the areal distribution of PCE. The concentrations of                     tions, PCE migrated southeast from its source at the site
PCE at specific water-supply wells and in finished water                     of ABC One-Hour Cleaners in the direction of water-
at the WTP are shown as graphs in the form of time                           supply well TT-26 (Figure A13b). The simulated PCE
versus concentration.                                                        concentration at water-supply well TT-26 during Janu-
                                                                             ary 1958 was about 29 µg/L. 26
Distribution of Tetrachloroethylene (PCE)
in Groundwater                                                               January 1968
     Simulation results of groundwater flow and the fate                          During January 1968, the designated start date of
and transport of PCE are shown as a series of maps for                       the epidemiological case-control study (Figure A3),
January 1958 (Figure A13), January 1968 (Figure Al4),                        groundwater flow in the northern half of the model
December 1984 (Figure A15), and December 1994                                domain was little changed from January 1958 condi-
(Figure Al 7). 24 Each illustration is composed of two                       tions (Figure A 14a). In the immediate vicinity of the
maps. The upper map shows simulated potentiometric                           Tarawa Terrace I housing area, groundwater flow and
levels (or water levels) and directions of groundwater                       water levels are affected by pumpage from water-supply
flow for model layer 1 throughout the entire active                          wells TT-52, TT-53 and TT-54. Groundwater flow from
model domain (for example, Figure A13a). Ground-                             the vicinity of TT-26 toward well TT-54 is particularly
water flow is from highest to lowest potentiometric level.                   evident. Under these flow conditions, PCE has migrated
The lower map (for example, Figure A13b) shows an                            in a more southwardly direction from its source at the
enlarged area of the Tarawa Terrace housing area and the                     site of ABC One-Hour Cleaners toward water-supply
site of ABC One-Hour Cleaners. This map shows simu-                          well TT-54 (Figure A14b) and covers a greater spatial
lated potentiometric levels and the areal distribution of                    extent than during January 1958. By January 1968, the
PCE-contaminated groundwater. The lower maps show                            simulated concentration of PCE in water-supply well
simulated PCE values ranging from 5 µg/L to greater                          TT-26 was 402 µg/L.
than 1,500 µg/L. The values of PCE shown on the
maps-assigned a specific color to represent a concen-                        December 1984
tration range-are values of PCE that were simulated at
                                                                                  Groundwater pumpage increased water-level
the center of a finite-difference cell that was part of the
                                                                             declines during December 1984 in the vicinity of the
numerical model's finite-difference grid. 25 The simulated
                                                                             Tarawa Terrace I housing area and probably accelerated
PCE values shown in Figures A13-Al7 were derived
                                                                             the migration of PCE toward the vicinity of well TT-54
by applying the inverse-distance weighting method to
                                                                             (Figure Al5a). Between January 1968 and Decem-
simulated PCE-concentration values at the center of
                                                                             ber 1984, the center of mass of PCE migrated generally
finite-difference cells.
                                                                             southeastward from its source at the site of ABC One-
                                                                             Hour Cleaners, and the arm of the PCE plume migrated
  24
                                                                             southwestward toward water-supply wells TT-23, TT-67,
     For synoptic maps of model layer 1 (1951-1994), refer to the
Chapter K report (Maslia et al. In press 2007a).                             and TT-54 (Figure A15b). The areal extent of simulated
   25
      Refer to report Chapter C (Faye and Valenzuela In press 2007) and
                                                                               26
Chapter F (Faye In press 2007b) reports for details specific to the compu-        Refer to the Chapter K report (Maslia et al. In press 2007a) for a
tational grid and model boundaries used to simulate groundwater flow aud     monthly listing of simulated PCE concentrations at water-supply wells
contaminant fate aud transport.                                              during January 1952-February 1987.




A32                                                           Historical Reconstruction of Drinking-Water Contamination at Tarawa Terrace
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- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - Selected Simulation Results


        77°23'30"                  77°23'                  77°22'30"            77°22'    77°21 '30"       77°21'




                                                                                                                                    EXPLANATION
                                                                                                                                 Historical water-supply area
                                                                                                                     D            Tarawa Terrace
                                                                                                                     D            Holcomb Boulevard

                                                                                                                      - - Model boundary

                                                                                                                      - - Frenchmans Creek

                                                                                                                     - 4- Simulated potentiometric
                                                                                                                                   contour-Shows simulated
                                                                                                                                   potentiometric surface
                                                                                                                                   during January 1958.
                                                                                                                                   Contour interval 2 feet.
                                                                                                                                   Datum is National Geodetic
                                                                                                                                   Vertical Datum of 1929

                                                                                                                      - - Simulated direction of
             77°22'30"                                        77°22'                     77°21 '30"                         groundwater flow,
                                                                                                                            January 1958

                                                                                                                       D ABC One-Hour Cleaners
                                                                                                                             °
                                                                                                                     TT- 26 Pumpi~g wa_t~r-s~pply well
                                                                                                                              and 1dent1flcat1on

                                                                                                                                 PCE concentration, in
                                                                                                                                   micrograms per liter
                                                                                                                                  1 to 5
                                                                                                                         •        Greater than 5 to 50
                                                                                                                         •        Greater than 50 to 500
                                                                                                                         •        Greater than 500 to 1,500
                                                                                                                         •        Greater than 1,500




:a: 1 - - - - - -
~




    Base from U.S. Marine Corps and U.S. Geological Survey digital data files



    Figure A13. Simulated (a)water level and direction of groundwater flow and (b) distribution of tetrachloroethylene, model layer 1,
    January 1958, Tarawa Terrace and vicinity, U.S. Marine Corps Base Camp Lejeune, North Carolina. [PCE, tetrachloroethylene]




Chapter A: Summary of Findings                                                                                                                             A33
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Selected Simulation Results - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -


      77°23'30"                  77°23'                  77°22'30"              77°22'          77°21 '30"              77°21'




                                                                                                                                            EXPLANATION
                                                                                                                                         Historical water-supply area
                                                                                                                                 D        Tarawa Terrace
                                                                                                                                 D        Holcomb Boulevard

                                                                                                                                 - - Model boundary

                                                                                                                                 - - Frenchmans Creek

                                                                                                                                 - 4 - Simulated potentiometric
                                                                                                                                         contour-Shows simulated
                                                                                                                                         potentiometric surface
                                                                                                                                         during January 1968.
                                                                                                                                         Contour interval 2 feet.
                                                                                                                  4,000 FEIT             Datum is National Geodetic
                                                                                                                                         Vertical Datum of 1929
                                                                                                             1,000 METERS

                                                                                                                                  - - Simulated direction of
           77°22'30"                                        77°22'                             77°21 '30"                               groundwater flow,
                                                                                                                                        January 1968

                                                                                                                                  D ABC One-Hour Cleaners
                                                                                                                                 ~T-ZB Pumping water-supply well
                                                                                                                                         and identification

                                                                                                                                         PCE concentration, in
                                                                                                                                           micrograms per liter
                                                                                                                                          1 to 5
                                                                                                                                     •    Greater than 5 to 50
                                                                                                                                     •    Greater than 50 to 500
                                                                                                                                     •    Greater than 500 to 1,500
                                                                                                                                     •    Greater than 1,500




  Base from U.S. Marine Corps and U.S. Geological Survey digital data files


  Figure A14. Simulated (a) water level and direction of groundwater flow and (b) distribution of tetrachloroethylene, model layer 1,
  January 1968, Tarawa Terrace and vicinity, U.S. Marine Corps Base Camp Lejeune, North Carolina. [PCE, tetrachloroethylene]




A34                                                                      Historical Reconstruction of Drinking-Water Contamination at Tarawa Terrace
                                                                                    and Vicinity, U.S. Marine Corps Base Camp Lejeune, North Carolina
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- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - Selected Simulation Results


     77°23'30"                  77°23'                   77°22'30"            77°22'    77°21 '30"      77°21'




                                                                                                                              EXPLANATION
                                                                                                                           Historical water-supply area
                                                                                                                  D         Tarawa Terrace

                                                                                                                  D         Holcomb Boulevard

                                                                                                                  - - Model boundary

                                                                                                                  - - Frenchmans Creek

                                                                                                                  - 4 - Simulated potentiometric
                                                                                                                             contour-Shows simulated
                                                                                                                             potentiometric surface
                                                                                                                             during December 1984.
                                                                                                                             Contour interval 2 feet.
                                                                                                                             Datum is National Geodetic
                                                                                                                             Vertical Datum of 1929

                                                                                                                   -       Simulated direction of
          77°22'30"                                         77°22'                     77°21 '30"                            groundwater flow,
                                                                                                                             December 1984

                                                                                                                   D ABC One-Hour Cleaners
                                                                                                                  r -26 Pumping water-supply well
                                                                                                                          and identification
                                                                                                                           PCE concentration, in
                                                                                                                             micrograms per liter
                                                                                                                            1 to 5
                                                                                                                       •    Greater than 5 to 50
                                                                                                                       •    Greater than 50 to 500
                                                                                                                       •    Greater than 500 to 1,500
                                                                                                                       •    Greater than 1,500




  Base from U.S. Marine Corps and U.S. Geological Survey digital data files



  Figure A15. Simulated (a) water level and direction of groundwater flow and (b) distribution of tetrachloroethylene, model layer 1,
  December 1984, Tarawa Terrace and vicinity, U.S. Marine Corps Base Camp Lejeune, North Carolina. [PCE, tetrachloroethylene]




Chapter A: Summary of Findings                                                                                                                       A35
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Selected Simulation Results - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

PCE contamination has increased significantly from the      December 1994
areal extent of January 1958 and January 1968 (Fig-              Owing to documented PCE contamination in water
ures Al3b and Al4b, respectively). By December 1984,        samples obtained from the Tarawa Terrace water-supply
the simulated concentration of PCE in water-supply          wells and the WTP (Tables A9 and AlO), wells TT-23
wells TT-23, TT-25, and TT-26 was 255 µg/L, 6 µg/L,         and TT-26 were taken off-line during February 1985.
and 805 µg/L, respectively. These and other water-supply    The Tarawa Terrace WTP was closed and pumping at
wells were pumping from model layer 3. Therefore,           all Tarawa Terrace water-supply wells was discontinued
simulated concentrations for these water-supply wells       during March 1987 (Figures A3 and A5, Table A6).
are lower than the simulated PCE concentrations shown       As a result, potentiometric levels began to recover. By
in Figure Al5b. For maps showing simulated PCE              December 1994, the simulated potentiometric levels
concentration in model layer 3, refer to the Chapter F      (Figure Al 7a), were nearly identical to predevelopment
report (Faye In Press 2007b ). For information on model     conditions of 1951 (Faye and Valenzuela In press 2007).
layers that water-supply wells pumping from, refer to the   Groundwater flow was from the north and northwest
Chapter K report (Maslia et al. In Press 2007a).            to the south and east, discharging to Northeast Creek.
     Some water-supply wells were constructed to obtain     Groundwater discharge also occurs to Frenchmans
water from multiple water-bearing zones. Therefore, in      Creek in the westernmost area of the model domain
the model representation of these wells, groundwater        (Figure Al 7a). Water-supply wells shown in Figure Al 7
can be withdrawn from more than one model layer.            were not operating during December 1994, but are
For example, water-supply wells TT-31, TT-52, and           shown on this illustration for reference purposes.
TT-54 withdraw groundwater from model layers 1 and               A graph showing simulated concentrations of
3, whereas water-supply wells TT-23, TT-25, TT-26,          PCE at Tarawa Terrace water-supply wells from the
TT-27, and TT-67 withdraw groundwater solely from           beginning of operations at ABC One-Hour Cleaners
model layer 3 (Faye and Valenzuela In press 2007;           through the closure of the wells and the WTP is shown
Maslia et al. In press 2007a). Consequently, the distri-    in Figure A18. Simulated PCE concentrations in water-
bution of PCE will differ by model layer and by time,       supply well TT-26 exceeded the current MCL of 5 µg/L
depending on groundwater-flow velocities, the number        during January 1957 (simulated value is 5.2 µg/L) and
of water-supply wells withdrawing groundwater from a        reached a maximum simulated value of 851 µg/L during
particular model layer, and the volume of groundwater       July 1984. The mean simulated PCE concentration in
being withdrawn. An example of the multilayer distribu-     water-supply well TT-26 for its entire period of operation
tion of PCE by model layer for December 1984 is shown       was 351 µg/L. The mean simulated PCE concentration
as a perspective diagram in Figure A16. In this diagram,    for the period exceeding the current MCL of 5 µg/L-
water-supply wells are shown penetrating the model          January 1957 to January 1985-was 414 µg/L. This
layer or layers from which they withdraw groundwater.       represents a duration of 333 months (27. 7 years). These
Because no water-supply wells withdraw groundwater          results are summarized in Table A12 along with simu-
directly from model layer 5, the distribution of PCE in     lated results for water-supply wells TT-23 and TT-25.
layer 5 covers a smaller area and is of lower concentra-    It should be noted that although simulation results indi-
tion compared to model layers 1 and 3.                      cate several water-supply wells were contaminated with
                                                            PCE (wells TT-23, TT-25, TT-31, TT-54, and TT-67),
                                                            by far, the highest concentration of PCE and the longest
                                                            duration of contamination occurred in water-supply
                                                            well TT-26 (Figure A18).




A36                                          Historical Reconstruction of Drinking-Water Contamination at Tarawa Terrace
                                                        and Vicinity, U.S. Marine Corps Base Camp Lejeune, North Carolina
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 - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - Selected Simulation Results


     Model layer 1




    Model layer 5




                                                                                EXPLANATION
                                               Historical water-
                                                                      □     ABC One-Hour Cleaners            PCE concentration, in
                                                 supply area                                                   micrograms per liter
                                       D        Montford Point      TT-54 ra Water-supply well and            1 to 5
                                       D        Tarawa Terrace                 identification-Ground-
                                                                                                         •    Greater than 5 to 50

                                       D        Holcomb Boulevard
                                                                               water pumped from
                                                                                                         •    Greater than 50 to 500
                                                                               model layer or layers
                                                                               penetrated by well        •    Greater than 500 to 1,500
                                       -   -   Model boundary
                                                                                                         •    Greater than 1,500




             Figure A16.  Diagram showing perspective views of the simulated distribution of tetrachloroethylene,
             model layers 1, 3, and 5, December 1984, Tarawa Terrace and vicinity, U.S. Marine Corps Base Camp
             Lejeune, North Carolina. [PCE, tetrachloroethylene; thickness and vertical separation of layers not to scale]




Chapter A: Summary of Findings                                                                                                            A37
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Selected Simulation Results - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

      77°23'30"                 77°23'                   77°22'30"             77°22'          77°21 '30"       77°21'




                                                                                                                                     EXPLANATION
                                                                                                                                  Historical water-supply area
                                                                                                                         D         Tarawa Terrace

                                                                                                                         D         Holcomb Boulevard

                                                                                                                         - - Model boundary

                                                                                                                         - - Frenchmans Creek

                                                                                                                         - 4 - Simulated potentiometric
                                                                                                                                 contour-Shows simulated
                                                                                                                                 potentiometric surface
                                                                                                                                 during December 1994.
                                                                                                                                 Contour interval 2 feet.
                                                                                                                                 Datum is National Geodetic
                                                                                                                                 Vertical Datum of 1929

                                                                                                                          -       Simulated direction of
           77°22'30"                                        77°22'                            77°21 '30"                            groundwater flow,
                                                                                                                                    December 1994

                                                                                                                          D ABC One-Hour Cleaners
                                                                                                                         TT-26 Water-supply well
                                                                                                                         0
                                                                                                                                 (not pumping)
                                                                                                                                 and identification-
                                                                                                                                 Shown for locational
                                                                                                                                 reference only

                                                                                                                                  PCE concentration, in
                                                                                                                                    micrograms per liter
                                                                                                                                   1 to 5
                                                                                                                              •    Greater than 5 to 50
                                                                                                                              •    Greater than 50 to 500
                                                                                                                              •    Greater than 500 to 1,500
                                                                                                                              •    Greaterthan 1,500




  Base from U.S. Marine Corps and U.S. Geological Survey digital data files



  Figure A17. Simulated (a) water level and direction of groundwater flow and (b) distribution of tetrachloroethylene, model layer 1,
  December 1994, Tarawa Terrace and vicinity, U.S. Marine Corps Base Camp Lejeune, North Carolina. [PCE, tetrachloroethylene]




A38                                                                     Historical Reconstruction of Drinking-Water Contamination at Tarawa Terrace
                                                                                   and Vicinity, U.S. Marine Corps Base Camp Lejeune, North Carolina
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- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - Selected Simulation Results




                                                                         Finished water from
                      100                                                water t rea tment plant
               a:                                                                                                                            WellTT-25
               w
               I-
               ::;
               a:
               w                                                                                                                            E
               a..
               Cl)
                        10                                                                                                                 v WellTT-54
               ~
               <(                                               Maximum contaminant level
               a:
               (!J
               0                                                                                                                             WellTT-67
               a:                   Jan 1957
               u
                                    (5.2 µg/L)
               ~
                                                                                                                                     0
               ~
               z'
               0                                                                                                              I     /WellTT-31
                                                                                                                          I
               ~
               a:
                                                                                                                      I
               1-                                  O   Finished water sample from
                                                                                                                  I
               zw      0.1                               water treatment plant
                                                                                                                 I
               u                                                                                                I
               z                                   A Well TT-26 begins operations                              I
               0
               u                                   B ABC One-Hour Cleaners
                                                                                                              I
               w                                           begins operations
                                                                                                             I
               u                                                                                            I
               a..                                                                                         I
                                                   C Well TT-26 not in operation
                      0.01                                 July-August 1980                               I
                                                                                                      I
                                                   D Well TT-26 not in operation                      I
                                                           January-February 1983                     I
                                    AB
                                                   E WTP closed March 1987                          I
                                    II                                                             I
                             Jan           Jan      Jan           Jan            Jan          Jan                         Jan       Jan          Jan        Jan
                             1950          1955     1960          1965           1970         1975                        1980      1985         1990       1995

                              Figure A18. Concentration of tetrachloroethylene: simulated at selected water-supply wells
                              and in finished water at the water treatment plant, and measured in finished water at the
                              water treatment plant, Tarawa Terrace, U.S. Marine Corps Base Camp Lejeune, North Carolina.
                              [PCE, tetrachloroethylene; µg/L, microgram per liter]


       Table A12. Summary statistics for simulated tetrachloroethylene contamination of selected water-supply wells
       and the water treatment plant based on calibrated model simulation, Tarawa Terrace, U.S. Marine Corps Base
       Camp Lejeune, North Carolina.
       [MCL, maximum contaminant level; µg/L, microgram per liter; WTP, water treatment plant; PCE, tetrachloroethylene]

                                                                                        Month and year of maximum value                             Average
                                            Month and year and
        Water supply                                                                      and maximum concentration,                             concentration, 2
                                          duration exceeding MCL 1
                                                                                                    in 11g/L                                         in 11g/L
                                           August 1984-April 1985                                         April 1985
        TT-23                                                                                                                                            252
                                                  8 months 3                                                 274
                                          July 1984-February 1987                                   February 1987
        TT-25                                                                                                                                             27
                                                 32 months                                               69
                                         January 1957-January 1985                                        July 1984
        TT-26                                                                                                                                            414
                                                333 months4                                                  851
                                      November 1957-February 1987                                     March 1984
        WTP                                                                                                                                               70
                                              346 months                                                 183

         1
             Current MCL for PCE is 5 µg/L, effective date July 6, 1992 (40 CFR, Section 141.60, Effective Dates, July 1, 2002, ed.)
         2
             For periods exceeding 5 µg/L when water-supply well was operating
         3
             Water-supply well TT-23 was not operating during February 1985
         4
             Water-supply well TT-26 was not operating July-August 1980 and January-February 1983



Chapter A: Summary of Findings                                                                                                                                      A39
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Selected Simulation Results - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

Concentration of Tetrachloroethylene (PCE) in
                                                                                                                     (2)
Finished Water                                                                             i=l

                                                           and
     Figure A18 shows simulated PCE concentrations
in finished water delivered by the Tarawa Terrace
WTP. A monthly listing of simulated PCE concen-
trations also is provided in Appendix A2. PCE concen-
trations for the water-supply wells depicted in Fig-       where
ure A18 are based on simulated monthly results for the           NWP       is the number of water-supply wells
period of well operations (Figure AS, Table A6). PCE                           simulated as operating (pumping)
contamination of water-supply well TT-26 was the                               during the month of interest,
primary contributor to contamination in the finished                 Q;    is the simulated groundwater pumping
water of the WTP. When water-supply well TT-26                                 rate of water-supply well i,
was temporarily shut down during July-August 1980                   QT     is the total simulated groundwater
and January-February 1983, the PCE concentra-                                  pumping rate from all operating
tion in finished water at the WTP was significantly                            water-supply wells during the
lower (Figure A18). For example, during June 1980,                             month of interest,
the simulated PCE concentration in finished water at                 Cl
                                                                           is the simulated concentration for
the Tarawa Terrace WTP was 126 µg/L, but during                                water-supply well i, and
July-August 1980, the simulated PCE concentration                  CWTP    is the concentration of finished water
in finished water at the Tarawa Terrace WTP did not                            delivered from the Tarawa Terrace
exceed 0.8 µg/L. Furthermore, during December 1982,                            WTP for the month of interest.
the simulated PCE concentration in finished water at       Equation 2 is known as the continuity equation, and
the Tarawa Terrace WTP was 115 µg/L, but during            Equation 3 describes the conservation of mass.
January-February 1983, the simulated PCE concentra-             The simulated concentration of PCE in finished
tion in finished water at the Tarawa Terrace WTP was       water delivered by the Tarawa Terrace WTP first
1.3 µg/L. The PCE concentration of finished water at       exceeded the current MCL of 5 µg/L during Novem-
the Tarawa Terrace WTP is less than the PCE concen-        ber 1957-10 months after the PCE concentration
tration of water-supply well TT-26 because the mix-        in water-supply well TT-26 exceeded the MCL
ing model uses water supplied to the WTP from all          (Figure A18). Using simulated water-supply well
wells-contaminated and uncontaminated.                     concentrations and mixing model computations
     For any given month during the historical recon-      (Equations 2 and 3), exposure to PCE-contaminated
struction period, the PCE concentration of finished        drinking water that exceeded the current MCL
water at the Tarawa Terrace WTP was computed               of 5 µg/L occurred for a duration of 346 months
using the following equations:                             (28.8 years)-November 1957-February 1987. A
                                                           summary of dates and durations of PCE concentrations
                                                           at selected water-supply wells and in finished water
                                                           at the Tarawa Terrace WTP is provided in Table A12.
                                                           Simulated values of PCE concentration in finished water
                                                           of the WTP compare well with available measured data
                                                           shown in Figures A12 and A18 and listed in Table AlO.




A40                                         Historical Reconstruction of Drinking-Water Contamination at Tarawa Terrace
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- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - Analysis of Degradation By-Products

Analysis of Degradation By-Products                                              fate and transport of PCE in groundwater, described in
                                                                                 the Chapter F report (Faye In press 2007b), accounted
     Although exposure to contaminated drinking                                  for the degradation of PCE by applying a biodegrada-
water was eliminated after February 1987 due to the                              tion rate to PCE during the simulation process. (The
closure of the Tarawa Terrace WTP during March 1987                              biodegradation rate was determined from field data and
(Figures A3 and A18; Table Al2), measurable quantities                           the calibration process [Faye In press 2007b].) This
of PCE remained in the subsurface-at the source                                  transformation process typically is expressed in terms
(ABC One-Hour Dry Cleaners) and distributed within                               of a rate constant or half-life. For example, in the fate
the aquifer (Figure Al 7b). For example, during                                  and transport simulations of PCE, the calibrated bio-
July 1991, the PCE concentrations in water samples                               degradation (or reaction) rate for PCE was 5.0 x I0-4/day
obtained from off-line water-supply wells TT-25                                  (Table Al I). It is important to note, however, that the
and TT-26 were 23 µg/L and 350 µg/L, respectively                                basic chemical reaction package that is contained in the
(Table A9). This mass of PCE in the subsurface con-                              MT3DMS model was used to simulate a single-specie
tinued to migrate and undergo transformation through                             and single-phase system (Zheng and Wang 1999). Thus,
physical and biochemical processes such as volatili-                             as described in Faye (In press 2007b), MT3DMS was
zation and biodegradation. As such, the potential for                            used to simulate the transport and fate (biodegradation)
exposure to PCE and its degradation by-products TCE, 27                          solely of PCE. To account for sequential biodegradation
1,2-tDCE, and VC from a route other than ingestion                               of VOCs, parent-daughter chain reactions must be taken
and inhalation of drinking water-such as inhalation of                           into account in a multiphase environment (Zheng and
soil vapors-continued beyond cessation of exposure to                            Bennett 2002). For example, in a four-species system, the
drinking water after the closure of the Tarawa Terrace                           source (ABC One-Hour Cleaners) contains only a single
WTP in March 1987 (Figure A3). To quantify histori-                              specie-PCE. As PCE migrates from the source, it under-
cal concentrations of PCE degradation by-products in                             goes decay, and the decay product is TCE. TCE in turn
groundwater and in soil (vapor phase) requires a model                           undergoes decay, and the decay product can be 1,2-tDCE.
capable of simulating multiphase flow and multispe-                              1,2-tDCE is again biologically transformed into VC (Law-
cies mass transport. For PCE, this complex analysis is                           rence 2006, In press 2007). 29 Thus, to account for and to
summarized herein. 28                                                            simulate (1) parent-daughter chain reactions, (2) multi-
     The degradation of VOCs in groundwater is a                                 phase environments (water and vapor), and (3) fate and
transformation process from a parent compound (for                               transport in the unsaturated (above the water table) and
example, PCE) to degradation by-products such as TCE,                            saturated (in groundwater) zones, a multispecies, multi-
1,2-tDCE, and VC (Lawrence 2006, In press 2007).                                 phase modeling approach was required. For this purpose,
Evidence of the transformation of PCE to degradation                             the TechFlowMP model code was used to simulate the
by-products ofTCE and 1,2-tDCE can be found in water                             sequential biodegradation and transport of PCE and its
samples obtained January 16, 1985, from Tarawa Ter-                              associated daughter by-products (TCE, 1,2-tDCE, and
race water-supply wells TT-23 and TT-26. Laboratory                              VC) at Tarawa Terrace and vicinity. 30
analyses of the water samples indicated concentrations                                Using TechFlowMP, three-dimensional multispe-
of PCE, TCE, and 1,2-tDCE of 132, 5.8, and 11.0 µg/L,                            cies, and multiphase simulations were conducted to
respectively, for water-supply well TT-23 and concen-                            quantify the fate and transport of PCE and its deg-
trations of PCE, TCE, and 1,2-tDCE of 1,580, 57.0, and                           radation by-products from the source of the PCE
92.0 µg/L, respectively, for water-supply well TT-26                             contamination-ABC One-Hour Cleaners. The same
(Faye and Green In press 2007). The simulation of the                            model domain used for the MODFLOW-96 and
                                                                                 MT3DMS model simulations (Faye and Valenzuela
   27
                                                                                 In press 2007, Faye In press 2007b) was used for the
      TCE also is used in some dry-cleaning processes. However, based on
the deposition from the owner of ABC One-Hour Cleaners (Melts 2001),
                                                                                   29
only PCE was used at ABC One-Hour Cleaners. Therefore, any TCE detected               Degradation pathways are very complex processes that depend on
in Tarawa Terrace water-supply wells or in WTP finished water occurred           availability of microorganisms and environmental conditions. Details are
because of the degradation of PCE.                                               provided in Lawrence (2006 In press 2007).
   28                                                                               30
      For a detailed discussion of the analysis and simulation of PCE degrada-         TechFlowMP is a three-dimensional multispecies, multiphase mass trans-
tion by-products at Tarawa Terrace and vicinity, refer to the Chapter G report   port model developed by the Multimedia Environmental Simulations Laboratory
(Jang and Aral In press 2007).                                                   at the Georgia Institute of Technology, Atlanta, Georgia (Jang and Aral 2005).


Chapter A: Summary of Findings                                                                                                                              A41
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Analysis of Degradation By-Products - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

TechFlowMP model. Contaminants simulated using               saturated zone and in the water phase. Given the same
this more complex model formulation were PCE and             total mass of PCE loaded into each of these models,
its degradation by-products TCE, 1,2-tDCE, and VC.           the PCE concentration at water-supply well TT-26 (and
Parameter values calibrated using the MODFLOW-96             other water-supply wells) will be simulated as a lesser
and MT3DMS models (for example, water-supply well            amount in the saturated zone by the TechFlowMP model
pumping rates, infiltration [recharge] rate, porosity,       because a fraction of the mass is allocated to the unsatu-
dispersivity, and PCE biodegradation [reaction] rate)        rated zone, as well as being partitioned into the vapor
were used in the TechFlow MP model simulations               phase. Because water-supply well TT-26 was the primary
(Table All). However, owing to the more complex set          contributor of PCE contamination in finished water at
of mathematical equations approximated by this model,        the Tarawa Terrace WTP (Figure A18), the resulting
and because the contaminant source was applied to both       PCE concentrations in finished water at the Tarawa Ter-
the unsaturated and saturated zones (zones above and         race WTP computed using results from the TechFlowMP
below the water table, respectively), additional model       model also were lower (Figure A19b and Appendix A2).
parameters were determined and assigned. Examples of              Based on the TechFlowMP model simulations,
these parameters include: moisture content; partitioning     TCE, 1,2-tDCE, and VC concentrations at water-supply
coefficients for TCE, 1,2-tDCE, and VC; and aerobic          well TT-26 generally ranged from about 10 µg/L to
(unsaturated zone) and anaerobic (saturated zone)            100 µg/L (Figure A19a). Simulated concentrations of
biodegradation rates for PCE, TCE, 1,2-tDCE, and VC.         TCE, 1,2-tDCE, and VC in finished water at the Tarawa
Details on specific TechFlowMP model parameters and          Terrace WTP generally ranged from about 2 µg/L to
their calibrated values are described in the Chapter G       15 µg/L (Figure A19b and Appendix A2). Comparison
report (Jang and Aral In press 2007).                        of the simulated concentrations of PCE degradation by-
     Results obtained by conducting three-dimensional,       products in finished water at the Tarawa Terrace WTP
multispecies, and multiphase simulations are presented       indicate the following (Figure A 19b):
herein in terms of (1) graphs of time versus concentration   1. TCE was below the current MCL value of 5 µg/L 31
of PCE and its degradation by-products (Figure Al 9),           for nearly the entire historical period except during
(2) a table listing summary statistics for PCE and its          January 1984-January 1985 when it ranged between
degradation by-products (Table A13), (3) maps show-             5 and 6 µg/L;
ing the distribution of vapor-phase PCE (Figure A20),
and (4) a table listing monthly PCE and PCE degrada-         2.         1,2-tDCE was below the current MCL value of
tion by-products in finished water at the Tarawa Ter-                   100 µg/L3 1 for the entire historical period;
race WTP (Appendix A2). Figure A19 shows graphs              3. VC was at or above the current MCL value of
of simulated concentrations of PCE and its degrada-             2 µg/L 31 from May 1958 through February 1985 at
tion by-products-obtained by using the TechFlowMP               which time water-supply well TT-26 was shut down.
model-at water-supply well TT-26 and at the Tarawa
                                                                  Simulated concentration values of TCE in water-
Terrace WTP. Also shown on the graphs is the concen-
                                                             supply well TT-26 and in finished water delivered by
tration of PCE simulated using the MT3DMS single-
                                                             the Tarawa Terrace WTP are less than simulated con-
specie and single-phase model (compare Figure A18
                                                             centrations of VC and 1,2-tDCE. This is in agreement
and Figure Al 9). Simulated concentrations of PCE at
                                                             with measured data obtained from water samples in well
water-supply well TT-26 obtained using the TechFlowMP
                                                             TT-26 which shows a TCE concentration less than that
model are slightly lower in value than PCE concentra-
                                                             of 1,2-tDCE. Summary statistics of PCE and degrada-
tions obtained using the MT3DMS model (Figure A19a).
                                                             tion by-product contamination of selected water-supply
This is to be expected because the TechFlowMP simu-
                                                             wells (TT-23, TT-25, and TT-26) and at the Tarawa Ter-
lations take into account flow and transport in both
                                                             race WTP derived from simulations of the TechFlowMP
the unsaturated zone (zone above the water table) and
                                                             model (based on three-dimensional multispecies and
saturated zone (zone at and below the water table) and
                                                             multiphase simulation) are listed in Table A13.
loss of PCE into the vapor phase, whereas the MOD-
FLOW-96 and MT3DMS models consider groundwater
flow and contaminant fate and transport solely in the             31
                                                                       40 CPR, Section 141.60, Effective Dates, July 1, 2002, ed.



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- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - Analysis of Degradation By-Products

                                  a. Well TT-26
                        1,000




                                       MCL for 1,2-tDCE
                         100           -------------




                           10




                                                                                                    Well TT-26 not in operation:
                a:                                                                                    July-August 1980 and
                LU
                f-                                                                                   January-February 1983
                ::::;
                a:
                LU        0.1
                CL
                Cl)

                ~
                c:(                                                                          Notes:
                a:
                ~                                                                            1. Simulation of PCE from MT3DMS model
                0
                a:       0.01                                                                   described in the Chapter F (Faye 2007b) report
                u                                                                            2. Simulation of PCE and degradation
                ~                                                                               by-products TCE, 1,2-tDCE, and VG from
                z                                                                               TechFlowMP model described in the
                                                                                                Chapter G (Jang and Aral 2007b) report
                z
                0
                        0.001
                i==
                c:(
                a:
                f-                b. Water treatment plant (finished water)
                z
                LU
                u
                z
                0
                u
                0
                LU
                f-                     MCL for 1,2-tDCE
                c:(      100
                -'
                ::::,                                            -'"-----                           ,,,,"''      ...
                                                                                                                  -i   ..



                ~                                                           -... -,--- ... :--,-'
                Cl)




                           10            MCL for
                                       PCE and TCE
                                   --------

                                       MCL for VG




                          0.1




                         0.01




                        0.001
                                Jan          Jan          Jan     Jan          Jan         Jan            Jan               Jan    Jan       Jan
                                1950         1955         1960    1965         1970        1975           1980              1985   1990      1995


                                 Figure A19. Simulated concentration of tetrachloroethylene (PCE) and
                                 degradation by-products trichloroethylene (TCE), trans-1,2-dichloroethylene
                                 (1,2-tDCE), and vinyl chloride (VC) (a) at water-supply well TT-26 and (b) in finished
                                 water from water treatment plant, Tarawa Terrace, U.S. Marine Corps Base Camp
                                 Lejeune, North Carolina. [MCL, maximum contaminant level]



Chapter A: Summary of Findings                                                                                                                         A43
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Analysis of Degradation By-Products - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -




Table A13.   Summary statistics for simulated tetrachloroethylene and degradation by-product contamination of selected water-supply
wells and the water treatment plant based on three-dimensional multispecies and multiphase model simulation, Tarawa Terrace,
U.S. Marine Corps Base Camp Lejeune, North Carolina. 1
[MCL, maximum contaminant level; µg/L, microgram per liter; PCE, tetrachloroethylene; TCE, trichloroethylene; 1,2-tDCE, trans-1,2-dichloroethylene;
VC, vinyl chloride; Aug, August; Sept, September; Nov, November; Mar, March; Feb, February; Jan, January; WTP, water treatment plant]


                     Month and year exceeding              Maximum concentration,                Average concentration, 3           Duration exceeding MCL.
                           MCL, 2 in 11g/L                        in 11g/L                               in 11g/L                           in months
 Water
 supply                                1,2-                                  1,2-                                 1,2-                              1,2-
                    PCE      TCE
                                      tDCE
                                                vc          PCE     TCE
                                                                            tDCE
                                                                                      vc         PCE       TCE
                                                                                                                 tDCE
                                                                                                                           vc       PCE      TCE
                                                                                                                                                   tDCE
                                                                                                                                                           vc

 4
     TT-23         Aug       Sept       -   6
                                                Aug         167        7     21        13        143        7               10         8       7              8
                   1984      1984               1984

 TT-25             Mar                  -   6
                                                July         40        2       7        5        21    -    6
                                                                                                                            4        24                     20
                   1985                         1985

 5
     TT-26          Feb      Nov      June      Nov         775      33     107       60         332       15    105        24      332      299      3    335
                   1957      1959     1984      1956

 WTP                Jan      Feb        -   6
                                                May         158        7     22        12        57         6               5       332      11            311
                   1958      1984               1958
     1
         All simulations conducted using the TechFlowMP model. See text and the Chapter G report (Jang and Aral In press 2007) for details
  'Current MCLs are: PCE and TCE, 5 µg/L; 1,2-tDCE, 100 µg/L; and VC, 2 µg/L (USEPA, 2003); effective dates for MCLs are as follows:
TCE and VC, January 9, 1989; PCE and 1,2-tDCE, July 6, 1992 (40 CPR, Section 141.60, Effective Dates, July 1, 2002, ed.)
     3
         For periods exceeding MCL when water-supply well operating
  4
         Water-supply well TT-23 was not operating February 1985
     'Water-supply well TT-26 was not operating July-August 1980 and January-February 1983
     6
      MCL never exceeded during simulation




     Maps of the areal distributions of vapor-phase PCE                               1.    During December 1984:
for December 1984 and December 1994 are shown in
                                                                                            a.    the maximum simulated PCE concentration in
Figure A20. The maps depict simulated vapor-phase
                                                                                                  groundwater at family housing (model layer 1)
PCE concentrations in soil to a depth of about 10 ft.
                                                                                                  was 638 µg/L (Figure Al5b), whereas the maxi-
Concentration units for the vapor-phase PCE distribu-
                                                                                                  mum simulated vapor-phase PCE (in the top
tions shown in Figure A20 are in micrograms per liter
                                                                                                  10 ft of soil) was 20 µg/L (Figure A20a); and
of air. 32 Comparing these maps with similar maps for
dissolved-phase PCE in groundwater for model layer 1                                        b.    the maximum simulated PCE concentration in
(Figures Al Sb and Al 7b, respectively) indicates that                                            groundwater (model layer 1) at the Tarawa Ter-
vapor-phase concentrations are lower than dissolved-                                              race elementary school was 1,418 µg/L (Fig-
phase PCE concentrations by about a factor of 10-15                                               ure Al5b), whereas the maximum simulated
for December 1984 and December 1994. The following                                                vapor-phase PCE (in the top 10 ft of soil) was
examples are noteworthy.                                                                          137 µg/L (Figure A20a);

   32
      To obtain air concentration units of micrograms per cubic meter (mg/m3)
that are typically used for indoor air studies, multiply micrograms per liter by
1000 (refer to Conversion Factors in Contents section of this report.




A44                                                                Historical Reconstruction of Drinking-Water Contamination at Tarawa Terrace
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          77°22'30"                                          77°22'                   77°21 '30"




                                                                                                                    EXPLANATION
                                                                                                                 Historical water-supply area
                                                                                                           D      Tarawa Terrace
                                                                                                           D      Holcomb Boulevard

                                                                                                            - - Model boundary

                                                                                                            D ABC One-Hour Cleaners
                                                                                                           TT-26 Pumping water-supply well
                                                                                                              o    and identification
          77°22'30"                                          77°22'                   77°21 '30"
                                                                                                                 PCE vapor-phase concentration,
                                                                                                                   in micrograms per liter of air
                                                                                                                  1 to 5
                                                                                                             •    Greater than 5to 50
                                                                                                             •    Greater than 50 to 500
                                                                                                             •    Greater than 500to 1,500
                                                                                                             •    Greater than 1,500




                                         Tarawa Terrace
                                    Elementary School #1 ---------




  Base from U.S. Marine Corps and U.S. Geological Survey digital data files

  Figure A20. Simulated distribution of vapor-phase tetrachloroethylene to a depth of 10 feet below land surface,
  (a) December 1984 and (b) December 1994, Tarawa Terrace and vicinity, U.S. Marine Corps Base Camp Lejeune,
  North Carolina. [PCE, tetrachloroethylene]




Chapter A: Summary of Findings                                                                                                             A45
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Analysis of Degradation By-Products - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

2.    During December 1994:                                   different vapor exit conditions requiring adjustment of
                                                              model parameters to those specific conditions. This may
      a.   the maximum simulated PCE concentration in
                                                              seem like a limitation of the reliability of vapor-phase
           groundwater at family housing (model layer 1)
                                                              modeling results (for example, Figure A20). However,
           was 688 µg/L (Figure A17b), whereas the maxi-
                                                              the focus of the current investigation is on drinking-
           mum simulated vapor-phase PCE (in the top
                                                              water contamination and the historical reconstruction of
           10 ft of soil) was 44 µg/L (Figure A20b); and
                                                              PCE and PCE degradation by-product contamination of
      b.   the maximum simulated PCE concentration            groundwater (water phase) and drinking water at Tarawa
           in groundwater (model layer 1) at the Tarawa       Terrace. The concentration of PCE and PCE degrada-
           Terrace elementary school was 688 µg/L (Fig-       tion by-products in groundwater significantly impacts
           ure A17b), whereas the maximum simulated           the vapor-phase simulation results. Because simulated
           vapor-phase PCE (in the top 10 ft of soil) was     groundwater concentrations are based on calibrated
           56 µg/L (Figure A20b).                             groundwater-flow and contaminant fate and transport
                                                              models, the results presented for vapor-phase simula-
Due to sandy soils found at Camp Lejeune (including           tions should be viewed as reliable historical estimates
Tarawa Terrace), there is potential for vapors from these     of generalized vapor-phase conditions in soil during
plumes (for example, Figure A20) to enter buildings,          December 1984 and December 1994 at a depth of about
thereby providing a potential exposure pathway from           10 ft (Figure A20). For present-day soil-gas conditions
inhalation of PCE and PCE degradation by-product              or to obtain a more refined historical vapor-phase
vapors. At Tarawa Terrace, these buildings would              calibration for Tarawa Terrace, field studies, including
include some family housing and the elementary school.        the collection of unsaturated zone, soil gas, and indoor
     It is important to note that historical measurements     air concentration data would have to be undertaken as a
of soil vapor (soil gas) were not available. Therefore, the   separate detailed study. Details regarding the develop-
TechFlowMP model parameters related to the simulation         ment of the TechFlowMP model are provided in Jang
of vapor-phase PCE and PCE degradation by-products            and Aral (2005). Assumptions, parameter values spe-
could not be calibrated against field conditions. For         cific to three-dimensional multiphase flow and multi-
example, an assumption was made that homogeneous              species mass transport, and resulting simulations of PCE
vapor exit conditions exist at land surface throughout the    and PCE degradation by-products in groundwater and
entire Tarawa Terrace area. Realistically, housing built      vapor-phase specific to Tarawa Terrace and vicinity are
on concrete slabs, streets and parking lots paved with        provided in Jang and Aral (2007) and in the Chapter G
asphalt, bare playground areas, and lawns will each have      report (Jang and Aral In Press 2007).




A46                                            Historical Reconstruction of Drinking-Water Contamination at Tarawa Terrace
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Confidence in Simulation Results                                            Water-Supply Well Scheduling Analysis
     Models and associated calibrated parameters                                 The scheduling and operation histories of Tarawa
described previously are inherently uncertain because                       Terrace water-supply wells directly affected times and
they are based on limited data. Under such circum-                          concentrations of PCE in groundwater at wells and at
stances, good modeling practice requires that evaluations                   the WTP during 1952-1987. Thus, simulated water-
be conducted to ascertain the confidence in models by                       supply well operations could be a major cause and
assessing uncertainties associated with the modeling                        contributor to uncertainty and variability with respect
process and with the outcomes attributed to models                          to PCE arrival and PCE concentration at water-supply
(Saltelli et al. 2000). With respect to model simulations                   wells and in finished water at the Tarawa Terrace WTP.
at Tarawa Terrace, the availability of data to thoroughly                   To assess the impact of pumping schedule variability
characterize and describe model parameters and opera-                       and uncertainty on groundwater-flow, contaminant fate
tions of water-supply wells was considerably limited, as                    and transport, and WTP mixing models, a procedure
described in the section on Water-Distribution Investiga-                   was developed that combined groundwater simulation
tion. Such limitations give rise to the following questions:                models and optimization methods. This procedure is
1. Could alternative water-supply well operating                            described in detail in the Chapter H report (Wang and
   schedules or combinations of model parameter                             Aral In press 2007). The simulation tool developed
   values provide acceptable simulation results                             for this analysis-PSOpS (Table A4 )-combines the
   when compared to observed data and previously                            MODFLOW-96 and MT3DMS groundwater simulators
   established calibration targets?                                         with a rank-and-assign optimization method developed
                                                                            specifically for the Tarawa Terrace analysis. This tool
2.   What is the reliability of the historically                            optimizes pumping (operational) schedules to minimize
     reconstructed estimates of PCE concentration                           or maximize the arrival time of contaminants at water-
     determined using the calibrated models (for                            supply wells. Based on the optimized operational sched-
     example, results shown in Figure Al8)?                                 ules, the concentration of a contaminant is recalculated,
                                                                            and the effect of pumping schedule variation on con-
     To answer these questions and address the over-
                                                                            taminant concentration and the arrival time of ground-
arching issues of model and parameter variability and
                                                                            water exceeding the current MCL of PCE (5 µg/L) are
uncertainty, three analyses were conducted using the
                                                                            evaluated. It is important to note that in this analysis,
calibrated groundwater-flow and contaminant fate and
                                                                            with the exception of pumping rates, groundwater-flow
transport models described in Faye and Valenzuela
                                                                            and contaminant transport model parameters were not
(In press 2007) and Faye (In press 2007b), respectively.
                                                                            varied from their calibrated values (Table Al I; Faye and
These analyses were: (1) an assessment of pumping
                                                                            Valenzuela [In press 2007]; Faye [In press 2007b ]).
schedule variation at Tarawa Terrace water-supply
                                                                                 Results of analyses using the PSOpS simulation
wells with respect to contaminant arrival times and
                                                                            tool to assess the effects of water-supply well pumping
concentrations, 33 (2) sensitivity analysis, 34 and
                                                                            variation are presented graphically as a series of curves
(3) probabilistic analysis. 34 All of the additional analyses
                                                                            of simulated PCE concentration in finished water at the
were conducted using PCE dissolved in groundwater
                                                                            Tarawa Terrace WTP versus time (Figure A21). 35 The
as a single specie. MODFLOW-96 and MT3DMS cali-
                                                                            calibration curve in Figure A21 represents the same data
brated models are described in the Chapter C (Faye
                                                                            presented in Figure A18 and represents the simulated
and Valenzuela In press 2007) and Chapter F (Faye
                                                                            concentration of finished drinking water delivered
In press 2007b) reports.
                                                                            from the Tarawa Terrace WTP-derived from analyses
                                                                            described in the Chapter F report (Faye In press 2007b ).
   33
      A detailed description and discussion of the effect of water-supply
                                                                            Calibrated model results indicate that PCE exceeding the
well schedule variation on the arrival of PCE at water-supply wells aud
the Tarawa Terrace WTP is presented in the Chapter H report (Wang and          35
Aral In press 2007).                                                              In the following discussion, reference is made to locations shown in
                                                                            Figure A21. These locations are labeled points A-I. Thus, in the ensuing
  34
     A detailed description and discussion of sensitivity aud uncertainty   discussion for the section on "Water-Supply Well Scheduling Analysis," a
analysis, including the use of Monte Carlo simulation is presented in the   reference to a specific location on the graph, for example, point A, refers
Chapter I report (Masha et al. In press 2007b).                             solely to Figure A21.


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current MCL of 5 µg/L in finished water was delivered                          earlier than that reported for the calibrated MT3DMS
from the WTP during November 1957 (point B). By                                model. These optimized arrival times are shown as
determining an optimal combination of water-supply well                        "Earliest arrival" in Figure A21 and are defined as the
pumping in terms of on-off operations and the volumetric                       "Maximum Schedule" in the Chapter H report (Wang
pumping rate, it would have been possible for PCE at                           and Aral In press 2007). The results show an arrival date
the 5 µg/L concentration to arrive at the WTP at a date                        11 months earlier-December 1956 (point A)-than the


                                                                                  Health study

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            I-
            ::::;
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            C/)

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            a:                                                                                                    Maximum
            u         10                                                                                         contaminant
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            I-
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            LU
            u
            z
            0
            u                                              Well TT~26 simulated
            LU
            z                                              as not qperating for
            LU
            -'
            >-       0.1                                   Minimum Schedule I
            ::c                                       E                                  F
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            -'
            ::c
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            c:(
            a:      O.Dl
            I-
            LU
            I-




                           Jan      Jan        Jan         Jan          Jan       Jan          Jan       Jan        Jan        Jan
                           1950     1955       1960        1965         1970      1975         1980      1985       1990       1995



                                                                        EXPLANATION
                            - - Calibration-As described in                              o Measured at water treatment plant
                                      Chapter F (Faye 2007b)
                                                                                           Simulation time
                                                                                    Location
                                   Arrival-As described in Chapter H                          Month and year
                                                                                    on graph
                                       (Wang and Aral In press 2007),                    A       December 1956
                                     Late-Defined as Minimum Schedule I,                 B       November 1957
                                       well TT-26 not operated                           C       February 1960
                                       January 1962-February 1976                        D       June 1960
                                                                                         E       January 1962
                                     Earliest-Defined as Maximum Schedule
                                                                                         F       February 1976
                                     Late-Defined as Minimum Schedule II,                G       November 1977
                                       well TT-26 operated at least                      H       June 1984
                                       at 25 percent of capacity                                 February 1987


                            Figure A21. Sensitivity of tetrachloroethylene concentration in finished water at the
                            water treatment plant to variation in water-supply well operations, Tarawa Terrace,
                            U.S. Marine Corps Base Camp Lejeune, North Carolina. [PCE, tetrachloroethylene;
                            see text for discussion of points A-1]


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calibrated arrival date of November 1957. Also notable is                     was possible to simulate the operation of water-supply
the simulated concentration for January-February 1985                         well TT-26 in such a manner that the PCE concentra-
of 262 µg/L. This value (262 µg/L) exceeds the observed                       tion of finished water delivered from the Tarawa Terrace
value of 215 µg/L by 47 µg/L compared with the cali-                          WTP was below 5 µg/L from January 1962 (point E)
brated value of 176 µg/L (Table AlO) that underes-                            through February 1976 (point F). Under this simula-
timates the observed value by 39 µg/L. Overall, the                           tion scenario-"Minimum Schedule I"-the current
"Earliest arrival" simulation shows a higher concentra-                       MCL was exceeded during the period June 1960
tion of PCE in finished water delivered from the Tarawa                       (point D)-December 1961 and for most months during
Terrace WTP with a maximum value of 305 µg/L and                              the period November 1977-February 1987 (points G
an average (for concentrations exceeding 5 µg/L) of                           and I, respectively). 37 Under the "Minimum Schedule I"
132 µg/L. The period during which the current MCL of                          scenario, the maximum PCE concentration in finished
5 µg/L for PCE was exceeded under the "Early arrival"                         water at the Tarawa Terrace WTP was simulated as
scenario was 348 months (29 years).                                           41 µg/L during June 1984 (point H).
     The PSOpS simulation tool also was used to inves-                             In summary, analyses of the variation in water-
tigate a variety of other pumping scenarios by specifying                     supply well scheduling demonstrate that the current
limiting values for such well properties as the maximum                       MCL for PCE (5 µg/L) could have been exceeded in
or minimum pumping rate for a specific water-supply                           finished drinking water delivered from the Tarawa Ter-
well or group of wells. Two additional results are pre-                       race WTP as early as December 1956 (point A) and no
sented in Figure A21 for simulations that specify mini-                       later than June 1960 (point D). Because Tarawa Terrace
mum operating rates for water-supply well TT-26-25%                           WTP records indicate that water-supply well TT-26 was
and 0% of total capacity. 36 The results of these simula-                     most likely operated routinely, the analysis also dem-
tions show that when water-supply well TT-26 operated                         onstrates that the earliest time that finished water at the
at least at 25% of its capacity-identified as "Mini-                          Tarawa Terrace WTP exceeded the current MCL for PCE
mum Schedule II" in Figure A21 and in the Chapter H                           of 5 µg/L most likely occurred between December 1956
report-the arrival of groundwater contaminated with                           ("Earliest arrival" scenario, point A) and November 1957
PCE exceeding the current MCL (5 µg/L) was delayed                            (calibrated arrival time, point B). The most likely maxi-
by 27 months-February 1960 (point C)-when com-                                mum concentration of PCE in finished water ranged
pared with the calibrated arrival time of November 1957                       between the "Earliest arrival" scenario maximum of
(point B). A notable result occurs, however, when water-                      305 µg/L and the calibrated maximum of 183 µg/L. The
supply well TT-26 is simulated as being shut down for                         mean concentration of PCE in finished water exceeding
a period of time-identified as "Minimum Schedule I"                           the current MCL of 5 µg/L most likely ranged between
in Figure A21 and in the Chapter H report. Based on                           the "Earliest arrival" scenario mean of 131 µg/L and
simulation results, water-supply well TT-26 could have                        the calibrated mean of 70 µg/L. The analyses con-
been taken out of service in January 1962 (point E) and                       ducted using the PSOpS simulation tool provide further
kept out of service until February 1976 (point F) with                        evidence that drinking water contaminated with PCE
the remaining water-supply wells still capable of meet-                       exceeding the current MCL of 5 µg/L was delivered to
ing all of the water demand during this period for Tarawa                     residents of Tarawa Terrace for a period ranging between
Terrace and vicinity. During this time, water-supply well                     the "Earliest arrival" duration of 348 months and the
TT-26 was modeled as being off-line, and the resulting                        calibrated model duration of 346 months. This analysis
simulated concentration of PCE in finished water from                         further indicates that the concentration of PCE in fin-
the Tarawa Terrace WTP ranged from O to less than                             ished water delivered to residents of Tarawa Terrace,
2 µg/L. After February 1976 (point F), water-supply well                      determined from the contaminant fate and transport and
TT-26 had to be simulated as operating to meet increas-                       mixing model analyses (Faye In press 2007b ), are rea-
ing demand. Thus, using the PSOpS simulation tool, it                         sonable estimates of historical concentrations.

  36                                                                             37
     Using the PSOpS simulation tool, the operation of water-supply well            There were 103 months during the period November 1977-
TT-26 was simulated as being shut down for a period of time-0% capacity-      February 1987. For 14 different months during this period, the PCE
and it was allowed to operate as low as 25% of its rated capacity at times.   concentration in finished water at the Tarawa Terrace WTP was below
A complete listing of water-supply well capacity data is provided in the      the current MCI, of 5 11g/J ,, ranging in value from 2.3 to 4.9 11g/J,.
Chapter C report (Faye and Valenzuela In press 2007).


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Sensitivity Analysis                                                                 Contaminant fate and transport model parameters that
                                                                                     were subjected to the sensitivity analysis were:
     Sensitivity analysis is a method used to ascertain the
                                                                                         • distribution coefficient,
dependency of a given model output (for example, water
level or concentration) upon model input parameters                                      • bulk density,
(for example, hydraulic conductivity, pumping rate, and                                  • effective porosity,
mass loading rate). Sensitivity analysis is important for
                                                                                         • reaction rate,
checking the quality of the calibration of a given model,
as well as a powerful tool for checking the robustness                                   • mass-loading rate,
and reliability of model simulations. Thus, sensitivity                                  • longitudinal dispersivity, and
analysis provides a method for assessing relations                                       • molecular diffusion.
between information provided as input to a model-
                                                                                           Measures of the effect of varying the groundwater-
in the form of model input parameters-and information
                                                                                     flow and contaminant fate and transport model param-
produced as output from the model. Numerous methods
                                                                                     eters were quantified in terms of five computations:
are described in the literature for conducting sensitivity
                                                                                     (1) the date (month and year) when finished drinking
analysis (Saltelli et al. 2000). For the Tarawa Terrace
                                                                                     water at the Tarawa Terrace WTP first exceeded the cur-
models, selected model parameters were varied one at a
                                                                                     rent MCL for PCE (5 µg/L), (2) the duration (in months)
time from their respective calibrated values (Table Al I),
                                                                                     that finished drinking water at the WTP exceeded the
and the corresponding effect of this variation on the
                                                                                     current MCL, (3) the relative change in these durations
change in the PCE concentration of finished drinking
                                                                                     (percent) caused by varying the calibrated parameter
water at the Tarawa Terrace WTP was assessed. 38
                                                                                     values, (4) the maximum PCE concentration in finished
In conducting the sensitivity analysis, all calibrated
                                                                                     water at the Tarawa Terrace WTP, and (5) the relative
model parameters-with the exception of pumpage-
                                                                                     change (percent) in the maximum concentration. Results
were increased and decreased by factors ranging from
50% to 400% of their calibrated values (Table Al4). 39                               for selected sensitivity analyses are listed in Table A14.
                                                                                     Recall that for calibrated model parameters, the date
For example, horizontal hydraulic conductivity for
                                                                                     that the PCE in finished water at the WTP first exceeded
model layer 1 was varied by 90%, 110%, 150%, and
                                                                                     the current MCL was simulated as November 1957,
250% of its calibrated value; dispersivity was varied by
                                                                                     and the duration that finished water exceeded the MCL
50%, 200%, and 400% of its calibrated value. Ground-
                                                                                     for PCE was 346 months (Figure A18, Table Al2).
water-flow model parameters that were subjected to the
                                                                                     Results of the sensitivity analysis show that some
sensitivity analysis were:
                                                                                     parameters are insensitive to change, even when varied
      • horizontal hydraulic conductivity of the                                     by factors of 10 and 20. For example, large changes in
        aquifers (model layers 1, 3, 5, and 7),                                      specific yield, storage coefficient, and molecular diffu-
      • vertical hydraulic conductivity of the semi-                                 sion resulted in very little change in simulated results
        confining units (model layers 2, 4, and 6),                                  (Table Al4). Changes in other parameters-for example,
                                                                                     horizontal hydraulic conductivity for model layer 1 and
      • infiltration (recharge) rate, and                                            infiltration, using values that were less than calibrated
                                                                                     values-resulted in wells going dry during the simu-
      • storage coefficients (includes specific yield
                                                                                     lation process. Generally, increasing or decreasing a
        for model layer 1).
                                                                                     calibrated parameter value by 10% (ratio of varied to
                                                                                     calibrated parameter value of 0. 9-1.1) resulted in changes
                                                                                     of 6 months or less to the date that finished water first
                                                                                     exceeded the MCL for PCE (5 µg/L). Complete details
   38
      This particular approach to sensitivity analysis is referred to as one-at-a-   pertaining to the use of the sensitivity analysis in rela-
time (OAT) designs or experiments; details can be found in Saltelli et al. (2000).
                                                                                     tion to calibrated model parameter values and results
  39
     Table A14 is a list of selected parameters varied during the sensitivity
analysis. For a complete list and discussion of all parameters varied, see the
                                                                                     obtained from the sensitivity analysis are discussed in
Chapter I report (Masha et al. In press 2007b).                                      the Chapter I report (Maslia et al. In press 2007b ).



ASO                                                              Historical Reconstruction of Drinking-Water Contamination at Tarawa Terrace
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Table A14. Summary of selected sensitivity analyses conducted on calibrated groundwater-flow and contaminant fate and transport
model parameters, Tarawa Terrace and vicinity, U.S. Marine Corps Base Camp Lejeune, North Carolina. 1
[PCE, tetrachloroethylene; MCL, maximum contaminant level; µg/L, microgram per liter; ft/d, foot per day; ft 3/g, cubic foot per gram; g/ft 3, grams per cubic
foot; d- 1 , 1/day; g/d, grams per day; ft'/d, square foot per day;-, not applicable; WTP, water treatment plant]

                                                                                      Simulated PCE in finished water at the water treatment plant'
                                                   Ratio of varied
                                    Calibrated      to calibrated                                                                                    Relative change
                                                                         Date first         Duration        Relative change           Maximum
 Model parameter'                                                                                                                                      in maximum
                                      value           parameter         exceeding       exceeding MCL,        in duration,          concentration,
                                                                                                                                                      concentration,
                                                        value             MCL'             in months            percent'               in pg/L
                                                                                                                                                         percent"
                                                                  Groundwater-flow model parameters
                                                                                7              _7                       7                    7                   7
 Horizontal hydraulic conduc-       12.2-53.4              0.9             -                                       -                     -                 -
   tivity, layer 1, KH (ft/d)                              1.1          Aug. 1957             351                 1.4                    196               7.0
                                                           1.5          Oct. 1956             365                 5.5                    223              22.0
                                                           2.5          Oct. 1955             377                 9.0                    209              14.1
 Horizontal hydraulic conduc-        4.3-20.0              0.9          Oct. 1957             348                 0.6                    184               0.5
   tivity, layer 3, KH (ft/d)                              1.1          Nov. 1957             345                -0.3                    182              -0.5
                                                           1.5          Feb. 1958             341                -1.4                    179              -2.3
                                                           2.5          Jul. 1958             339                -2.0                    187               2.1
 Horizontal hydraulic conduc-        6.4-9.0               0.9          Oct. 1957             347                  0.3                   185               1.2
   tivity, layer 5, KH (ft/d)                              1.1          Nov. 1957             346                  0.0                   181              -1.0
 Horizontal hydraulic conduc-             5.0              0.9          Nov. 1957             346                  0.0                   183              -0.1
   tivity, layer 7, KH (ft/d)                              1.1          Nov. 1957             346                  0.0                   183               0.1
                                                                               _7                 7                     7                    7                   7
 Infiltration (recharge), IR         6.6-19.3              0.75                               -                    -                     -                 -
    (inches per year)                                      1.25         Dec. 1957             343                -0.9                    210              14.8
 Specific yield, S,                       0.05            10.0          Nov. 1957             342                -1.2                    182              -0.6
                                                          20.0          Nov. 1957             338                -2.3                    178              -2.6
 Storage coefficient, S              4.0x10-4             10.0          Nov. 1957             346                  0.0                   183              -0.2
                                                          20.0          Nov. 1957             346                  0.0                   182              -0.3

                                                                  Fate and transport model parameters
 Distribution coefficient, K,        5.0xl0- 6             0.5          Apr. 1956             371                 7.2                    214             16.7
   (ft3/g)                                                 0.9          Jul. 1957             352                 1.7                    191              4.2
                                                           1.5          Jun. 1959             310               -10.4                    165            -10.0
                                                           2.0          Dec. 1960             286               -17.3                    143            -21.7
 Bulk density, pb (g/ft3)             77,112               0.9          Jul. 1957             352                 1.7                    191               4.2
                                                           1.1          Mar. 1958             338                -2.3                    180              -1.8
 Effective porosity, nE                   0.2              0.5          Dec. 1956             363                 4.9                    349             90.9
                                                           2.0          Sep. 1959             301               -13.0                     86            -53.0
 Reaction rate, r (d -1)             5.0xl0--4             0.5          Oct. 1957             349                 0.9                    294             60.4
                                                           2.0          Jan. 1958             326                -5.8                     94            -48.7
 Mass-loading rate 5, q5 C5            1,200               0.5          May 1958              329                -4.9                     92            -50.0
   (g/d)                                                   1.5          Aug. 1957             351                 1.4                    275             50.0
 Longitudinal dispersivity,               25               0.5          Apr. 1958             337                -2.6                    184               0.3
   aL (foot)                                               2.0          Mar. 1957             356                 2.9                    181              -1.0
                                                           4.0          Jun. 1956             367                 6.1                    176              -3.7
 Molecular diffusion coef-           8.5x10-4              5.0          Nov. 1957             346                  0.0                   183              -0.1
   ficient, D* (ft'/d)                                    10.0          Nov. 1957             346                  0.0                   183              -0.1
                                                          20.0          Nov. 1957             346                  0.0                   182              -0.3
  1
      See the Chapter I report (Masha et al. In press 2007b) for a complete listing of parameters that were subjected to variation in the sensitivity analysis
  'Symbolic notation used to describe model parameters obtained from Chiang and Kinzelbach (2001)
  3
    For calibrated model, date finished water at WTP exceeded MCL for PCE is November 1957, duration of exceeding MCL is 346 months, and
maximum PCE concentration is 183 µg/L-see Table A12
  4
      Current MCL for PCE is 5 µg/L (USEPA, 2003); effective date for MCL is July 6, 1992 (40 CFR, Section 141.60, Effective Dates, July 1, 2002, ed.)
                                                                                                                   D.-D0
  5
      Relative change in duration (RD ) of finished water at the WTP exceeding the MCL for PCE is defined as: RD = - '- - X 100% , where D0 is the
                                      ,                                                                                     '   D
calibrated duration in months (346) and D, is the duration in months for the sensitivity analysis using a varied parameter 0
                                                                                                                                 C.-C
  6
      Relative change in concentration (Re, ) of finished water at Tarawa Terrace WTP exceeding MCL for PCE is defined as: Re, = ~ X 100% , where C0 is
the calibrated concentration in µg/L (183) and c, is the PCE concentration for the sensitivity analysis using a varied parameter                 0


  7
      Dry wells simulated for this sensitivity analysis


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Probabilistic Analysis 40                                                           Results are obtained in terms of distributed-value output
                                                                                    that can be used to assess model uncertainty and parame-
      A probabilistic analysis is used to generate uncer-
                                                                                    ter variability as part of the probabilistic analysis (Fig-
tainties in model inputs (for example, hydraulic conduc-
                                                                                    ure A22b). MCS is a computer-based (numerical) method
tivity or contaminant source mass loading rate) so that
                                                                                    of analysis that uses statistical sampling techniques to
estimates of uncertainties in model outputs (for example
                                                                                    obtain a probabilistic approximation to the solution of
water level or PCE concentration in groundwater) can be
                                                                                    a mathematical equation or model (USEPA 1997). The
made. Although the sensitivity analysis provided some
                                                                                    MCS method is used to simulate probability density
insight into the relative importance of selected model
                                                                                    functions (PDFs). PDFs are mathematical functions that
parameters, a probabilistic analysis provides quantitative
                                                                                    express the probability of a random variable (or model
insight about the range and likelihood (probability) of
                                                                                    input) falling within some interval. SGS is a process in
model outputs. Thus, one purpose of a probabilistic
                                                                                    which a field of values (such as horizontal hydraulic
analysis is to assist with understanding and characterizing                         conductivity) is obtained multiple times assuming the
variability and uncertainty of model output (Cullen and
                                                                                    spatially interpolated values follow a Gaussian (normal)
Frey 1999). A number of methods are available for con-
                                                                                    distribution. Additional details pertaining to the SGS
ducting a probabilistic analysis. These methods can be
                                                                                    methodology are provided in Deutsch and Journel (1998)
grouped as follows: (1) analytical solutions for moments,
                                                                                    and Doherty (2005).
(2) analytical solutions for distributions, (3) approxima-
                                                                                          For the groundwater-flow and contaminant fate and
tion methods for moments, and (4) numerical methods.
                                                                                    transport models (Faye and Valenzuela In press 2007,
The probabilistic analysis conducted on the Tarawa
                                                                                    Faye In press 2007b), eight parameters were assumed
Terrace models used numerical methods-Monte Carlo
                                                                                    to be uncertain and variable: (1) horizontal hydraulic
simulation (MCS) and sequential Gaussian simulation
                                                                                    conductivity, (2) recharge rate, (3) effective porosity,
(SGS)-to assess model uncertainty and parameter
                                                                                    (4) bulk density, (5) distribution coefficient, (6) disper-
variability. Readers interested in specific details about
                                                                                    sivity, (7) reaction rate, and (8) the PCE mass loading
these methods and about probabilistic analysis in general
                                                                                    rate. With the exception of dispersivity, these parameters
should refer to the following references: Cullen and Frey
                                                                                    were selected for the probabilistic analysis because the
(1999), Deutsch and Journel (1998), Doherty (2005),
                                                                                    sensitivity analysis indicated that variation from the
USEPA (1997), and Tung and Yen (2005).
                                                                                    calibrated value of the seven parameters resulted in the
      It is important to understand the conceptual dif-
                                                                                    greatest percentage change in the simulated concentra-
ference between the deterministic modeling analysis
                                                                                    tion of PCE in finished water at the Tarawa Terrace WTP
approach used to calibrate model parameter values by
                                                                                    (Table Al 4). Dispersivity was selected for the probabilis-
Faye and Valenzuela (In press 2007) and Faye (In press
                                                                                    tic analysis because it is a characteristic aquifer property
2007b) and a probabilistic analysis. As described in
                                                                                    and represents the effect of aquifer heterogeneity on the
Maslia and Aral (2004), with respect to the approach
                                                                                    spreading of a dissolved contaminant mass (Schwartz and
referred to as a deterministic modeling analysis, single-
                                                                                    Zhang 2003). Each of the aforementioned model param-
point values are specified for model input parameters
                                                                                    eters can be represented by a PDF such as a normal,
and results are obtained in terms of single-valued output,
                                                                                    lognormal, triangular, or uniform distribution (Cullen and
for example, the concentration of PCE. This approach
                                                                                    Frey 1999). In the current analysis, a normal distribution
is shown conceptually in Figure A22a. In a probabilis-
                                                                                    was chosen to represent each uncertain parameter (or
tic analysis, input parameters (all or a selected subset)
                                                                                    variant) with the exception of dispersivity. This variant
of a particular model (for example, contaminant fate
                                                                                    was represented by a lognormal distribution. Statistics
and transport) may be characterized in terms of statisti-
                                                                                    associated with the normal and lognormal distributions
cal distributions that can be generated using the MCS
                                                                                    for the variants, such as the mean, standard deviation,
method (USEPA 1997, Tung and Yen 2005) or the SGS
                                                                                    minimum, and maximum, are listed in Table A15. The
method (Deutsch and Journel 1998, Doherty 2005).
                                                                                    calibrated value associated with each variant---derived
   40
                                                                                    from model calibrations described in Chapter C
      A probabilistic analysis is defined as an analysis i_n which frequency_ (or
probability) distributions are assigned to represent variab_1hty (or uncertmnty)    (Faye and Valenzuela In press 2007) and Chapter F
in quantities. The output of a prohahilistic analysis 1s a d1stnhut10n (Cullen      reports (Faye In press 2007b )-was assigned as the
and Frey 1999).


A52                                                              Historical Reconstruction of Drinking-Water Contamination at Tarawa Terrace
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                                                                  a. Deterministic analysis
                             Single-value
                                                                                                                  Single-value output
                            parameter input
                                                                              Model
                                    V                    ►                                                z
                                                                                                          0
                                                                                                          ~       L - - --
                                    0                    ►                                                c,:
                                                                         C =f(V, 0, R, W)    I----'►- ~
                                    R                    ►                                                LU
                                                                                                          Ll
                                                                                                          z
                                                                                                          0
                                    w                    ►                                                Ll'--------'--------
                                                                                                                       OISTANCE


                                                                   b. Probabilistic analysis
                           Parameter probability                                                                 Distributed-value output
                           density function (PDF)                                                              (uncertainty and variability)

                                                                                                          >-
                                                                                                          Ll
                                                                                                          z
                                                                                                          LU
                                                                                                          ::::i
                                                                              Model                       d
                                                                                                          LU
                                                                                                          8: >---~ ---

                                                              ►          C =f(V, 0, R, W)            ►

                                                                                                   LU>-
                                                                                                   :::'. Ll
                                                                                                   ~~
                                                                                                   - ' ::::i
                                                                                                   ::id
                                                                                                   ~ LU
                                                                                                   ::::i a:
                                                                                                   Ll LL


                                                                                                                      CONCENTRATION

                     Figure A11.. Conceptual framework for (a) a deterministic analysis and (b) a probabilistic analysis
                     (from Maslia and Aral 2004).



mean value of the distribution associated with each                                      Horizontal hydraulic conductivity is a parameter
variant. Examples of PDFs generated for recharge,                                  for which field values were spatially distributed. For
mass loading rate, and dispersivity compared with the                              example, in model layers 1, 3, and 5, there were 18,
appropriate theoretical distribution are shown in Fig-                             22, and 5, respectively, spatially distributed values of
ure A23a, A23b, and A23c, respectively. Two points are                             horizontal hydraulic conductivity (Faye and Valenzu-
noteworthy: (1) for a normal distribution (Figure A23a                             ela In press 2007). Using these field values, spatially
and A23b), values for the mean, mode, and median                                   distributed values of horizontal hydraulic conductivity
are equal, whereas for a lognormal distribution (Fig-                              were generated using Shepard's inverse distance method
ure A23c ), the values for the mean, mode, and median                              to approximate values throughout the entire model
are not equal; and (2) because the mean value of recharge                          domain (Chiang and Kinzelbach 2001). This approach
varies yearly, the generated values of recharge associated                         resulted in cell by cell and layer by layer spatial varia-
with the PDF also will vary yearly, but the type of PDF                            tions of horizontal hydraulic conductivity. In this situa-
will always be the same-in this case, a normal distribu-                           tion, an alternative method, SGS, was used to estimate
tion (Figure A23a). These types of PDFs were gener-                                the distribution of horizontal hydraulic conductivity. The
ated for seven of the aforementioned variants 41 with the                          specific code using the SGS methodology, FIELDGEN
exception of horizontal hydraulic conductivity.                                    (Doherty 2005), is advantageous in this situation because
                                                                                   it allows the statistical samples or realizations to be
  41
     See the Chapter I report (Maslia et al. In press 2007b) for additional        representative of field observations. Examples of spatial
discussion on PDFs for all varied parameters.




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Table A15.      Model parameters subjected to probabilistic analysis, Tarawa Terrace and vicinity, U.S. Marine Corp Base Camp Lejeune, North Carolina. 1
[ft/d, foot per day; ft 3/g, cubic foot per gram; g/ft3, gram per cubic foot; d- 1, 1/day; g/d, grams per day; ft, foot; SGS, sequential Gaussian simulation;
MCS, Monte Carlo simulation; PDF, probability density function;-, not applicable]


                                                                     Statistical descriptions of input parameter probabilistic distributions3
 Model parameter                     Calibrated
 or variant 2                          value                                                                 Standard
                                                          Mean            Minimum        Maximum                                             Comment
                                                                                                             deviation
                                                               Groundwater-flow model parameters

 Horizontal hydraulic                 12.2-53.4         12.2-53.4                                                            SGS used to generate hydraulic
   conductivity, layer 1,                                                                                                      conductivity under a normal
   KH (ft/d)                                                                                                                   distribution4

 Horizontal hydraulic                 4.3-20.0          4.3-20.0                                                             SGS used to generate hydraulic
   conductivity, layer 3,                                                                                                      conductivity under a normal
   ¾ (ft/d)                                                                                                                    distribution

 Horizontal hydraulic                  6.4-9.0           6.4-9.0                                                             SGS used to generate hydraulic
   conductivity, layer 5,                                                                                                      conductivity under a normal
   KH (ft/d)                                                                                                                   distribution

 Infiltration (recharge), IR          6.6-19.3          6.6-19.3             4.4             21.9               2.2         MCS used to generate the PDF
    (inches per year)                                                                                                        using a normal distribution; PDF
                                                                                                                             generated for each stress period

                                                               Fate and transport model parameters

 Distribution coefficient,            5.0xl0-6           5.0xl0-6        3.53xl0-6        2.68xl0- 6         l.77xl0- 6     MCS used to generate the PDF
         3
   Kd (ft /g)                                                                                                                using a normal distribution

 Bulk density, pb (g/ft3)           77,112            77,112             69,943          79,004            1,100            MCS used to generate the PDF
                                                                                                                             using a normal distribution

 Effective porosity, nE                    0.2              0.2                0.1              0.3             0.05        MCS used to generate the PDF
                                                                                                                             using a normal distribution

 Reaction rate, r (d - 1)              5.0xlQ-4          5.0xl0-4        2.30x1Q-4        7.70x1Q-4          l.35x1Q-4       MCS used to generate the PDF
                                                                                                                               using a normal distribution

 Mass-loading rates, q8 C8            1,200            1,200                200           2,200              100             MCS used to generate the PDF
  (g/d)                                                                                                                       using a normal distribution

 Longitudinal dispersivity,              25                 3.2189             5             125                0.8047       MCS used to generate the PDF
   ~ (ft)                                                                                                                     using a log-normal distributions
  1
      See the Chapter I report (Masha et al. In press 2007b) for a complete listing of parameters that were subjected to variation in the uncertainty analysis
  'Symbolic notation used to describe model parameters obtained from Chiang and Kinzelbach (2001)
  3
      lnput values used to seed the pseudo-random number generator
  4
      The FIELDGEN model code described in Doherty (2005) was used to generate the random, spatially varying fields of hydraulic conductivity
  5
      The mean value derived from In (25); standard deviation derived from In (5)/2, where In () is the Naperian logarithm




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                a. Recharge rate                                                                              b. Mass loading rate
                                                                                                          120 ~ - ~ - ~ - - ~ - ~ - ~ - - ~ - ~ - ~ - - ~ - ~
                                                          '"-► Th eo retica l mea n fo r 1984:
                                                                   0.0028 feet pe r day
                                                                                                                                                     .- -► Theoretica l mean:
                                                                                                                                                     I       1,200 grams per day
                                                                                                          100
          40                                                                                                                                         I



                                                                                                          80

  >- 30
  u
  z
  LU
  ::::,                                                                                                   60
  0
  LU
  cc
  LL      20

                                                                                                          40



          10
                                                                                                          20




           0.0008 0.0012 0.0016      0.002   0.0024 0.0028 0.0032 0.0036         0.004    0.0044 0.0048     700      800    900   1,000    1,100   1,200   1,300   1,400   1,500   1,600   1,700
                                  RECHARGE RATE, IN FEET PER DAY                                                             MASS LOADING RATE, IN GRAMS PER DAY

                                                  STATISTICS                                                                                 STATISTICS
                                                                                  Monte Carlo                                                                              Monte Carlo
                                                           Theoretical                                                                              Theoretical
                                                                                  simulation                                                                               simulation
                  Distribution                            Normal                   Normal                         Distribution                     Normal                     Normal
                  Number of realizations                  Not applicable           500                            Number of realizations           Not applicable             500
                  Minimum                                 - Infinity                 0.001                        Minimum                          - Infinity                 200
                  Maximum                                 + Infinity                 0.005                        Maximum                          + Infinity              2,200
                  Mean                                    0.00280                    0.00280                      Mean                             1,200                    1,196.1993
                  Mode                                    0.00280                    0.00260                      Mode                             1,200                    1,256.5000
                  Median                                  0.00280                    0.00279                      Median                           1,200                    1,198.0200
                  Standard deviation                      0.00050                    0.00049                      Standard deviation                 100                      104.0659


              c. Dispersivity
          175 ~-~-~-~-~-~-~-~-~-~-~-~~

                          .. -► Theoretica l mode:
                                  13.08 feet
          150


                                   .. -► Theoretica l media n:
                                                                                                                                             STATISTICS
          125
                                   I       25 feet                                                                                                                         Monte Carlo
                                                                                                                                                   Theoretical
                                                                                                                                                                           simulation
>-                                                                                                                Distribution                     Log normal              Log normal
u
z 100
LU
                                          .. -► Theoretical mean:                                                 Number of realizations           Not applicable           500
::::,                                     I       34.56 f eet                                                     Minimum                           0                         5
0                                                                                                                 Maximum                          Infinity                 125
LU
cc        75                                                                                                      Mean                             34.56                     31.32
LL
                                                                                                                  Mode                             13.08                   Not available
                                                                                                                  Median                           25                        23.85
          50                                                                                                      Standard deviation               32.98                     23.59



          25




                     10      20      30      40      50     60      70     80      90     100    110
                                             DISPERSIVITY, IN FEET


                Figure A23. Probability density functions for (a) recharge rate, (b) mass loading rate (source concentration), and
                (c) dispersivity used to conduct probabilistic analyses. [-,minus;+, plus]



Chapter A: Summary of Findings                                                                                                                                                             ASS
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distributions of horizontal hydraulic conductivity derived                               Probabilistic analysis results of finished water for the
by using the SGS process are discussed in greater detail                            Tarawa Terrace WTP are shown as a series of histograms
in the Chapter I report (Maslia et al. In press 2007b ).                            for selected times: January 1958 (Figure A24a), Janu-
     Once the variant PDFs and the multiple spatial                                 ary 1968 (A24b), January 1979 (A24c), and January 1985
distributions of horizontal hydraulic conductivity were                             (A24d). These histograms show the probability of a range
generated as previously described, they were used by the                            of PCE-concentration values occurring during a specific
MODFLOW-2K (Harbaugh et al. 2000)42 and MT3DMS                                      month and year. For example, the probability of a PCE
groundwater-flow and contaminant fate and transport                                 concentration of about 100 µg/L occurring in finished
models, respectively, instead of single-valued input data                           water at the Tarawa Terrace WTP during January 1979
used in the deterministic approach (Figure A22a). This                              can be identified according to the following procedure:
process is shown conceptually in Figure A22b. Approxi-                              1. Locate the nearest concentration range that
mately 500 realizations or Monte Carlo simulations were                                includes the 100 µg/L PCE concentration value
conducted using a procedure developed specifically for                                 along the x-axis of the graph in Figure A24c,
the Tarawa Terrace analyses. 43 This procedure included                                (in this example, the different shaded histogram
using MODFLOW-2K, MT3DMS, and mixing models                                            bar between 96 and 105 µg/L)
previously described. Each realization randomly selected
values from PDFs of the variants derived from MCS                                   2.   Move vertically upward until intersecting the
and from the random distributions of horizontal hydrau-                                  top of the histogram bar derived from the
lic conductivity derived from the SGS. Specific details                                  Monte Carlo simulation results, and
about the procedures developed to conduct the proba-                                3.   Move horizontally to the left until intersecting
bilistic analysis using the MODFLOW-2K, MT3DMS,                                          they-axis-for Figure A24c, about 15%.
and mixing models are described in the Chapter I report
                                                                                    In this example, therefore, the value on the y-axis of
(Maslia et al. In press 2007b).
                                                                                    Figure A24c at the point of intersection-about 15%-
                                                                                    is the probability that finished water at the Tarawa
                                                                                    Terrace WTP was contaminated with a PCE concen-
                                                                                    tration of about 100 µg/L during January 1979. As a
                                                                                    comparison, the same procedure described above is
                                                                                    used to determine the probability that finished water
   42
      MODFLOW-2K is an updated version of the MODFLOW-96 model code                 was contaminated with the same concentration of PCE
developed by the U.S. Geological Survey. Because of programming require-
ments associated with conducting the MCS, it was programmatically more              (100 µg/L) during January 1985 (Figure A24d). For
efficient to use the MODFLOW-2K model code. Model parameter values for              this situation, the probability that finished water at the
MODFLOW-2K were identical and equivalent to the calibrated model param-
eter values derived using MODFLOW-96 (Table Al 1; Faye and Valenzuela               Tarawa Terrace WTP was contaminated with a PCE
In press 2007), thereby resulting in equivalent groundwater-flow simulation
results for both MODFLOW-96 and MODFLOW-2K.
                                                                                    concentration of about 100 µg/L during January 1985 is
   43
      Initially, 840 MCS realizations were conducted. However, every
                                                                                    determined to be less than 2%. In other words, for condi-
simulation did not necessarily result in a set of parameter values that yielded a   tions occurring during January 1985, a PCE concentra-
physically viable groundwater-flow or fate and transport solution. For example,
some combinations of parameter values resulted in wells drying. Therefore, out
                                                                                    tion in the range of 100 µg/L is on the lower end (or
of an initial 840 MCS realizations, 510 yielded physically viable solutions.        "tail") of the normal distribution curve (Figure A24d).




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                   a. January 1958                                                      b. January 1968

                     Mean: 4.67 µg/L                                                      Mean : 56.0 µg/L
                     St andard deviat ion: 1.42 µg/L                                      Standard deviation: 9.78 µg/ L

              20




                                                            Norm al distribution
    ;;:::-    15                                             fit to Mont e Carlo
    u
    z                                                        simulation result s
    w
    =:,
    d
    w
    a:        10
    LL
    w
    >
    ~
    -'
    w
    a:
    LL
    0
    w
    =:,

    ~
    (!)
    z
    ;:::
    ~
    ::::;          c. January 1979                                                      d. January 1985
    w         25 ,---,----,----r-----,-~---r----r----,---,-,---,----,----r-----,-~--,
    :::c
    s
    1-               Me an: 113 µg/ L                                                     Mean : 168 µg/L
    z
    w                St andard deviation: 22.6 µg/L                                       Stand ard deviation: 37 .4 µg/ L
    u
    a:        20
    w
    c..
    z                          See text for
    >-'                         discussion
    I-
    ::;
    co
    <(
    co
    0
    a:
    c..




                   ~~~~~~~~~~~~~~~~~                                                    ~~~~~~$~~~~~~$~~~~
                                                       SIMULATED PCE CONCENTRATION, IN MICROGRAMS PER LITER

                   Figure A24. Probability of occurrence of tetrachloroethylene contamination in finished water at the water
                   treatment plant derived from probabilistic analysis using Monte Carlo simulation for (a) January 1958,
                   (b)January 1968, (c)January 1979, and (d)January 1985, Tarawa Terrace, U.S. Marine Corps Base
                    Camp Lejeune, North Carolina. [PCE, tetrachloroethylene; µg/L, micrograms per liter]




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     For purposes of a health study or exposure assess-                  water with water from other water-supply wells that were
ment, epidemiologists and health scientists are interested               not contaminated or were contaminated with much lower
in obtaining information on the probability that a person                concentrations of PCE than water-supply well TT-26 (Fig-
or population was exposed to a contaminant exceeding a                   ure A18; Appendix A2). As a result, PCE concentrations
given health guideline or criteria. For example, the prob-               in finished water at the Tarawa Terrace WTP during Feb-
ability that residents of Tarawa Terrace were exposed                    ruary 1985-February 1987 (when the WTP was perma-
to drinking water contaminated with PCE exceeding an                     nently closed) were significantly reduced compared with
MCL of 5 µg/L. To address this issue, the MCS results                    January 1985 concentrations (Figure Al8; Appendix A2).
described above can be presented in the form of the com-                 Probabilistic type curves representing the complementary
plementary cumulative probability function and plotted                   cumulative probability function for selected months during
as a series of probability "type curves" (Figure A25). The               January 1985-February 1987 shown in Figure A25b also
complementary cumulative probability function describes                  confirm this observation. For example, using the pro-
the probability of exceeding a certain value or answers the              cedure described previously-for February 1985-the
question: how often is a random variable (for example, the               probability of exceeding the current MCL for PCE of
concentration of PCE in finished water) above a certain                  5 µg/L is 10% (point F in Figure A25b), compared to a
value? Using results shown in figure A25, the probability                probability of 39% during January 1958 and a probabil-
that the PCE concentration in finished water at the Tarawa               ity of greater than 99.8% during January 1985.
Terrace WTP exceeded a value of 5 µg/L during Janu-                            The probability type curves shown in Figure A25
ary 1958 is determined in the following manner:                          also can be used to ascertain uncertainty and variability
1.    Locate the probabilistic type curve for                            associated with simulated PCE concentrations in fin-
      January 1958 in Figure A25a,                                       ished water at the Tarawa Terrace WTP. For example,
                                                                         referring to points Band C in Figure A25a, during Janu-
2.    Locate the 5 µg/L PCE concentration along                          ary 1958, there is a 97.5% probability that the concen-
      the x-axis of the graph in Figure A25a,                            tration of PCE in finished water at the Tarawa Terrace
3.    Follow the vertical line until it intersects with the              WTP exceeded 2 µg/L (point B), and correspondingly, a
      January 1958 complementary cumulative probability                  2.5% probability that the concentration exceeded 8 µg/L
      function type curve (point A, Figure A25a), and                    (point C). Thus, during January 1958, 95% of MCS
                                                                         results 45 indicate that the concentration of PCE in fin-
4.    Follow the horizontal line until it intersects                     ished water at the Tarawa Terrace WTP was in the range
      the y-axis-for this example, 39%.                                  of 2-8 µg/L. Stated in terms of uncertainty and variabil-
In this case, there is a probability of 39% that the PCE                 ity, during January 1958, the uncertainty is 5% (100%
concentration in finished water at the Tarawa Terrace                    minus 95% of all MCS results), and the corresponding
WTP exceeded the current MCL of 5 µg/L during Janu-                      variability in PCE concentration in finished water at the
ary 1958. Because the MCL does not intersect with any                    Tarawa Terrace WTP is 2-8 µg/L. As a comparison, this
other type curves on the graph (Figure A25a), this can                   same analysis is conducted for January 1968 (points D
be interpreted that for other years shown in Figure A25a                 and E). For the conditions during January 1968 (the start
and until water-supply well TT-26 was removed from                       of the epidemiological case-control study), 95% of MCS
regular service during February 1985, the probability of                 results indicate that the concentration of PCE in finished
exceeding the MCL for PCE is at least 99.8%, or a                        water at the Tarawa Terrace WTP was in the range of
near certainty. 44                                                       40-80 µg/L. Stated in terms of uncertainty and variabil-
     As discussed previously, because of contaminated                    ity, during January 1968, the uncertainty is 5% (100%
groundwater, water-supply well TT-26 was removed                         minus 95% of all MCS results), and the corresponding
from regular service during February 1985 (Figure AS,                    variability in PCE concentration in finished water at the
Table A6). This caused an immediate reduction in the                     Tarawa Terrace WTP is 40-80 µg/L.
PCE concentration in finished water at the Tarawa Ter-
                                                                           45
race WTP because of the dilution of contaminated WTP                          In this example, point B (Figure A25a) represents 97.5 percentile of
                                                                         Monte Carlo simulations, and point C represents 2.5 percentile of Monte Carlo
                                                                         simulations. Thus, the range of results representing 95 percentile of Monte
  44
     Except during July and August 1980 and January and Fehruary 1983    Carlo simulations is ohtained hy suhtracting the prohahility-axis
when water-supply well TT-26 was out of service-see Figure Al 8.         value of point C from point B or 97 .5 %-2.5 % .


ASS                                                       Historical Reconstruction of Drinking-Water Contamination at Tarawa Terrace
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                         a. January for selected years, 1958-1985
                  99.9 ~ - - ~ - - - - - - - ~ ~ - - - - - ~ - - ~ - - ~ - - - ~ - - - - ~ ~ - ~
                  99.8
                  99.5
                   99
                   98

                   95

                   90
                                                                                                     Variability: 40-80 µg/L
                                                                                                     Uncertainty: 5%
                                                                                                                               l
                   80

                   70
                   60
                   50
                   40
                   30          39% probability
                             that finished water
                   20
                           exceeded cu rrent MCL
                            du ring Janua ry 1958
                   10
           1-
           z
           LU
           u
           a:
           LU
           CL
                                                                                                                           _l
           z
           LU•
           U
                   0.5
           z
           c:(
           Cl
                   0.2              y
           LU      0.1 - - - ~ - - - ~ ~ ~ ~ ~ ~ - - - - - ~ - - ~ - ~ ~ - - - ~ - ~ - - ~ - ~ ~
           LU
           u
           ><
           LU
                         b. Selected months, January 1985-February 1987
           u...   99.9 ~ - - ~ - - - - - - - ~ ~ - - - - - ~ - - ~ - - ~ - - - ~ - - - - ~ ~ - ~
           Cl     99.8
           >-
           I-
           ::;    99.5
           cc      99
           c:(
           cc      98
           Cl
           a:
           CL
                   95

                   90


                   80

                   70
                   60
                   50
                   40
                   30

                   20


                   10
                               10% probability
                             that finished water
                           exceeded cu rrent MCL
                            during February 1985

                   0.5

                   0.2
                   0.1 - - - ~ - - - ~ - ~ ~ ~ ~ - - - - - ~ - - ~ - ~ ~ - - - ~ - ~ - - ~ - - ~
                                               4    5      8   10      20    30   40   50   80 100        200     300   400 500    1,000

                                                    SIMULATED PCE CONCENTRATION, IN MICROGRAMS PER LITER

                         Figure A25. Probabilities of exceeding tetrachloroethylene concentrations in finished water at
                         the water treatment plant derived from probabilistic analysis using Monte Carlo simulation for
                         (a) selected years, 1958-1985, and (b) selected months, January 1985-February 1987, Tarawa Terrace,
                         U.S. Marine Corps Base Camp Lejeune, North Carolina (see text for discussion of points A-F).
                         [PCE, tetrachloroethylene; MCL, maximum contaminant level; µg/L, micrograms per liter;%, percent]



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Confidence in Simulation Results - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

     The probabilistic analysis conducted using MCS                                                               1. The range of PCE concentrations derived from the
was applied to the entire period of operation of the                                                                 probabilistic analysis using MCS is shown as a band
Tarawa Terrace WTP (January 1953-February 1987).                                                                     of solutions in Figure A26 and represents 95% of all
The PCE concentration in finished water determined                                                                   possible results.
using the deterministic analysis (single-value parameter
input and output; Figure A18) also can be expressed                                                              2.       The current MCL for PCE (5 µg/L) was first exceeded
and presented in terms of a range of probabilities for the                                                                in finished water during October 1957-August 1958;
entire duration of WTP operations. Figure A26 shows                                                                       these solutions include November 1957, the date
the concentration of PCE in finished water at the Tarawa                                                                  determined using the calibrated fate and transport
Terrace WTP in terms of the MCS results. Several results                                                                  model (Faye In press 2007b)-a deterministic
shown on this graph are worthy of further explanation:                                                                    modeling analysis approach.




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                                                                                                                                                                          January-February 1983
                       0.01                                                                                                                               Service terminated: February 1985




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                           Jan                 Jan                 Jan                Jan                 Jan                Jan                 Jan                Jan                 Jan                Jan
                           1950                1955                1960               1965                1970               1975                1980               1985                1990               1995


                                                                                                         EXPLANATION
                                          Mean value of concentration derived from
                                             using MT30MS model and Monte Carlo
                                                 simulation in a probabilistic analysis _ _ _
                                                                                                                          J.
                                                                                             97.5 percentile of Monte Carlo simulations

                                                                                                  Calibrated concentration using
                                          (distributed-value output, 510 realizations)-~       - MT30MS model in a deterministic
                                                                                                          / ""-T-
                                                                                                  analysis (single -value output).
                                                           Range of concentrations                First exceeded MCL November 1957.
                                                         representing 95 percent of               See Figure A 18 and Chapter F (Faye 2007b)
                                                           Monte Carlo simulations
                                                                                         2.5 percentile of Monte Carlo simulations

                               Figure A26.    Concentrations of tetrachloroethylene in finished water at the water treatment
                               plant derived from probabilistic analysis using Monte Carlo simulation, Tarawa Terrace,
                               U.S. Marine Corps Base Camp Lejeune, North Carolina. [PCE, tetrachloroethylene;
                               MCL, maximum contaminant level]


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- - - - - - - - - - - - - - - - - - - - - - - - Field Tests and Analyses of the Water-Distribution System

3.   The PCE concentration in Tarawa Terrace WTP              the mixing model results are presented herein. A detailed
     finished water during January 1985, simulated using      description and discussion of the use and application of
     the probabilistic analysis, ranges from 110-251 µg/L     water-distribution system modeling with respect to the
     (95 percent of Monte Carlo simulations). This range      Tarawa Terrace water-distribution system is provided in
     includes the maximum calibrated value of 183 µg/L        the Chapter J report (Sautner et al. In press 2007).
     (derived without considering uncertainty and varia-           Based on reviews of historical WTP operations as
     bility using MT3DMS [Faye In press 2007b]) and the       well as housing information, the authors concluded that
     maximum measured value of 215 µg/L (Table AlO).          the historical water-distribution system serving Tarawa
Therefore, these probabilistic analysis results-obtained      Terrace was nearly identical to the present-day (2004)
by using Monte Carlo simulation-provide a sense of            water-distribution system. Thus, information and data col-
confidence in the historically reconstructed PCE concen-      lected to characterize the present-day water-distribution
trations that were delivered to residents of Tarawa Ter-      system also would be useful in characterizing the histori-
race in finished water from the WTP.                          cal water-distribution system. The network of pipelines
     In summary, effects of parameter uncertainty and vari-   and storage tanks, shown in Figure A27 represents
ability have been analyzed using three approaches-water-      the present-day water-distribution systems serving the
supply well scheduling analysis, sensitivity analysis, and    Tarawa Terrace and Holcomb Boulevard areas, are nearly
probabilistic analysis. Individually and combined, these      identical to historical water-distribution systems serving
analyses demonstrate the high reliability of and confidence   these areas with the following exceptions:
in results determined using the calibrated MODFLOW-96         1. The Holcomb Boulevard WTP came online during
and MT3DMS models (for example, Figure A18),                     June 1972 (Figure A3); prior to that date, the Hol-
described in the Chapter C (Faye and Valenzuela In press         comb Boulevard area received finished water from
2007) and Chapter F (In press Faye 2007b) reports. The           the Hadnot Point WTP (Plate l);
probabilistic analysis, conducted using the combina-
                                                              2.   The Tarawa Terrace and Montford Point WTPs were
tion of MODFLOW-2K, MT3DMS, MCS, and SGS,
                                                                   closed during 1987 (Figure A3) and presently, the
provides a tool (probability type curves, Figure A25) to
                                                                   Holcomb Boulevard WTP provides finished water
address issues of parameter uncertainty and variability
                                                                   to these areas;
with respect to the concentration of PCE in finished
water delivered from the Tarawa Terrace WTP to resi-          3.   A pipeline, constructed during 1984, follows SR 24
dents of family housing at Tarawa Terrace and vicinity.            northwest from the Holcomb Boulevard WTP to
                                                                   ground storage tank STT-39 and presently is used to
Field Tests and Analyses of the                                    supply STT-39 in the Tarawa Terrace water-distribu-
                                                                   tion system with finished water (Figure A27); and
Water-Distribution System
     As discussed previously in the section on Water-         4.   A pipeline, constructed during 1986, trends east-
Distribution Investigation, the initial approach for quan-         west from the Tarawa Terrace II area to storage
tifying the concentration of PCE delivered to residences           tank SM-623 and presently is used to supply the
of Tarawa Terrace was to develop and calibrate a model             storage tank with finished water.
representation of the water-distribution system using               Two types of field tests were conducted to deter-
the public domain model EPANET 2 (Rossman 2000).              mine the hydraulic and water-quality parameter values
With this approach, street-by-street concentrations of        needed to develop and calibrate a water-distribution
PCE could be simulated and reconstructed. Although            system model for Tarawa Terrace: (1) fire-flow tests,
using this rigorous approach was replaced with a simpler      conducted during August 2004, in the Tarawa Terrace
mixing model approach, field studies were conducted           and Camp Johnson areas; and (2) a fluoride tracer test,
early in the project to gather information needed to          conducted during September and October 2004, in the
develop and calibrate a model of the Tarawa Terrace           Tarawa Terrace and Holcomb Boulevard areas. Detailed
water-distribution system. A summary of this informa-         descriptions of the test procedures and results of the
tion and comparison of PCE concentration results using        field tests are described in the Chapter J report (Sautner
the street-by-street water-distribution system model with     et al. In press 2007) and in a number of related papers.

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Confidence in Simulation Results - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -




      Base from U.S. Marine Corps and                                                                                                       2 MILES
      U.S. Geological Survey digital data files
                                                                                                                             2 KILOMETERS

                                                                    EXPLANATION

                            Present-day (2004) water-distribution                            Water pipeline-2004
                              system on Camp Lejeune
                              Military Reservation                               )(          Shut-off valve
                   D          Tarawa Terrace
                                                                              FOJ EB         Fluoride logger and number-CRWQME
                   D          Holcomb Boulevard
                   D          Hadnot Point                                                   Storage tank
                                                                                      2323
                                                                            Jt;,,.S           Elevated-Controlling
                   D        Other areas of Camp Lejeune
                              Military Reservation                          ,0,_S 83 0        Elevated-Noncontrolling

                 • • • • • Holcomb Boulevard Water                          ~SM- 623 Elevated-Intermittently controlling
                             Treatment Plant Service Area-                                       and noncontrolling depending on
                               March 1987 to present                                             demand conditions

                     ■      Holcomb Boulevard Water Treatment Plant        STT-390            Ground-Finished water




                 Figure A27.   Locations of continuous recording water-quality monitoring equipment (CRWOME; F01-F09)
                 and present-day (2004) Tarawa Terrace and Holcomb Boulevard water-distribution systems used for
                 conducting a fluoride tracer test, September 22-0ctober 12, 2004, U.S. Marine Corps Base Camp Lejeune,
                 North Carolina.




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For example, fire-flow tests are described in Sautner et                      and (2) Tarawa Terrace. 47 Therefore, the fluoride tracer
al. (2005) and Grayman et al. (2006). A fluoride tracer                       test included the collection of data at selected locations
test is described in Maslia et al. (2005) and Sautner et al.                  within the Tarawa Terrace and Holcomb Boulevard
(2005, 2007).                                                                 water-distribution systems.
      The use of a fluoride tracer test to characterize a                           The fluoride tracer test was conducted Septem-
water-distribution system is of particular importance                         ber 22-October 12, 2004. The test consisted of moni-
because results obtained from the test-the impact of                          toring fluoride dilution and re-injection (shutoff and
storage tank operation, travel times, and dilution rates                      startup of the sodium fluoride feed at the Holcomb
of constituents in the water-distribution system-assist                       Boulevard WTP). Nine locations in the Tarawa Terrace
with determining parameter values needed to calibrate                         and Holcomb Boulevard water-distribution systems
a water-distribution system model using extended                              were equipped with continuous recording water-quality
period simulation (EPS). Additionally, the movement                           monitoring equipment (CRWQME). Monitor loca-
and distribution of fluoride through the Tarawa Ter-                          tions are shown in Figure A27 and are designated as
race water-distribution system would be similar to                            F0 1-F09. A list of the monitoring locations and the
the movement and distribution of a contaminant, such                          water-distribution system location being monitored is
as PCE through the water-distribution system. Since                           provided in Table A16. Monitoring locations included
March 1987, the Holcomb Boulevard WTP has sup-                                the main transmission line from the Holcomb Boulevard
plied finished water to two water-distribution systems at                     WTP to the water-distribution system (F0l), the Tarawa
Camp Lejeune (Figure A27): (1) Holcomb Boulevard46                            Terrace finished water reservoir (F02), two control-
                                                                              ling elevated storage tanks (Paradise Point [S2323] and
                                                                                 47
  46
     The Holcomb Boulevard WTP provides finished water to the following             Based on present-day operations (2004 ), the Tarawa Terrace water-distri-
areas within the Holcomb Boulevard water-distribution system: Berkeley        bution system includes the following areas: Tarawa Terrace housing areas I and
Manor, Watkins Village, Paradise Point, and Midway Park (Figure A27).         II, Camp Knox Trailer Park, Camp Johnson, and Montford Point (Figure A27).



Table A16.    Description of locations equipped with continuous recording water-quality monitoring equipment used to conduct a
fluoride tracer test of the Tarawa Terrace and Holcomb Boulevard water-distribution systems, September 22-October 12, 2004,
U.S. Marine Corps Base Camp Lejeune, North Carolina.

                          Location of continuous recording
  Monitoring station     water-quality monitoring equipment2        Water-distribution system                    Description of hydraulic
   identification 1                                                     location or area                         device being monitored
                                North               East

        F0l                  356478.25          2498392.43            Holcomb Boulevard                Water treatment plant, main transmission
                                                                                                        line, fluoride source
        F02                  362057.78          2490580.75            Tarawa Terrace                   Ground storage tank, source for Tarawa
                                                                                                         Terrace water-distribution system
        F03                  344823.33          2491037.83            Holcomb Boulevard                Distribution system hydrant
        F04                  351648.84          2495750.35            Holcomb Boulevard,               Distribution system hydrant and elevated
                                                                        Berkeley Manor                   storage tank
        F05                  362270.35          2488417.94            Tarawa Terrace,                  Distribution system hydrant
                                                                        housing area II
        F06                  357638.42          2501665.36            Holcomb Boulevard,               Distribution system hydrant
                                                                        Midway Park
        F07                  361760.20          2486365.30            Tarawa Terrace,                  Distribution system hydrant and elevated
                                                                        housing area II                  storage tank
        F08                  353489.91          2484738.57            Holcomb Boulevard,               Controlling elevated storage tank
                                                                        Paradise Point
        F09                  362945.52          2479935.36            Tarawa Terrace,                  Controlling elevated storage tank
                                                                        Camp Johnson
  1
   See Figure A27 for station locations
  'Coordinates are in North Carolina State Plane coordinate system, North American Datum 1983, National Geodetic Vertical Datum of 1929


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Field Tests and Analyses of the Water-Distribution System - - - - - - - - - - - - - - - - - - - - - - - -

Camp Johnson [SM623]-F08 and F09, respectively),                                           manner. Finished water is supplied to the respective
and five hydrants located throughout housing areas (F03,                                   water-distribution system from the elevated controlling
F04, F05, F06, and F07). The fluoride at the Holcomb                                       storage tank in response to system demand. When the
Boulevard WTP was shut off at 1600 hours on Septem-                                        water level in the controlling tank falls below a pre-set
ber 22. A background concentration of about 0.2 mil-                                       water-level mark, pumps turn on and fill the tank with
ligram per liter (mg/L) in the water-distribution system                                   finished water from a ground storage tank. When the
was reached by September 28. At 1200 hours on Septem-                                      water level in the controlling tank reaches a pre-set high
ber 29, the fluoride was turned back on at the Holcomb                                     water-level mark, the pumps are turned off. The water
Boulevard WTP, and the test continued until loggers were                                   level in the tank then begins to drop based on demand
removed and data downloaded on October 12. In addition                                     until, once again, the water level reaches the pre-set low
to CRWQME, grab samples were collected and analyzed                                        water level. The fill and drain process is then repeated.
for quality-assurance and quality-control purposes.                                        An example of water-level data collected by the Camp
Nine rounds of water samples were collected at each                                        Lejeune supervisory control and data acquisition
monitoring location during the test. For each round, the                                   (SCADA) system for controlling storage tank STT-40
Holcomb Boulevard WTP water-quality lab analyzed                                           (Tarawa Terrace elevated, Figure A27) is shown in Fig-
25 milliliters (mL) of the sampled water, and the Federal                                  ure A28. Two other elevated storage tanks are noncon-
Occupational Health (FOH) laboratory, located in Chi-                                      trolling tanks. These elevated storage tanks show little
cago, Illinois, analyzed the remaining 225 mL of water.                                    water-level fluctuation because they are not exercised
     Storage tanks in the Tarawa Terrace and Holcomb                                       very often-they are primarily used for fire protection.
Boulevard water-distribution systems are categorized                                       The elevated storage tanks are S830 (Berkeley Manor)
as either controlling or noncontrolling. Controlling                                       and LCH-4004 (Midway Park), both serving the Hol-
elevated storage tanks are operated in the following                                       comb Boulevard water-distribution system (Figure A27).




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                                             SEPTEMBER 2004                                                OCTOBER 2004

                         Figure A28. Measured water-level data from the Camp Lejeune SCADA system for controlling elevated
                         storage tank STT-40, September 22-October 12, 2004, U.S. Marine Corps Base Camp Lejeune, North Carolina.
                         [SCADA, supervisory control and data acquisition]




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     Using results from the fluoride tracer test described                                           and calibrated demand factors is shown in Figure A29. 49
previously and the fire-flow test of August 2004, an                                                 Flow data were measured using a venturi meter located
all-pipes EPS model of the Tarawa Terrace water-                                                     in the Tarawa Terrace pump house (building adjacent
distribution system was calibrated. To simplify                                                      to STT-39 in Figure A27). 5°Calibrated demand factors
and reduce the computational requirements, a skel-                                                   are in reasonable agreement with measured flow data.
etonized version of an all-pipes representation of the                                               Details of the calibration procedure and calibration sta-
water-distribution system was used for all subsequent                                                tistics are provided in the Chapter J report (Sautner et al.
EPANET 2 simulations. 48 A 24-hour diurnal pattern                                                   In press 2007).
based on measured flow data (delivered finished water)

                                                                                                       49
                                                                                                          Data for measured delivered flow were previously presented and dis-
                                                                                                     cussed in the section on Relation of Contamination to Water Supply,
  48                                                                                                 Production, and Distribution (Figure A8).
     Skeletonization is the reduction or aggregation of a water-distribution
system network so that only the major hydraulic characteristics need be repre-                          so A venturi meter is a device used to measure the flow rate or velocity of
sented by a model. Skeletonization often is used to reduce the computational                         a fluid through a pipe. A photograph of the Tarawa Terrace pump house is
requirements of modeling an all-pipes network.                                                       shown on the front cover of this report.




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                                 EPANET 2 (Rossman 2000)                                                                                                                                 z
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                                 using 2-minute data (R. Cheng,
                                 Camp Lejeune Environmental
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                          Figure A29. Calibrated and measured diurnal pattern (24 hours) of delivered finished water during
                          field test, September 22-October 12, 2004, Tarawa Terrace water-distribution system, U.S. Marine
                          Corps Base Camp Lejeune, North Carolina. [Flow data measured at venturi meter located in building
                          STT-39A (Tarawa Terrace pump house)]




Chapter A: Summary of Findings                                                                                                                                                                   A65
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Field Tests and Analyses of the Water-Distribution System - - - - - - - - - - - - - - - - - - - - - - - -

     Simulated fluoride concentrations are compared with                                   for the Tarawa Terrace water-distribution system. Results
measured field data concentrations obtained from the                                       shown in Figure A30 along with calibration statistics
CRWQME and with the grab sample measurements for                                           presented in the Chapter J report (Sautner et al. In press
the Tarawa Terrace water-distribution system at locations                                  2007) provide evidence that the EPS model of the Tarawa
F02, F05, F07, and F09 (Figure A27). These compari-                                        Terrace water-distribution system is reasonably calibrated
sons are shown in the graphs of Figure A30. Note that                                      and adequately characterizes the present-day (2004)
monitoring location F02 is used as the source of fluoride                                  Tarawa Terrace water-distribution system.

              a. Logger F02                                                                   b. Logger F05
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                 SEPTEMBER 2004                       OCTOBER 2004                               SEPTEMBER 2004                       OCTOBER 2004


                                                                                EXPLANATION
                                   Fluoride concentration,                 Notes: CRWQME = Continuous recording water-quality
                                    in milligrams per liter                                monitoring equipment
                                             Measured                              CL Lab=     Holcomb Boulevard Water Treatment Plant
                                                 CRWQME                                        onsite lab analysis, Camp Lejeune, North Carolina
                                                 CL Lab                                        25 milliliter sample
                                      □          FOH Lab                           FOH Lab= Federal Occupational Health Lab, Chicago, Illinois
                                   - - Simulated                                            225 milliliter sample


              Figure AJO. Measured and simulated fluoride concentrations at four monitoring locations (a) F02, (b) F05, (c) F07, and
              (d) F09 in the Tarawa Terrace water-distribution system, September 22-October 12, 2004, U.S. Marine Corps Base Camp Lejeune,
              North Carolina. (See Figure A27 for monitoring locations and Table A16 for description of hydraulic device being monitored.)


A66                                                                   Historical Reconstruction of Drinking-Water Contamination at Tarawa Terrace
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     Using the calibrated EPS model of the Tarawa          Summary and Conclusions
Terrace water-distribution system, conditions represent-
ing December 1984 were simulated. This was a period              Two of the three drinking-water systems that
of high water production and usage. The duration of        served family housing at U.S. Marine Corps Base Camp
the simulation was 744 hours (31 days). The purpose        Lejeune were contaminated with VOCs. Groundwater
of the simulation was to test the concept that a mixing    was the sole source of drinking-water supply. One
model, based on the principles of continuity and con-      system, the Tarawa Terrace drinking-water system, was
servation of mass (Equations 2 and 3), could be used to    mostly contaminated with PCE when water-supply wells
estimate the street-by-street concentrations of a con-     were contaminated by off-base dry-cleaning operations
taminant derived using a sophisticated numerical model     at ABC One-Hour Cleaners (Shiver 1985). The other
of the water-distribution system, such as EPANET 2.        system, the Hadnot Point drinking-water system, was
The mixing model represents a condition of complete        contaminated mostly with TCE from on-base indus-
mixing and stationary water-quality dynamics in a          trial operations. The contaminated wells were continu-
water-distribution system like Tarawa Terrace where        ously used until 1985 and sporadically used until early
all source water (groundwater) is mixed at the treatment   1987. ATSDR's health study will try to determine if
plant. Using the calibrated water-distribution system      an association exists between in utero and infant (up
model, for a simulation period of 7 44 hours (31 days)-    to 1 year of age) exposures to drinking-water contami-
representing December 1984-and an initial source           nants and specific birth defects and childhood cancers.
concentration of 173 µg/L at the Tarawa Terrace WTP        The study includes births occurring during 1968-1985
(Figure A18, Appendix A2), the following results           to mothers who lived in base family housing during
were obtained:                                             their pregnancies. Historical exposure data needed for
                                                           the epidemiological case-control study are limited. To
    • 100% of the concentration of PCE in finished
                                                           obtain estimates of historical exposure, ATSDR is using
      water at the Tarawa Terrace WTP (173 µg/L)
                                                           water-modeling techniques and the process of histori-
      reached locations F05 and F07 (Figure A27),
                                                           cal reconstruction. These methods are used to quantify
      located in the Tarawa Terrace housing area
                                                           concentrations of particular contaminants in finished
      within 2 days,
                                                           water and to compute the level and duration of human
    • 100% of the concentration of PCE in finished         exposure to contaminated drinking water. The analyses
      water at the Tarawa Terrace WTP (173 µg/L)           and results presented and discussed in this Summary of
      reached the Camp Johnson elevated storage            Findings, and in reports described herein, refer solely to
      tank within 3 days, and                              Tarawa Terrace and vicinity. Future analyses and reports
                                                           will present information and data about contamination of
    • 100% of the simulated concentration of PCE           the Hadnot Point water-distribution system.
      in finished water at the Tarawa Terrace WTP                Based on information, data, and simulation results,
      (173 µg/L) reached the Montford Point area           the onset of pumping at Tarawa Terrace is estimated
      (farthest point from the Tarawa Terrace WTP)         to have begun during 1952. Water-supply well TT-26,
      within 7 days.                                       located about 900 ft southeast of ABC One-Hour Clean-
These results demonstrate that on a monthly basis,         ers, probably began operations during 1952 (Figure Al,
the concentration of PCE at residential housing areas      Table A6). Additionally, the first occurrence of PCE con-
throughout Tarawa Terrace would be nearly the same as      tamination at a Tarawa Terrace water-supply well prob-
the concentration of PCE in finished water at the Tarawa   ably occurred at well TT-26, following the onset of dry-
Terrace WTP. Therefore, using a mixing model based on      cleaning operations during 1953 (Faye In press 2007b).
the principles of continuity and conservation of mass is         Detailed analyses of PCE concentrations in ground-
appropriate for determining the concentration of PCE in    water monitor wells, hydrocone sample locations,
finished water delivered from the Tarawa Terrace WTP.      and at Tarawa Terrace water-supply wells during the




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Summary and Conclusions - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

period 1991-1993 were sufficient to estimate the mass          continuity and conservation of mass (Masters 1998)
of PCE remaining in the Tarawa Terrace and Upper               and is used to compute the flow-weighted average
Castle Hayne aquifers. Similar methods were applied            concentration of PCE. Finished water contaminated
to compute the mass of PCE in the unsaturated zone             with PCE exceeded the current MCL of 5 µg/L dur-
(zone above the water table) at and in the vicinity of         ing November 1957. Based on mixing model results,
ABC One-Hour Cleaners using concentration-depth                finished water exceeded the MCL for 346 months
data determined from soil borings. The total mass of           (29 years)-November 1957-February 1987 (Fig-
PCE computed in groundwater and within the unsatu-             ure A18, Table Al2). 51 The maximum simulated PCE
rated zone equals about 6,000 pounds and equates to a          concentration in finished water was 183 µg/L occurring
volume of about 430 gallons. This volume represents an         during March 1984. The maximum observed PCE con-
average minimum loss rate of PCE to the subsurface at          centration was 215 µg/L measured on February 11, 1985
ABC One-Hour Cleaners of about 13 gallons per year             (Table AlO). The average simulated PCE concentration
(78,737 grams per year) for the period 1953-1985.              for the period exceeding the current MCL of 5 µg/L-
Pankow and Cherry (1996) indicate that computations            November 1957-February 1987-was 70 µg/L.
of contaminant mass similar to those summarized here                 The calibrated fate and transport model simulated
represent only a small fraction of the total contaminant       PCE as a single-specie contaminant dissolved in ground-
mass in the subsurface.                                        water. However, evidence of the transformation of PCE
     Calibration of the Tarawa Terrace models was              to degradation by-products of TCE and 1,2-tDCE was
accomplished in a hierarchical approach consisting of          found in water samples obtained from Tarawa Ter-
four successive stages or levels (Figure A9). Simulation       race water-supply wells TT-23 and TT-26. Thus, the
results achieved for each calibration level were iteratively   simulation of PCE and its degradation by-products was
adjusted and compared to simulation results of previous        necessary. For this simulation, a model code identi-
levels until results at all levels satisfactorily conformed    fied as TechFlowMP, developed by the Multimedia
to pre-selected calibration targets (Table A8). In hierar-     Environmental Simulations Laboratory (MESL) at the
chical order, calibration levels consisted of the simula-      Georgia Institute of Technology, was used. TechFlowMP
tion of (1) predevelopment groundwater-flow conditions         simulates three-dimensional multiphase, multispecies
(Figure AlOa), (2) transient or pumping groundwater-           mass transport of PCE and its associated degradation
flow conditions (Figure AlOb), (3) the fate and transport      by-products TCE, 1,2-tDCE, and VC in the unsaturated
of PCE from the source at ABC One-Hour Cleaners                and saturated zones at Tarawa Terrace and vicinity (that
(Figure Al I), and (4) the concentration of PCE in fin-        is, the sequential biodegradation and transport of PCE).
ished water at the Tarawa Terrace WTP (Figure Al2).            Simulation results for finished water at the Tarawa Ter-
     Based on calibrated model simulations, water-             race WTP (Figure A19b), contaminated with PCE degra-
supply well TT-26 had the highest concentration of PCE-        dation by-products TCE, 1,2-tDCE, and VC, show that:
contaminated groundwater and the longest duration of           (1) TCE was below the current MCL value of 5 µg/L for
PCE-contaminated groundwater with respect to any other         nearly the entire historical period except during Janu-
Tarawa Terrace water-supply well (Figure A18). The             ary 1984-January 1985 when it ranged between 5 and
simulated PCE concentration in water-supply well TT-26         6 µg/L; (2) 1,2-tDCE was below the current MCL value
exceeded the current MCL of 5 µg/L during January 1957         of 100 µg/L for the entire historical period; and (3) VC
(simulated value 5.2 µg/L) and reached a maximum sim-          was at or above the current MCL value of 2 µg/L from
ulated value of 851 µg/L during July 1984 (Table Al2).         May 1958 through February 1985 when water-supply
The mean simulated PCE concentration during the period         well TT-26 was shut down. As part of the degradation
exceeding the current MCL of 5 µg/L-January 1957-              by-product simulation using the TechFlowMP model,
January 1985-was 414 µg/L, a duration of 333 months.           results also were obtained for VOCs in the vapor phase
     The monthly concentrations of PCE assigned to             (above the water table in the unsaturated zone). Analyses
finished water at the Tarawa Terrace WTP were deter-           of the distribution of vapor-phase PCE indicate there is
mined using a materials mass balance model (simple
                                                                 51
                                                                    This period does not include the months of July-August 1980 and
mixing). The model is based on the principles of               January-February 1983, when water-supply well TT-26 was not operating.




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potential for vapors from these plumes to enter buildings           A probabilistic analysis approach was used to inves-
at Tarawa Terrace I, thereby providing a potential expo-      tigate model uncertainty and parameter variability using
sure pathway for inhalation of PCE vapor. At Tarawa           MCS and SGS. For the groundwater-flow and contami-
Terrace I these buildings would include family housing        nant fate and transport models (Faye and Valenzuela In
and the elementary school (Figure A20).                       press 2007, Faye In press 2007b), eight parameters were
     To address issues of model uncertainty and param-        assumed to be uncertain and variable: (1) horizontal
eter variability, three types of analyses were conducted:     hydraulic conductivity, (2) recharge rate, (3) effective
(1) water-supply well scheduling analysis, (2) sensitiv-      porosity, (4) bulk density, (5) distribution coefficient,
ity analysis, and (3) probabilistic analysis. All of the      (6) dispersivity, (7) reaction rate, and (8) the PCE mass
additional analyses were conducted using PCE as a             loading rate. With the exception of horizontal hydraulic
single-specie contaminant dissolved in groundwater-           conductivity, PDFs were generated for the remaining
the calibrated models described in Chapter C (Faye and        seven parameters of variation using Gaussian pseudo-
Valenzuela In press 2007) and Chapter F (Faye In press        random number generators. Horizontal hydraulic con-
2007b) reports. The simulation tool, PSOpS, was used          ductivity is a parameter for which there were spatially
to investigate the effects of unknown and uncertain           distributed field values. Therefore, an alternative method,
historical well operations and analyses of the variation      SGS, was used to estimate the distribution of horizontal
in water-supply well scheduling. PSOpS simulations            hydraulic conductivity for model layers 1, 3, and 5. The
demonstrate that the current MCL for PCE (5 µg/L)             probabilistic analyses indicated that 95% of Monte Carlo
would have been exceeded in finished drinking water           simulations show the current MCL for PCE (5 µg/L) was
from the Tarawa Terrace WTP as early as Decem-                first exceeded in finished water during October 1957-
ber 1956 and no later than June 1960 (points A and D,         August 1958 (Figure A26); these solutions include
respectively, in Figure A21).                                 November 1957, the date determined from the calibrated
     Sensitivity analyses were conducted using Tarawa         contaminant fate and transport model (Faye In press
Terrace models. Selected model parameters were varied         2007b) that was based on a deterministic (single-value
one at a time from their respective calibrated values         parameter input and output) approach. The PCE concen-
(Table Al I). The effect of this variation on the change in   tration in Tarawa Terrace WTP finished water during
the PCE concentration of finished drinking water at the       January 1985, simulated using the probabilistic analysis,
Tarawa Terrace WTP was assessed. Four groundwater-            ranges from 110 to 251 µg/L (95 percent of Monte
flow and seven fate and transport model parameters were       Carlo simulations). This range includes the maximum
varied. Results of the sensitivity analyses showed that       calibrated value of 183 µg/L (derived without consider-
some parameters-specific yield, storage coefficient,          ing uncertainty and variability using MT3DMS) and the
and molecular diffusion-were insensitive to change,           maximum measured value of 215 µg/L.
even when varied by factors of 10 and 20 (Table Al4).               As part of this investigation, field tests were
Other parameters, for example, horizontal hydraulic           conducted on the present-day (2004) water-distribution
conductivity for model layer 1 and infiltration (ground-      system serving Tarawa Terrace. Data gathered from the
water recharge), were extremely sensitive to values           investigation were used to construct a model of the water-
less than the calibrated values. Reducing the calibrated      distribution system using the EPANET 2 model code.
values for these parameters resulted in wells drying up       Based on reviews of historical maps and information,
during the simulation process. Generally, increasing or       the present-day (2004) water-distribution system is very
decreasing a calibrated parameter value by 10% (ratio of      similar to the historical water-distribution system. Thus,
varied to calibrated parameter value of 0. 9-1.1) resulted    the operational and water-delivery patterns determined
in changes of 6 months or less in terms of the date that      for the present-day (2004) water-distribution system from
finished drinking water first exceeded the current MCL        field investigations (Sautner et al. 2005, In press 2007)
of 5 µg/L for PCE. Results of parameter variations were       were used to characterize the historical water-distribution
used, in part, to assist in selecting parameters considered   system. Using a calibrated water-distribution system
for a probabilistic analysis.                                 model and an initial source concentration of 173 µg/L




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Availability of Input Data Files, Models, and Simulation Results - - - - - - - - - - - - - - - - - - - - -

at the Tarawa Terrace WTP (Figure A18), an extended         3.   Simulation of PCE degradation by-products-TCE,
period simulation of 744 hours (31 days), representing           trans-1,2-dichloroethylene (1,2-tDCE), and vinyl
December 1984, indicates:                                        chloride-indicated that maximum concentrations
                                                                 of the degradation by-products generally were in the
      • 100% of the concentration of PCE in finished
                                                                 range of 10-100 µg/L at water-supply well TT-26;
        water at the Tarawa Terrace WTP (173 µg/L)
                                                                 measured concentrations of TCE and 1,2-tDCE on
        reached locations F05 and F07 (Figure A27),
                                                                 January 16, 1985, were 57 and 92 µg/L, respectively.
        located in the Tarawa Terrace housing area
        within 2 days,                                      4.   Maximum concentrations of the degradation by-
      • 100% of the concentration of PCE in finished             products in finished water at the Tarawa Terrace
        water at the Tarawa Terrace WTP (173 µg/L)               WTP generally were in the range of 2-15 µg/L;
        reached the Camp Johnson elevated storage tank           measured concentrations of TCE and 1,2-tDCE on
        within 3 days, and                                       February 11, 1985, were 8 and 12 µg/L, respectively.
      • 100% of the simulated concentration of PCE          5.   PCE concentrations in finished water at the
        in finished water at the Tarawa Terrace WTP              Tarawa Terrace WTP exceeding the current MCL
        (173 µg/L) reached the Montford Point area               of 5 µg/L could have been delivered as early as
        (farthest point from the Tarawa Terrace WTP)             December 1956 and no later then December 1960.
        within 7 days.                                           Based on probabilistic analyses, the most likely
These results confirm the assumption that on a monthly           dates that finished water first exceeded the current
basis, the concentration of PCE at residential housing           MCL ranged from October 1957 to August 1958
areas throughout Tarawa Terrace would be the same as             (95 percent probability), with an average first
the concentration of PCE in finished water at the Tarawa         exceedance date of November 1957.
Terrace WTP. Therefore, using a mixing model based
                                                            6.   Exposure to PCE and PCE degradation by-products
on the principles of continuity and conservation of mass
                                                                 from contaminated drinking water ceased after
(Equations 2 and 3, respectively) was appropriate for
                                                                 February 1987; the Tarawa Terrace WTP was
reconstructing the historical concentrations of PCE in
                                                                 closed March 1987.
finished water delivered from the Tarawa Terrace WTP.
     In summary, based on field data, modeling results,
and the historical reconstruction process, the following
conclusions are made with respect to drinking-water         Availability of Input Data Files, Models,
contamination at Tarawa Terrace:                            and Simulation Results
1. Simulated PCE concentrations exceeded the                     Calibrated model input data files developed for
   current MCL of 5 µg/L at water-supply well TT-26         simulating predevelopment groundwater flow, transient
   for 333 months-January 1957-January 1985;                ground-water flow, the fate and transport of PCE as a
   the maximum simulated PCE concentration was              single specie, and the distribution of water and contami-
   851 µg/L; the maximum measured PCE concen-               nants in a water-distribution system are provided with
   tration was 1,580 µg/L during January 1985.              this report in a DVD format. Public domain model codes
2.    Simulated PCE concentrations exceeded the current     used with these input files are available on the Internet at
      MCL of 5 µg/L in finished water at the Tarawa Ter-    the following Web sites:
      race WTP for 346 months-November 1957-Febru-               • Predevelopment and transient groundwater flow
      ary 1987; the maximum simulated PCE concentra-
                                                                   o Model code: MODFLOW-96
      tion in finished water was 183 µg/L; the maximum
      measured PCE concentration in finished water was             o Web site: http://water.usgs.gov/nrp/
      215 µg/L during February 1985.                                 gwsoftware/modflow. html




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    • Fate and transport of PCE as a single specie             Acknowledgments
       o Model code: MT3DMS
                                                                     A study of this complexity and magnitude is depen-
       o Web site: http://hydro.geo.ua.edu/                    dent upon the assistance, input, and suggestions of many
                                                               colleagues. Thus, the authors of this report and all chapter
    • Distribution of water and contaminants in a              reports acknowledge the managers and staff of the U.S.
      water-distribution system                                Geological Survey Water Science Centers in Raleigh,
       o Model code: EPANET 2
                                                               North Carolina, and Atlanta, Georgia. In particular, the
                                                               contributions of Melinda J. Chapman, Douglas A. Harned,
       o Web site: http://www.epa.gov/nrmrl/wswrdl             and Stephen S. Howe are acknowledged for providing the
         epanet. html                                          majority of well, water-level, and pumpage data used in this
      Specialized model codes and model input data             study. Keith W. McFadden is acknowledged for assistance
files were developed specifically for the Tarawa Terrace       with spatial analyses in preparing illustrations and with
                                                               developing geodatabases, Web-based applications, and
analyses by the MESL at the School of Civil and Envi-
                                                               the querying system contained on the electronic media
ronmental Engineering, Georgia Institute of Technology.
                                                               accompanying Chapters A and K. Gregory C. Mayer and
These specialized codes and input data files were devel-       Edward H. Martin also are acknowledged for their adminis-
oped for simulating three-dimensional multispecies,            trative assistance.
multiphase, mass transport (TechFlowMP) and pump-                    The authors acknowledge the staff of the Environmen-
ing schedule optimization (PSOpS) and are described            tal Management Division, U.S. Marine Corps Base Camp
in detail in the Chapter G (Jang and Aral In press 2007)       Lejeune, North Carolina. In particular, Scott A. Brewer,
and Chapter H (Wang and Aral In press 2007) reports,           Brynn Ashton, Scott R. Williams, and Rick Cheng for
respectively. Contact information and questions related        their assistance and cooperation during the course of this
to these codes are provided on the Internet at the MESL        study, especially for providing a large number of technical
Web site at: http://mesl.ce.gatech.edu.                        reports, maps, and historical documents, which summarize
      Also included on the DVDs accompanying this              the results of groundwater remedial investigations at and in
report is a file that contains results for monthly simulated   the vicinity of Tarawa Terrace. The authors also acknowl-
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concentrations of PCE and PCE degradation by-products
                                                               Public Works Department Utility Section.
(TCE, 1,2-tDCE, and VC) in finished water at the
                                                                     The authors acknowledge the contributions of the
Tarawa Terrace WTP for January 1951-March 1987.                USEPA, Region IV, Atlanta, Georgia, for providing reports
This file (also provided in Appendix A2) is prepared           and documents summarizing the results of investigations of
in Adobe® Portable Document Format (PDF).                      groundwater contamination in the vicinity of ABC One-
      Readers desiring information about the model input       Hour Cleaners and in the northern part of Tarawa Terrace.
data files or the simulation results contained on the DVDs           The authors acknowledge colleagues at ATSDR, Eastern
also may contact the Project Officer of ATSDR's Exposure-      Research Group, Inc., the Multimedia Environmental Simu-
Dose Reconstruction Project at the following address:          lations Laboratory at the Georgia Institute of Technology,
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    Atlanta, Georgia 30333                                     instrumentation, and conducting tests of water-distribution
    Telephone: (404) 498-0415                                  systems serving Camp Lejeune, August 18-28, 2004.
    Fax: (404) 498-0069                                              Caryl J. Wipperfurth, Bonnie J. Turcott, Patricia L.
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Appendix A1. Summaries of Tarawa Terrace Chapter Reports



     Summaries of Tarawa Terrace chapter reports are               Chapter B: Geohydrologic Framework of the
described below. Electronic versions of each chapter         Castle Hayne Aquifer System (Faye In press 2007a)
report and their supporting information and data will be     provides detailed analyses of well and geohydrologic
made available on the ATSDR Camp Lejeune Web site at         data used to develop the geohydrologic framework of
http://www.atsdr.cdc.gov/sites/lejeunelindex.html.           the Castle Hayne aquifer system at Tarawa Terrace and
                                                             vicinity. Potentiometric levels, horizontal hydraulic con-
     Chapter A: Summary of Findings (Maslia et               ductivity, and the geohydrologic framework of the Castle
al. 2007-this report) provides a summary of detailed         Hayne aquifer system east of the New River are described
technical findings (described in Chapters B-K) focusing      and quantified. The geohydrologic framework is com-
on the historical reconstruction analysis and present-day    posed of 11 units, 7 of which correspond to the Upper,
conditions of groundwater flow, contaminant fate and         Middle, and Lower Castle Hayne aquifers and related
transport, and distribution of drinking water at Tarawa      confining units. Overlying the Upper Castle Hayne
Terrace and vicinity. Among the topics that this report      aquifer are the Brewster Boulevard and Tarawa Terrace
summarizes are: (1) methods of analyses, (2) data            aquifers and confining units. Much of the Castle Hayne
sources and requirements, (3) the four-stage hierarchical    aquifer system is composed of fine, fossiliferous sand,
approach used for model calibration and estimating PCE       limestone, and shell limestone. The sands are frequently
concentrations in drinking water, (4) presentation, dis-     silty and contain beds and lenses of clay. Limestone units
cussion, and implications of selected simulation results     are probably discontinuous and occasionally cavernous.
for PCE and its degradation by-products, and (5) quanti-     Confining units are characterized by clays and silty clays
fying confidence in simulation results by varying water-     of significant thickness and are persistent across much of
supply well historical pumping schedules and by using        the study area. Maximum thickness of the Castle Hayne
sensitivity and probabilistic analyses to address issues     aquifer system within the study area is about 300 ft. In
of uncertainty and variability in model parameters. In       general, geohydrologic units thicken from northwest to
addition, this report provides a searchable electronic       the south and southeast. The limestones and sands of the
database-using digital video disc (DVD) format-of            Castle Hayne aquifer system readily yield water to wells.
information and data sources used to conduct the histori-    Aquifer-test analyses indicate that horizontal hydraulic
cal reconstruction analysis. Data were obtained from         conductivities of water-bearing units at supply wells
a variety of sources, including ATSDR, USEPA, Envi-          commonly range from 10 to 30 feet per day. Estimated
ronmental Management Division of U.S. Marine Corps           predevelopment potentiometric levels of the Upper and
Base Camp Lejeune, U.S. Geological Survey, private           Middle Castle Hayne aquifers indicate that groundwater-
consulting organizations, published scientific literature,   flow directions are from highland areas north and east of
and community groups representing former marines and         the study area toward the major drainages of New River
their families.                                              and Northeast Creek.




Chapter A: Summary of Findings                                                                                     A77
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Appendix A1. Summaries of Tarawa Terrace Chapter Reports - - - - - - - - - - - - - - - - - - - - - - -

      Chapter C: Simulation of Groundwater Flow              names and synonyms associated with VOCs with the
(Faye and Valenzuela In press 2007) provides detailed        naming conventions supported by the IUPAC. In addi-
analyses of groundwater flow at Tarawa Terrace and           tion, the report describes basic physical characteristics of
vicinity, including the development of a predevelop-         those compounds such as Henry's Law constant, water
ment (steady-state) and transient groundwater-flow           solubility, density, octanol-water partition (log K w), and
                                                                                                                0

model using the model code MODFLOW-96 (Harbaugh              organic carbon partition (log K c) coefficients. Descrip-
                                                                                              0

and McDonald 1996). Calibration and testing of the           tions and illustrations are provided for natural and labo-
model are thoroughly described. The groundwater-             ratory biodegradation rates, chemical by-products, and
flow model was designed with seven layers largely            degradation pathways.
representing the Castle Hayne aquifer system. Com-                Chapter E: Occurrence of Contaminants in
parison of 59 observed water levels representing esti-       Groundwater (Faye and Green In press 2007) describes
mated predevelopment conditions and corresponding            the occurrence and distribution of PCE and related
simulated potentiometric levels indicated a high degree      contaminants within the Tarawa Terrace aquifer and the
of similarity throughout most of the study area. The         Upper Castle Hayne aquifer system at and in the vicin-
average absolute difference between simulated and            ity of the Tarawa Terrace housing area. The occurrence
observed predevelopment water levels was 1. 9 ft, and        and distribution of benzene, toluene, ethylbenzene, and
the root-mean-square (RMS) of differences was 2.1 ft.        xylene (BTEX) and related compounds also are briefly
Transient simulations represented pumping at Tarawa          described. This report describes details of historical
Terrace supply wells for 528 stress periods representing     investigations of VOC contamination of groundwater
528 months-January 1951-December 1994. Assigned              at Tarawa Terrace with emphasis on water-supply wells
pumpage at supply wells was estimated using reported         TT-23, TT-25, and TT-26 (Figure Al). Detailed analyses
well-capacity rates and annual rates of raw water treated    of concentrations of PCE at monitor wells, at hydrocone
at the Tarawa Terrace water treatment plant (WTP) dur-       sample locations, and at Tarawa Terrace water-supply
ing 1975-1986. Calibrated model results of 263 paired        wells during the period 1991-1993 were sufficient to
water levels representing observed and simulated water       estimate the mass of PCE remaining in the Tarawa Ter-
levels at monitor wells indicated an average absolute        race and Upper Castle Hayne aquifers. Similar methods
difference between simulated and observed water levels       were applied to compute the mass of PCE in the unsatu-
of 1. 4 ft, a standard deviation of water-level difference   rated zone (zone above the water table) at and in the
of0.9 ft, and a RMS of water-level difference of 1.7 ft.     vicinity of ABC One-Hour Cleaners using concentration-
Calibrated model results of 526 paired water levels          depth data determined from soil borings. The total mass
representing observed and simulated water levels at          of PCE computed in groundwater and within the unsatu-
water-supply wells indicated an average absolute dif-        rated zone equals about 6,000 pounds and equates to a
ference between simulated and observed water levels of       volume of about 430 gallons. This volume represents an
7.1 ft, a standard deviation of water-level difference of    average minimum loss rate of PCE to the subsurface at
4.6 ft, and a RMS of water-level difference of 8.5 ft.       ABC One-Hour Cleaners of about 13 gallons per year
     Chapter D: Properties of Degradation Pathways           for the period 1953-1985.
of Common Organic Compounds in Groundwater                        Chapter F: Simulation of the Fate and Transport
(Lawrence In press 2007) describes and summarizes            of Tetrachloroethylene (PCE) in Groundwater (Faye
the properties, degradation pathways, and degrada-           In press 2007b) describes: (1) the fate and transport of
tion by-products ofVOCs (non-trihalomethane) com-            PCE in groundwater from the vicinity of ABC One-Hour
monly detected in groundwater contamination sites            Cleaners to the intrusion of PCE into individual water-
in the United States. This chapter also is published as      supply wells (for example, TT-23 and TT-26, Figure Al),
U.S. Geological Survey Open-File Report 2006-1338            and (2) the concentration of PCE in finished water at the
(Lawrence 2006) and provides abridged information            Tarawa Terrace WTP computed using a materials mass
describing the most salient properties and biodegrada-       balance model (simple mixing). The materials mass
tion of 27 VOCs. This report cross-references common         balance model was used to compute a flow-weighted



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average PCE concentration, which was assigned as the       MESL-02-07 by the Multimedia Environmental Simula-
finished water concentration at the Tarawa Terrace WTP     tions Laboratory in the School of Civil and Environmen-
for a specified month. The contaminant fate and trans-     tal Engineering, Georgia Institute of Technology (Jang
port simulation was conducted using the code MT3DMS        and Aral 2007). Simulation results show that the maxi-
(Zheng and Wang 1999) integrated with the calibrated       mum concentrations of PCE degradation by-products,
groundwater-flow model (Faye and Valenzuela In press       TCE, 1,2-tDCE, and VC, generally ranged between
2007) based on the code MODFLOW-96. Simulated              10 µg/L and 100 µg/L in Tarawa Terrace water-supply
mass loading occurred at a constant rate of 1,200 grams    well TT-26 and between 2 µg/L and 15 µg/L in finished
per day using monthly stress periods representing the      water delivered from the Tarawa Terrace WTP. As part
period January 1953-December 1984. The complete            of the degradation by-product simulation using the
simulation time was represented by the period Janu-        TechFlowMP model, results were obtained for PCE and
ary 1951-December 1994. Until 1984, the vast major-        PCE degradation by-products dissolved in groundwater
ity of simulated PCE-contaminated groundwater was          and in the vapor phase (above the water table in the
supplied to the Tarawa Terrace WTP by well TT-26.          unsaturated zone). Analyses of the distribution of vapor-
Simulated breakthrough of PCE at well TT-26 at the         phase PCE and PCE degradation by-products indicate
current MCL of 5 µg/L occurred during January 1957.        there is potential for vapors to enter buildings at Tarawa
Corresponding breakthrough at the location of well         Terrace, thereby providing a potential exposure pathway
TT-23 occurred during December 1974; however, well         from inhalation of PCE and PCE degradation by-product
TT-23 was not operational until about August 1984.         vapors. At Tarawa Terrace these buildings would include
Simulated maximum and average PCE concentrations           family housing and the elementary school.
at well TT-26 following breakthrough were 851 µg/L
and 414 µg/L, respectively. Corresponding maximum               Chapter H: Effect of Groundwater Pumping
and average concentrations at well TT-23 subsequent        Schedule Variation on Arrival of Tetrachloroethylene
to the onset of operations were 274 µg/L and 252 µg/L,     (PCE) at Water-Supply Wells and the Water Treat-
respectively. Simulated breakthrough of PCE in finished    ment Plant (Wang and Aral In press 2007) describes a
water at the Tarawa Terrace WTP occurred at the current    detailed analysis of the effect of groundwater pumping
MCL concentration of 5 µg/L during November 1957           schedule variation on the arrival of PCE at water-supply
and remained at or above a concentration of 40 µg/L        wells and at the Tarawa Terrace WTP. Analyses con-
from May 1960 until the termination of pumping at          tained in this chapter used the calibrated model param-
water-supply well TT-26 during February 1985. Com-         eters described in Chapter C (Faye and Valenzuela In
puted maximum and average PCE concentrations at the        press 2007) and Chapter F (Faye In press 2007b) reports
WTP were 183 µg/L and 70 µg/L, respectively, during        in combination with the groundwater pumping schedule
the period November 1957-February 1985, when well          optimization system simulation tool (PSOpS) to assess
TT-26 was removed from service.                            the influence of unknown and uncertain historical well
                                                           operations at Tarawa Terrace water-supply wells on PCE
     Chapter G: Simulation of Three-Dimensional            concentrations at water-supply wells and at the Tarawa
Multispecies, Multiphase Mass Transport of Tetra-          Terrace WTP. This chapter also is published as report
chloroethylene (PCE) and Associated Degradation            MESL-01-07 by the Multimedia Environmental Simu-
By-Products (Jang and Aral In press 2007) provides         lations Laboratory in the School of Civil and Environ-
detailed descriptions and analyses of the develop-         mental Engineering, Georgia Institute of Technology
ment and application of a three-dimensional model          (Wang and Aral 2007). Variation in the optimal pumping
(TechFlowMP) capable of simulating multispecies and        schedules indicates that the arrival time of PCE exceed-
multiphase (water and vapor) transport of PCE and          ing the current MCL of 5 µg/L at water-supply well
associated degradation by-products-TCE, 1,2-tDCE,          TT-26 varied between May 1956 and August 1959. The
and VC. The development of the TechFLowMP model is         corresponding arrival time of PCE exceeding the current
described in Jang and Aral (2005) and its application to   MCL of 5 µg/L at the Tarawa Terrace WTP varied
Tarawa Terrace and vicinity also is published as report    between December 1956 and June 1960.



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Appendix A1. Summaries of Tarawa Terrace Chapter Reports - - - - - - - - - - - - - - - - - - - - - - -

      Chapter I: Parameter Sensitivity, Uncertainty,          simple mixing model and the more complex and detailed
and Variability Associated with Model Simulations             approach of Sautner et al. (In press 2007) that is based
of Groundwater Flow, Contaminant Fate and Trans-              on a numerical water-distribution system model. Results
port, and Distribution of Drinking Water (Maslia              of simulations conducted using extended period simula-
et al. In press 2007b) describes the development and          tion confirm the assumption that, on a monthly basis,
application of a probabilistic analysis using Monte Carlo     the concentrations of PCE in drinking water delivered to
and sequential Gaussian simulation analysis to quantify       residential housing areas throughout Tarawa Terrace are
uncertainty and variability of groundwater hydraulic          the same as the concentrations of PCE in finished water
and transport parameters. These analyses demonstrate          at the Tarawa Terrace WTP. Therefore, a simple mixing
quantitatively the high reliability and confidence in         model based on the principles of continuity and con-
results determined using the calibrated parameters            servation of mass was an appropriate model to use for
from the MODFLOW-96 and MT3DMS models. For                    determining the concentration of PCE in finished water
example, 95% of Monte Carlo simulations indicated             delivered from the Tarawa Terrace WTP.
that the current MCL for PCE of 5 µg/L was exceeded                 Chapter K: Supplemental Information (Maslia
in finished water at the Tarawa Terrace WTP between           et al. In press 2007a) presents additional information
October 1957 and August 1958; the corresponding               such as (1) a tabular listing of water-supply well pump-
breakthrough simulated by the calibrated fate and trans-      age by stress period (month and year); (2) synoptic maps
port model (Chapter F report, Faye [In press 2007b])          showing groundwater levels, directions of groundwater
occurred during November 1957.                                flow, and the simulated distribution of PCE; (3) a tabular
      Chapter J: Field Tests, Data Analyses, and Simu-        listing of simulated monthly concentrations of PCE dis-
lation of the Distribution of Drinking Water (Sautner         solved in groundwater at Tarawa Terrace water-supply
et al. In press 2007) describes field tests, data analyses,   wells; (4) a tabular listing of simulated monthly con-
and the simulation of drinking-water supply at Tarawa         centrations of PCE and PCE degradation by-products-
Terrace and vicinity. Details of the development and cali-    TCE, 1,2-tDCE, and VC at the Tarawa Terrace WTP;
bration of a water-distribution system model for Tarawa       (5) a complete list of references used in conducting the
Terrace and vicinity are described based on applying the      water-modeling analyses and historical reconstruction
model code EPANET 2 (Rossman 2000) to the study               process; and (6) other ancillary information and data
area. Comparisons are provided between the PCE con-           that were used during the water-modeling analyses and
centrations computed by Faye (In press 2007b) using a         historical reconstruction process.




A80                                           Historical Reconstruction of Drinking-Water Contamination at Tarawa Terrace
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- - - - - - - - - - - Appendix A2. Simulated PCE in Finished Water, Tarawa Terrace Water Treatment Plant




Appendix A2. Simulated PCE and PCE Degradation By-Products
in Finished Water, Tarawa Terrace Water Treatment Plant,
January 1951-March 1987




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Appendix A2. Simulated PCE in Finished Water, Tarawa Terrace Water Treatment Plant

Appendix A2. Simulated tetrachloroethylene and its degradation by-products in finished water, Tarawa Terrace water treatment plant,
January 1951-March 1987. 1
[PCE, tetrachloroethylene; µg/L, microgram per liter; 1,2-tDCE, lrans-1,2-dichloroethylene; TCE, trichloroethylene; VC, vinyl chloride; WTP, water treatment plant]



                                     Single specie using
  Stress                                                                                Multispecies, multiphase using TechFlowMP modeP
               Month and year         MT3DMS model2
  period
                                         4
                                             PCE, in 11g/L          5
                                                                        PCE, in 11g/L        5
                                                                                                 1,2-tDCE, in 11g/L      5
                                                                                                                             TCE, in 11g/L        5
                                                                                                                                                      VC, in 11g/L
   1-12         Jan-Dec 1951                 WTPnot                     WTPnot                      WTPnot                   WTPnot                   WTPnot
                                              operating                  operating                   operating                operating                operating
      13        Jan 1952                         0.00                       0.00                        0.00                     0.00                    0.00
      14        Feb 1952                         0.00                       0.00                        0.00                     0.00                    0.00
      15        Mar 1952                         0.00                       0.00                        0.00                     0.00                    0.00
      16        Apr 1952                         0.00                       0.00                        0.00                     0.00                    0.00
      17        May 1952                         0.00                       0.00                        0.00                     0.00                    0.00
      18        June 1952                        0.00                       0.00                        0.00                     0.00                    0.00
      19        July 1952                        0.00                       0.00                        0.00                     0.00                    0.00
      20        Aug 1952                         0.00                       0.00                        0.00                     0.00                    0.00
      21        Sept 1952                        0.00                       0.00                        0.00                     0.00                    0.00
      22        Oct 1952                         0.00                       0.00                        0.00                     0.00                    0.00
      23        Nov 1952                         0.00                       0.00                        0.00                     0.00                    0.00
      24        Dec 1952                         0.00                       0.00                        0.00                     0.00                    0.00
      25        Jan 1953                         0.00                       0.00                        0.00                     0.00                    0.00
      26        Feb 1953                         0.00                       0.00                        0.00                     0.00                    0.00
      27        Mar 1953                         0.00                       0.00                        0.00                     0.00                    0.00
      28        Apr 1953                         0.00                       0.00                        0.00                     0.00                    0.00
      29        May 1953                         0.00                       0.00                        0.00                     0.00                    0.00
      30        June 1953                        0.00                       0.00                        0.00                     0.00                    0.00
      31        July 1953                        0.00                       0.00                        0.00                     0.00                    0.00
      32        Aug 1953                         0.00                       0.00                        0.00                     0.00                    0.00
      33        Septl953                         0.00                       0.00                        0.00                     0.00                    0.00
      34        Oct 1953                         0.00                       0.00                        0.00                     0.00                    0.00
      35        Nov 1953                         0.00                       0.00                        0.00                     0.00                    0.00
      36        Dec 1953                         0.00                       0.00                        0.00                     0.00                    0.00
      37        Jan 1954                         0.00                       0.00                        0.00                     0.00                    0.00
      38        Feb 1954                         0.00                       0.00                        0.00                     0.00                    0.00
      39        Mar 1954                         0.00                       0.00                        0.00                     0.00                    0.00
      40        Apr 1954                         0.00                       0.00                        0.00                     0.00                    0.00
      41        May 1954                         0.00                       0.00                        0.00                     0.00                    0.00
      42        June 1954                        0.00                       0.00                        0.00                     0.00                    0.00
      43        July 1954                        0.00                       0.00                        0.00                     0.00                    0.00
      44        Aug 1954                         0.00                       0.00                        0.00                     0.00                    0.00
      45        Septl954                         0.00                       0.00                        0.00                     0.00                    0.00
      46        Oct 1954                         0.00                       0.00                        0.00                     0.00                    0.00
      47        Nov 1954                         0.00                       0.00                        0.00                     0.00                    0.00
      48        Dec 1954                         0.00                       0.00                        0.00                     0.00                    0.00


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                                                        Appendix A2. Simulated PCE in Finished Water, Tarawa Terrace Water Treatment Plant

Appendix A2.  Simulated tetrachloroethylene and its degradation by-products in finished water, Tarawa Terrace water treatment plant,
January 1951-March 1987 1.-Continued
[PCE, tetrachloroethylene; µg/L, microgram per liter; 1,2-tDCE, lrans-1,2-dichloroethylene; TCE, trichloroethylene; VC, vinyl chloride; WTP, water treatment plant]



                                     Single specie using
  Stress-                                                                               Multispecies, multiphase using TechFlowMP modeP
              Month and year          MT3DMS model2
  period
                                         4                          5                        5                         5                         5
                                             PCE, in 11g/L              PCE, in 11g/L            1,2-tDCE, in 11g/L        TCE, in 11g/L             VC, in 11g/L
     49        Jan 1955                          0.00                       0.00                        0.00                   0.00                     0.01
     50        Feb 1955                          0.00                       0.00                        0.01                   0.00                     0.01
     51        Mar 1955                          0.00                       0.01                        0.01                   0.00                     0.01
     52        Apr 1955                          0.00                       0.01                        0.01                   0.00                     0.Q2
     53        May 1955                          0.00                       0.01                        0.01                   0.00                     0.Q2
     54        June 1955                         0.01                       0.01                        0.02                   0.00                     0.03
     55        July 1955                         0.01                       0.02                        0.03                   0.00                     0.03
     56        Aug 1955                          0.01                       0.03                        0.03                   0.00                     0.04
     57        Sept 1955                         0.02                       0.04                        0.04                   0.00                     0.05
     58        Oct 1955                          0.03                       0.05                        0.05                   0.00                     0,07
     59        Nov 1955                          0.04                       0.06                        0,07                   0.00                     0.08
     60        Dec 1955                          0.06                       0.08                        0.08                   0.01                     0.10
     61        Jan 1956                          0.08                       0.11                        0.10                   0.01                     0.12
     62        Feb 1956                          0.10                       0.14                        0.12                   0.01                     0.14
     63        Mar 1956                          0.13                       0.17                        0.15                   0.01                     0.17
     64        Apr 1956                          0.17                       0.22                        0.18                   0.01                     0.20
     65        May 1956                          0.23                       0.27                        0.21                   0.Q2                     0.23
     66        June 1956                         0.29                       0.33                        0.25                   0.Q2                     0.26
     67        July 1956                         0.36                       0.40                        0.29                   0.Q2                     0.30
     68        Aug 1956                          0.46                       0.49                        0.33                   0.03                     0.34
     69        Sept 1956                         0.57                       0.59                        0.38                   0.03                     0.39
     70        Oct 1956                          0.70                       0.70                        0.44                   0.04                     0.44
     71        Nov 1956                          0.85                       0.83                        0.50                   0.05                     0.49
     72        Dec 1956                          1.04                       0.97                        0.57                   0.06                     0.55
     73        Jan 1957                          1.25                       1.14                        0.64                   0.06                     0.61
     74        Feb 1957                          1.47                       1.33                        0.72                   0.07                     0.68
     75        Mar 1957                          1.74                       1.52                        0.79                   0.08                     0.74
     76        Apr 1957                          2.04                       1.75                        0.88                   0.10                     0.81
     77        May 1957                          2.39                       2.00                        0.97                   0.11                     0.89
     78        June 1957                         2.77                       2.28                        1.08                   0.12                     0.97
     79        July 1957                         3.21                       2.59                        1.18                   0.14                      1.05
     80        Aug 1957                          3.69                       2.93                        1.29                   0.16                      1.13
     81        Sept 1957                         4.21                       3.30                        1.41                   0.17                      1.23
     82        Oct 1957                          4.79                       3.69                        1.53                   0.19                      1.32
     83        Nov 1957                          5.41                       4.13                        1.66                   0.22                      1.41
     84        Dec 1957                          6.10                       4.59                        1.80                   0.24                      1.51




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Appendix A2. Simulated PCE in Finished Water, Tarawa Terrace Water Treatment Plant

Appendix A2. Simulated tetrachloroethylene and its degradation by-products in finished water, Tarawa Terrace water treatment plant,
January 1951-March 1987 1.-Continued
[PCE, tetrachloroethylene; µg/L, microgram per liter; 1,2-tDCE, lrans-1,2-dichloroethylene; TCE, trichloroethylene; VC, vinyl chloride; WTP, water treatment plant]



                                     Single specie using
  Stress                                                                                Multispecies, multiphase using TechFlowMP modeP
              Month and year          MT3DMS model2
  period
                                         4
                                             PCE, in 11g/L          5
                                                                        PCE, in 11g/L         5
                                                                                                  1,2 tDCE, in 11g/L      5
                                                                                                                              TCE, in 11g/L      5
                                                                                                                                                     VC, in 11g/L
      85        Jan 1958                         6.86                       5.11                         1.94                     0.26                   1.62
      86        Feb 1958                         7.60                       5.65                         2.09                     0.29                   1.72
      87        Mar 1958                         8.47                       6.17                         2.22                     0.31                   1.81
      88        Apr 1958                         9.37                       6.79                         2.38                     0.34                   1.92
      89        May 1958                        10.37                       7.41                         2.53                     0.37                   2.02
      90        June 1958                       11.39                       8.10                         2.70                     0.41                   2.13
      91        July 1958                       12.91                       9.09                         2.96                     0.45                   2.32
      92        Aug 1958                        14.12                       9.88                         3.14                     0.49                   2.44
      93        Sept 1958                       15.35                      10.73                         3.33                     0.53                   2.56
      94        Oct 1958                        16.69                      11.58                         3.52                     0.57                   2.68
      95        Nov 1958                        18.03                      12.52                         3.72                     0.61                   2.81
      96        Dec 1958                        19.49                      13.46                         3.92                     0.66                   2.94
      97        Jan 1959                        20.97                      14.48                         4.13                     0.71                   3.07
      98        Feb 1959                        22.35                      15.54                         4.34                     0.76                   3.21
      99        Mar 1959                        23.92                      16.54                         4.54                     0.80                   3.33
    100         Apr 1959                        25.49                      17.70                        4.77                      0.85                   3.48
    101         May 1959                        27.15                      18.84                        4.99                      0.91                   3.61
    102         June 1959                       28.81                      20.09                         5.23                     0.96                   3.77
    103         July 1959                       30.56                      21.34                         5.46                     1.02                   3.91
    104         Aug 1959                        32.36                      22.66                         5.69                     1.08                   4.05
    105         Sept 1959                       34.14                      24.01                         5.93                     1.14                   4.19
    106         Oct 1959                        36.01                      25.35                         6.16                     1.20                   4.32
    107         Nov 1959                        37.85                      26.77                         6.40                     1.27                   4.46
    108         Dec 1959                        39.78                      28.18                         6.64                     1.33                   4.60
    109         Jan 1960                        41.86                      29.67                         6.88                     1.40                   4.74
    110         Feb 1960                        43.85                      31.17                         7.12                     1.46                   4.86
    111         Mar 1960                        46.03                      32.58                         7.33                     1.52                   4.97
    112         Apr 1960                        48.15                      34.16                         7.57                     1.59                   5.10
    113         May 1960                        50.37                      35.67                         7.79                     1.66                   5.21
    114         June 1960                       52.51                      37.24                         8.03                     1.73                   5.33
    115         July 1960                       54.74                      38.79                         8.26                     1.80                   5.45
    116         Aug 1960                        56.96                      40.45                         8.51                     1.87                   5.59
    117         Septl960                        59.09                      42.13                         8.76                     1.94                   5.73
    118         Oct 1960                        61.30                      43.80                         9.02                     2.02                   5.86
    119         Nov 1960                        63.42                      45.57                         9.28                     2.09                   6.01
    120         Dec 1960                        65.61                      47.31                         9.54                     2.17                   6.15




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                                                        Appendix A2. Simulated PCE in Finished Water, Tarawa Terrace Water Treatment Plant


Appendix A2.  Simulated tetrachloroethylene and its degradation by-products in finished water, Tarawa Terrace water treatment plant,
January 1951-March 1987 1.-Continued
[PCE, tetrachloroethylene; µg/L, microgram per liter; 1,2-tDCE, lrans-1,2-dichloroethylene; TCE, trichloroethylene; VC, vinyl chloride; WTP, water treatment plant]



                                     Single specie using
  Stress                                                                                Multispecies, multiphase using TechFlowMP modeP
               Month and year         MT3DMS model2
  period
                                         4                          5                        5                         5                          5
                                             PCE, in 11g/L              PCE, in 11g/L            1,2-tDCE, in 11g/L        TCE, in 11g/L              VC, in 11g/L
    121         Jan 1961                        67.69                      49.15                        9.82                   2.25                      6.30
    122         Feb 1961                        69.54                      51.03                      10.10                    2.33                      6.46
    123         Mar 1961                        71.56                      52.73                      10.35                    2.41                      6.61
    124         Apr 1961                        73.49                      54.69                      10.64                    2.49                      6.77
    125         May 1961                        75.49                      56.57                      10.92                    2.58                      6.92
    126         June 1961                       77.39                      58.53                      11.20                    2.66                      7.07
    127         July 1961                       79.36                      60.43                      11.46                    2.75                      7.22
    128         Aug 1961                        81.32                      62.42                      11.74                    2.83                      7.36
    129         Sept 1961                       83.19                      64.40                      12.01                    2.92                      7.51
    130         Oct 1961                        85.11                      66.32                      12.27                    3.00                      7.64
    131         Nov 1961                        86.95                      68.33                      12.55                    3.09                      7.79
    132         Dec 1961                        88.84                      70.28                      12.80                    3.17                      7.92
    133         Jan 1962                        60.88                      47.74                        8.63                   2.15                      5.32
    134         Feb 1962                        62.10                      49.86                        9.00                   2.25                      5.56
    135         Mar 1962                        62.94                      51.28                        9.17                   2.31                      5.64
    136         Apr 1962                        63.59                      52.37                        9.25                   2.36                      5.67
    137         May 1962                        64.17                      53.18                        9.28                   2.39                      5.66
    138         June 1962                       64.70                      53.88                        9.28                   2.41                      5.63
    139         July 1962                       65.23                      54.48                        9.28                   2.43                      5.60
    140         Aug 1962                        65.74                      55.06                        9.26                   2.45                      5.56
    141         Sept 1962                       66.22                      55.59                        9.24                   2.46                      5.52
    142         Oct 1962                        66.71                      56.07                        9.22                   2.48                      5.47
    143         Nov 1962                        67.18                      56.54                        9.19                   2.49                      5.42
    144         Dec 1962                        67.65                      56.97                        9.16                   2.50                      5.38
    145         Jan 1963                        68.06                      57.40                        9.13                   2.51                      5.33
    146         Feb 1963                        68.39                      57.78                        9.09                   2.52                      5.28
    147         Mar 1963                        68.73                      58.11                        9.06                   2.53                      5.24
    148         Apr 1963                        69.03                      58.49                        9.02                   2.54                      5.20
    149         May 1963                        69.33                      58.81                        8.98                   2.55                      5.15
    150         June 1963                       69.62                      59.14                        8.94                   2.56                      5.11
    151         July 1963                       69.90                      59.42                        8.90                   2.57                      5.06
    152         Aug 1963                        70.17                      59.70                        8.86                   2.57                      5.02
    153         Sept 1963                       70.43                      59.97                        8.82                   2.57                      4.98
    154         Oct 1963                        70.69                      60.21                        8.78                   2.58                      4.94
    155         Nov 1963                        70.93                      60.45                        8.74                   2.58                      4.90
    156         Dec 1963                        71.17                      60.67                        8.70                   2.59                      4.86




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Appendix A2. Simulated PCE in Finished Water, Tarawa Terrace Water Treatment Plant

Appendix A2. Simulated tetrachloroethylene and its degradation by-products in finished water, Tarawa Terrace water treatment plant,
January 1951-March 1987 1.-Continued
[PCE, tetrachloroethylene; µg/L, microgram per liter; 1,2-tDCE, lrans-1,2-dichloroethylene; TCE, trichloroethylene; VC, vinyl chloride; WTP, water treatment plant]



                                     Single specie using
  Stress                                                                                Multispecies, multiphase using TechFlowMP modeP
              Month and year          MT3DMS model2
  period
                                         4
                                             PCE, in 11g/L          5
                                                                        PCE, in 11g/L        5
                                                                                                 1,2 tDCE, in 11g/L      5
                                                                                                                             TCE, in 11g/L       5
                                                                                                                                                     VC, in 11g/L
    157         Jan 1964                        71.40                      60.89                        8.67                     2.59                   4.83
    158         Feb 1964                        63.77                      54.39                        7.69                     2.31                   4.27
    159         Mar 1964                        63.95                      54.42                        7.58                     2.30                   4.17
    160         Apr 1964                        64.08                      54.43                        7.50                     2.29                   4.10
    161         May 1964                        64.19                      54.36                        7.42                     2.29                   4.04
    162         June 1964                       64.27                      54.29                        7.35                     2.28                   3.98
    163         July 1964                       64.34                      54.21                        7.28                     2.27                   3.93
    164         Aug 1964                        64.39                      54.14                        7.22                     2.26                   3.88
    165         Sept 1964                       64.43                      54.06                        7.16                     2.26                   3.84
    166         Oct 1964                        64.47                      53.99                        7.10                     2.25                   3.79
    167         Nov 1964                        64.49                      53.92                        7.05                     2.24                   3.75
    168         Dec 1964                        64.50                      53.85                        7.00                     2.24                   3.72
    169         Jan 1965                        64.50                      53.78                        6.95                     2.23                   3.68
    170         Feb 1965                        64.49                      53.72                        6.90                     2.23                   3.65
    171         Mar 1965                        64.47                      53.64                        6.86                     2.22                   3.61
    172         Apr 1965                        64.45                      53.59                        6.82                     2.22                   3.58
    173         May 1965                        64.42                      53.52                        6.78                     2.21                   3.55
    174         June 1965                       64.38                      53.47                        6.74                     2.21                   3.52
    175         July 1965                       64.33                      53.40                        6.70                     2.20                   3.50
    176         Aug 1965                        64.27                      53.34                        6.66                     2.20                   3.47
    177         Sept 1965                       64.20                      53.27                        6.63                     2.19                   3.44
    178         Oct 1965                        64.13                      53.20                        6.59                     2.19                   3.42
    179         Nov 1965                        64.05                      53.14                        6.56                     2.18                   3.40
    180         Dec 1965                        63.97                      53.07                        6.53                     2.18                   3.37
    181         Jan 1966                        63.88                      53.00                        6.50                     2.17                   3.35
    182         Feb 1966                        63.79                      52.93                        6.47                     2.17                   3.33
    183         Mar 1966                        63.68                      52.84                        6.44                     2.16                   3.31
    184         Apr 1966                        63.57                      52.78                        6.41                     2.16                   3.29
    185         May 1966                        63.46                      52.70                        6.38                     2.15                   3.27
    186         June 1966                       63.34                      52.63                        6.35                     2.15                   3.25
    187         July 1966                       63.21                      52.54                        6.33                     2.14                   3.23
    188         Aug 1966                        63.08                      52.46                        6.30                     2.14                   3.21
    189         Sept 1966                       62.94                      52.38                        6.27                     2.13                   3.20
    190         Oct 1966                        62.80                      52.28                        6.25                     2.13                   3.18
    191         Nov 1966                        62.65                      52.20                        6.22                     2.12                   3.16
    192         Dec 1966                        62.50                      52.11                        6.19                     2.12                   3.14




A86                                                            Historical Reconstruction of Drinking-Water Contamination at Tarawa Terrace
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              Contains Information Subject to Protective Order: Do Not Disclose to Unauthorized Persons



                                                        Appendix A2. Simulated PCE in Finished Water, Tarawa Terrace Water Treatment Plant

Appendix A2.  Simulated tetrachloroethylene and its degradation by-products in finished water, Tarawa Terrace water treatment plant,
January 1951-March 1987 1.-Continued
[PCE, tetrachloroethylene; µg/L, microgram per liter; 1,2-tDCE, lrans-1,2-dichloroethylene; TCE, trichloroethylene; VC, vinyl chloride; WTP, water treatment plant]



                                     Single specie using
  Stress-                                                                               Multispecies, multiphase using TechFlowMP modeP
              Month and year          MT3DMS model2
  period
                                         4                          5                        5                          5                         5
                                             PCE, in 11g/L              PCE, in 11g/L            1,2-tDCE, in 11g/L         TCE, in 11g/L             VC, in 11g/L
    193         Jan 1967                        62.25                      52.02                        6.17                    2.11                     3.13
    194         Feb 1967                        61.99                      51.90                        6.14                    2.11                     3.11
    195         Mar 1967                        61.67                      51.76                        6.11                    2.10                     3.09
    196         Apr 1967                        61.35                      51.61                        6.08                    2.09                     3.07
    197         May 1967                        61.02                      51.43                        6.04                    2.08                     3.05
    198         June 1967                       60.69                      51.23                        6.00                    2.07                     3.03
    199         July 1967                       60.37                      51.02                        5.96                    2.06                     3.00
    200         Aug 1967                        60.05                      50.79                        5.92                    2.05                     2.98
    201         Sept 1967                       59.74                      50.57                        5.87                    2.04                     2.95
    202         Oct 1967                        59.43                      50.34                        5.83                    2.03                     2.92
    203         Nov 1967                        59.13                      50.11                        5.79                    2.02                     2.90
    204         Dec 1967                        58.83                      49.89                        5.75                    2.01                     2.87
    205         Jan 1968                        58.41                      49.66                        5.70                    2.00                     2.85
    206         Feb 1968                        57.95                      49.40                        5.66                    1.99                     2.82
    207         Mar 1968                        57.43                      49.10                        5.60                    1.97                     2.79
    208         Apr 1968                        56.94                      48.77                        5.55                    1.96                     2.76
    209         May 1968                        56.45                      48.43                        5.49                    1.94                     2.73
    210         June 1968                       55.98                      48.07                        5.43                    1.93                     2.69
    211         July 1968                       55.49                      47.67                        5.36                    1.91                     2.65
    212         Aug 1968                        55.02                      47.26                        5.29                    1.89                     2.61
    213         Sept 1968                       54.58                      46.84                        5.23                    1.87                     2.57
    214         Oct 1968                        54.13                      46.43                        5.16                    1.85                     2.54
    215         Nov 1968                        53.71                      46.03                        5.10                    1.84                     2.50
    216         Dec 1968                        53.28                      45.63                        5.04                    1.82                     2.46
    217         Jan 1969                        53.07                      45.24                        4.98                    1.80                     2.43
    218         Feb 1969                        52.97                      44.91                        4.93                    1.79                     2.40
    219         Mar 1969                        52.94                      44.64                        4.88                    1.78                     2.37
    220         Apr 1969                        52.93                      44.47                        4.86                    1.77                     2.35
    221         May 1969                        52.93                      44.32                        4.83                    1.76                     2.34
    222         June 1969                       52.92                      44.20                        4.81                    1.76                     2.32
    223         July 1969                       52.90                      44.09                        4.79                    1.75                     2.31
    224         Aug 1969                        52.86                      44.01                        4.78                    1.75                     2.30
    225         Sept 1969                       52.81                      43.92                        4.77                    1.75                     2.29
    226         Oct 1969                        52.75                      43.83                        4.76                    1.74                     2.29
    227         Nov 1969                        55.19                      45.75                        4.97                    1.82                     2.38
    228         Dec 1969                        55.19                      45.96                        5.01                    1.83                     2.42




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Appendix A2. Simulated PCE in Finished Water, Tarawa Terrace Water Treatment Plant

Appendix A2. Simulated tetrachloroethylene and its degradation by-products in finished water, Tarawa Terrace water treatment plant,
January 1951-March 1987 1.-Continued
[PCE, tetrachloroethylene; µg/L, microgram per liter; 1,2-tDCE, lrans-1,2-dichloroethylene; TCE, trichloroethylene; VC, vinyl chloride; WTP, water treatment plant]



                                      Single specie using
  Stress                                                                                 Multispecies, multiphase using TechFlowMP modeP
               Month and year          MT3DMS model2
  period
                                          4
                                              PCE, in 11g/L          5
                                                                         PCE, in 11g/L        5
                                                                                                  1,2tDCE, in 11g/L      5
                                                                                                                             TCE, in 11g/L         5
                                                                                                                                                       VC, in 11g/L
    229          Jan 1970                        55.01                      46.05                       5.03                     1.84                     2.43
    230          Feb 1970                        54.79                      46.03                       5.03                     1.84                     2.43
    231          Mar 1970                        54.49                      45.94                       5.03                     1.83                     2.43
    232          Apr 1970                        54.20                      45.84                       5.03                     1.83                     2.44
    233          May 1970                        53.90                      45.70                       5.01                     1.82                     2.44
    234          June 1970                       53.61                      45.54                       5.00                     1.82                     2.43
    235          July 1970                       53.32                      45.37                       4.98                     1.81                     2.43
    236          Aug 1970                        53.04                      45.20                       4.96                     1.80                     2.42
    237          Sept 1970                       52.78                      45.00                       4.94                     1.79                     2.41
    238          Oct 1970                        52.53                      44.79                       4.91                     1.78                     2.40

    239          Nov 1970                        52.29                      44.58                       4.89                     1.78                     2.39

    240          Dec 1970                        52.05                      44.37                       4.87                     1.77                     2.38

    241          Jan 1971                        51.96                      44.17                       4.84                     1.76                     2.37

    242          Feb 1971                        51.93                      43.99                       4.82                     1.75                     2.35

    243          Mar 1971                        51.95                      43.86                       4.80                     1.74                     2.34
    244          Apr 1971                        51.99                      43.76                       4.79                     1.74                     2.34

    245          May 1971                        52.03                      43.66                       4.78                     1.74                     2.33

    246          June 1971                       52.08                      43.60                       4.78                     1.73                     2.33

    247          July 1971                       52.12                      43.53                       4.77                     1.73                     2.33

    248          Aug 1971                        52.16                      43.47                       4.77                     1.73                     2.33

    249          Septl971                        52.20                      43.41                       4.77                     1.73                     2.33

    250          Oct 1971                        52.23                      43.35                       4.77                     1.72                     2.33

    251          Nov 1971                        52.26                      43.31                       4.77                     1.72                     2.33

    252          Dec 1971                        52.29                      43.26                       4.77                     1.72                     2.34

    253          Jan 1972                        49.34                      41.02                       4.53                     1.63                     2.22

    254          Feb 1972                        49.01                      40.49                       4.44                     1.61                     2.17
    255          Mar 1972                        48.68                      40.01                       4.37                     1.58                     2.13

    256          Apr 1972                        48.40                      39.51                       4.30                     1.56                     2.09

    257          May 1972                        48.14                      39.03                       4.24                     1.54                     2.06

    258          June 1972                       47.90                      38.55                       4.17                     1.52                     2.02

    259          July 1972                       47.67                      38.11                       4.11                     1.50                     1.98

    260          Aug 1972                        47.45                      37.68                       4.05                     1.48                     1.95

    261          Sept 1972                       47.25                      37.26                       3.99                     1.46                     1.92

    262          Oct 1972                        47.05                      36.88                       3.94                     1.45                     1.89

    263          Nov 1972                        46.87                      36.51                       3.89                     1.43                     1.86

    264          Dec 1972                        46.69                      36.15                       3.85                     1.42                     1.84




A88                                                             Historical Reconstruction of Drinking-Water Contamination at Tarawa Terrace
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              Contains Information Subject to Protective Order: Do Not Disclose to Unauthorized Persons



                                                        Appendix A2. Simulated PCE in Finished Water, Tarawa Terrace Water Treatment Plant


Appendix A2.  Simulated tetrachloroethylene and its degradation by-products in finished water, Tarawa Terrace water treatment plant,
January 1951-March 1987 1.-Continued
[PCE, tetrachloroethylene; µg/L, microgram per liter; 1,2-tDCE, lrans-1,2-dichloroethylene; TCE, trichloroethylene; VC, vinyl chloride; WTP, water treatment plant]



                                     Single specie using
  Stress-                                                                               Multispecies, multiphase using TechFlowMP modeP
              Month and year          MT3DMS model2
  period
                                         4                          5                        5                         5                          5
                                             PCE, in 11g/L              PCE, in 11g/L            1,2-tDCE, in 11g/L        TCE, in 11g/L              VC, in 11g/L
    265         Jan 1973                        54.28                      41.48                        4.40                   1.62                      2.10
    266         Feb 1973                        54.19                      42.32                        4.57                   1.67                      2.21
    267         Mar 1973                        53.98                      42.49                        4.60                   1.68                      2.23
    268         Apr 1973                        53.76                      42.42                        4.60                   1.68                      2.24
    269         May 1973                        53.52                      42.25                        4.59                   1.67                      2.24
    270         June 1973                       53.30                      42.05                        4.58                   1.66                      2.25
    271         July 1973                       53.08                      41.78                        4.56                   1.65                      2.24
    272         Aug 1973                        52.87                      41.53                        4.53                   1.64                      2.23
    273         Sept 1973                       52.68                      41.27                        4.51                   1.63                      2.22
    274         Oct 1973                        52.51                      41.01                        4.48                   1.62                      2.21
    275         Nov 1973                        52.35                      40.75                        4.45                   1.61                      2.20
    276         Dec 1973                        52.20                      40.48                        4.42                   1.60                      2.19
    277         Jan 1974                        52.43                      40.22                        4.40                   1.59                      2.17
    278         Feb 1974                        52.82                      40.13                        4.39                   1.59                      2.17
    279         Mar 1974                        53.39                      40.10                        4.38                   1.58                      2.16
    280         Apr 1974                        53.99                      40.20                        4.40                   1.59                      2.17
    281         May 1974                        54.63                      40.35                        4.43                   1.60                      2.18
    282         June 1974                       55.25                      40.59                        4.48                   1.61                      2.21
    283         July 1974                       55.90                      40.82                        4.52                   1.62                      2.24
    284         Aug 1974                        56.53                      41.08                        4.57                   1.63                      2.27
    285         Sept 1974                       57.10                      41.35                        4.62                   1.64                      2.31
    286         Oct 1974                        57.70                      41.61                        4.68                   1.65                      2.34
    287         Nov 1974                        58.30                      41.91                        4.74                   1.67                      2.39
    288         Dec 1974                        58.92                      42.19                        4.81                   1.68                      2.43
    289         Jan 1975                        61.00                      43.76                        5.02                   1.74                      2.55
    290         Feb 1975                        61.24                      43.90                        5.06                   1.75                      2.59
    291         Mar 1975                        61.41                      44.03                        5.11                   1.75                      2.63
    292         Apr 1975                        61.57                      44.18                        5.16                   1.76                      2.68
    293         May 1975                        61.72                      44.29                        5.20                   1.77                      2.71
    294         June 1975                       61.88                      44.38                        5.24                   1.77                      2.75
    295         July 1975                       62.05                      44.45                        5.28                   1.77                      2.78
    296         Aug 1975                        62.25                      44.52                        5.31                   1.78                      2.81
    297         Sept 1975                       62.46                      44.57                        5.34                   1.78                      2.83
    298         Oct 1975                        62.69                      44.62                        5.36                   1.78                      2.85
    299         Nov 1975                        62.92                      44.69                        5.39                   1.78                      2.87
    300         Dec 1975                        63.18                      44.74                        5.41                   1.78                      2.89




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Appendix A2. Simulated PCE in Finished Water, Tarawa Terrace Water Treatment Plant

Appendix A2. Simulated tetrachloroethylene and its degradation by-products in finished water, Tarawa Terrace water treatment plant,
January 1951-March 1987 1.-Continued
[PCE, tetrachloroethylene; µg/L, microgram per liter; 1,2-tDCE, lrans-1,2-dichloroethylene; TCE, trichloroethylene; VC, vinyl chloride; WTP, water treatment plant]



                                      Single specie using
  Stress                                                                                Multispecies, multiphase using TechFlowMP modeP
               Month and year          MT3DMS model2
  period
                                          4
                                              PCE, in 11g/L         5
                                                                        PCE, in 11g/L         5
                                                                                                  1,2 tDCE, in 11g/L      5
                                                                                                                              TCE, in 11g/L      5
                                                                                                                                                     VC, in 11g/L
    301         Jan 1976                         73.96                     51.53                         6.24                     2.06                   3.34
    302         Feb 1976                         74.94                     53.43                         6.62                     2.15                   3.60
    303         Mar 1976                         75.97                     54.44                         6.80                     2.20                   3.72
    304         Apr 1976                         76.97                     55.38                         6.99                     2.24                   3.85
    305         May 1976                         78.00                     56.21                         7.16                     2.28                   3.98
    306         June 1976                        79.02                     57.07                         7.34                     2.32                   4.10
    307         July 1976                        80.07                     57.86                         7.51                     2.35                   4.22
    308         Aug 1976                         81.13                     58.73                         7.69                     2.39                   4.34
    309         Sept 1976                        82.17                     59.58                         7.86                     2.43                   4.46
    310         Oct 1976                         83.25                     60.41                         8.02                     2.46                   4.57
    311         Nov 1976                         84.31                     61.28                         8.19                     2.50                   4.68
    312         Dec 1976                         85.41                     62.10                         8.35                     2.53                   4.79
    313         Jan 1977                         86.61                     62.97                         8.52                     2.57                   4.89
    314         Feb 1977                         87.70                     63.98                         8.71                     2.62                   5.01
    315         Mar 1977                         88.91                     64.81                         8.86                     2.65                   5.11
    316         Apr 1977                         90.10                     65.83                         9.05                     2.70                   5.22
    317         May 1977                         91.32                     66.76                         9.21                     2.74                   5.32
    318         June 1977                        92.53                     67.76                         9.38                     2.78                   5.43
    319         July 1977                        93.75                     68.70                         9.55                     2.82                   5.53
    320         Aug 1977                         94.99                     69.70                         9.72                     2.86                   5.63
    321         Septl977                         96.20                     70.70                         9.88                     2.90                   5.72
    322         Oct 1977                         97.42                     71.65                       10.04                      2.94                   5.82
    323         Nov 1977                         98.62                     72.71                       10.21                      2.99                   5.92
    324         Dec 1977                         99.84                     73.68                       10.36                      3.03                   6.00
    325         Jan 1978                        101.18                     74.73                       10.53                      3.07                   6.10
    326         Feb 1978                        102.77                     76.25                       10.80                      3.14                   6.26
    327         Mar 1978                        103.04                     78.73                       11.26                      3.26                   6.56
    328         Apr 1978                        104.31                     77.97                       11.02                      3.21                   6.37
    329         May 1978                        105.18                     79.28                       11.27                      3.27                   6.53
    330         June 1978                       106.88                     79.72                       11.29                      3.28                   6.51
    331         July 1978                       107.95                     82.31                       11.78                      3.41                   6.83
    332         Aug 1978                        108.69                     83.81                       12.00                      3.47                   6.96
    333         Sept 1978                       109.61                     84.16                       12.00                      3.48                   6.93
    334         Oct 1978                        111.18                     84.92                       12.09                      3.51                   6.97
    335         Nov 1978                        111.08                     87.48                       12.55                      3.63                   7.25
    336         Dec 1978                        111.93                     85.67                       12.04                      3.52                   6.87




A90                                                            Historical Reconstruction of Drinking-Water Contamination at Tarawa Terrace
                                                                          and Vicinity, U.S. Marine Corps Base Camp Lejeune, North Carolina
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              Contains Information Subject to Protective Order: Do Not Disclose to Unauthorized Persons



                                                        Appendix A2. Simulated PCE in Finished Water, Tarawa Terrace Water Treatment Plant


Appendix A2.  Simulated tetrachloroethylene and its degradation by-products in finished water, Tarawa Terrace water treatment plant,
January 1951-March 1987 1.-Continued
[PCE, tetrachloroethylene; µg/L, microgram per liter; 1,2-tDCE, lrans-1,2-dichloroethylene; TCE, trichloroethylene; VC, vinyl chloride; WTP, water treatment plant]



                                     Single specie using
  Stress                                                                                Multispecies, multiphase using TechFlowMP modeP
               Month and year         MT3DMS model2
  period
                                         4                          5                        5                          5                         5
                                             PCE, in 11g/L              PCE, in 11g/L            1,2-tDCE, in 11g/L         TCE, in 11g/L             VC, in 11g/L
    337         Jan 1979                       113.14                      85.41                      11.95                     3.50                     6.79
    338         Feb 1979                       114.05                      86.75                      12.16                     3.56                     6.91
    339         Mar 1979                       114.98                      87.55                      12.23                     3.60                     6.93
    340         Apr 1979                       115.82                      88.43                      12.32                     3.63                     6.97
    341         May 1979                       116.68                      89.21                      12.40                     3.66                     7.00
    342         June 1979                      117.47                      90.09                      12.49                     3.70                     7.05
    343         July 1979                      118.29                      90.82                      12.56                     3.73                     7.07
    344         Aug 1979                       119.08                      91.67                      12.65                     3.76                     7.11
    345         Sept 1979                      119.82                      92.44                      12.72                     3.79                     7.14
    346         Oct 1979                       120.59                      93.22                      12.81                     3.82                     7.18
    347         Nov 1979                       121.31                      94.00                      12.88                     3.85                     7.21
    348         Dec 1979                       122.04                      94.78                      12.96                     3.89                     7.24
    349         Jan 1980                       123.28                      95.56                      13.03                     3.92                     7.27
    350         Feb 1980                       122.98                      98.20                      13.49                     4.04                     7.56
    351         Mar 1980                       124.03                      96.35                      12.98                     3.94                     7.19
    352         Apr 1980                       123.90                      97.86                      13.28                     4.01                     7.39
    353         May 1980                       124.69                      96.00                      12.78                     3.90                     7.03
    354         June 1980                      125.83                      96.23                      12.80                     3.91                     7.03
    355         July 1980                        0.72                       0.00                        0.00                    0.00                     0.00
    356         Aug 1980                         0.75                       0.00                        0.00                    0.00                     0.00
    357         Sept 1980                      121.36                      95.07                      12.43                     3.92                     6.83
    358         Oct 1980                       121.72                      91.40                      11.24                     3.63                     5.84
    359         Nov 1980                       122.14                      91.00                      11.17                     3.63                     5.82
    360         Dec 1980                       122.95                      90.64                      11.14                     3.62                     5.81
    361         Jan 1981                       114.05                      84.14                      10.41                     3.37                     5.46
    362         Feb 1981                       114.39                      84.80                      10.53                     3.41                     5.55
    363         Mar 1981                       115.60                      84.13                      10.37                     3.37                     5.44
    364         Apr 1981                       116.55                      85.90                      10.74                     3.46                     5.69
    365         May 1981                       117.30                      87.53                      11.02                     3.54                     5.87
    366         June 1981                      118.36                      88.90                      11.26                     3.60                     6.03
    367         July 1981                      133.29                     102.10                      13.12                     4.17                     7.09
    368         Aug 1981                       134.31                     105.46                      13.75                     4.33                     7.50
    369         Sept 1981                      120.72                      96.34                      12.64                     3.96                     6.93
    370         Oct 1981                       121.04                      96.29                      12.60                     3.95                     6.90
    371         Nov 1981                       121.41                      96.69                      12.67                     3.96                     6.93
    372         Dec 1981                       121.81                      97.27                      12.74                     3.98                     6.97




Chapter A: Summary of Findings                                                                                                                                       A91
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Appendix A2. Simulated PCE in Finished Water, Tarawa Terrace Water Treatment Plant

Appendix A2. Simulated tetrachloroethylene and its degradation by-products in finished water, Tarawa Terrace water treatment plant,
January 1951-March 1987 1.-Continued
[PCE, tetrachloroethylene; µg/L, microgram per liter; 1,2-tDCE, lrans-1,2-dichloroethylene; TCE, trichloroethylene; VC, vinyl chloride; WTP, water treatment plant]



                                     Single specie using
  Stress-                                                                               Multispecies, multiphase using TechFlowMP modeP
              Month and year          MT3DMS model2
  period
                                         4
                                             PCE, in 11g/L          5
                                                                        PCE, in 11g/L        5
                                                                                                 1,2 tDCE, in 11g/L      5
                                                                                                                             TCE, in 11g/L        5
                                                                                                                                                      VC, in 11g/L
      373       Jan 1982                       103.95                      81.28                      10.65                      3.33                    5.81
      374       Feb 1982                       105.86                      83.47                      11.06                      3.43                    6.09
      375       Mar 1982                       107.52                      85.42                      ll.40                      3.51                    6.31
      376       Apr 1982                       108.83                      87.32                      11.75                      3.60                    6.55
      377       May 1982                       148.50                    120.45                       16.30                      4.98                    9.13
      378       June 1982                      ll0.78                      92.65                      12.81                      3.86                    7.26
      379       July 1982                      ll 1.98                     92.98                      12.77                      3.86                    7.21
      380       Aug 1982                       ll3.07                      94.09                      12.97                      3.91                    7.34
      381       Sept 1982                      ll4.04                      95.33                      13.18                      3.96                    7.46
      382       Oct 1982                       ll4.60                      96.51                      13.37                      4.01                    7.57
      383       Nov 1982                       ll3.87                      96.63                      13.31                      4.00                    7.51
      384       Dec 1982                       ll5.16                      93.14                      12.43                      3.80                    6.88
      385       Jan 1983                         1.25                       0.10                        0.04                     0.00                    0.05
      386       Feb 1983                         1.29                       0.12                        0.05                     0.01                    0.07
      387       Mar 1983                       lll.76                      88.43                      11.55                      3.65                    6.37
      388       Apr 1983                       ll2.66                      86.39                      10.85                      3.43                    5.77
      389       May 1983                       ll3.97                      87.67                      11.04                      3.52                    5.88
      390       June 1983                      106.10                      82.26                      10.54                      3.33                    5.70
      391       July 1983                      ll6.70                      92.03                      11.95                      3.75                    6.52
      392       Aug 1983                       ll7.72                      94.46                      12.45                      3.87                    6.87
      393       Sept 1983                      ll7.83                      96.92                      12.94                      3.99                    7.21
      394       Oct 1983                       ll7.97                      96.60                      12.82                      3.96                    7.12
      395       Nov 1983                       ll8.63                      95.49                      12.58                      3.89                    6.95
      396       Dec 1983                       120.78                      95.52                      12.60                      3.89                    6.96
      397       Jan 1984                       132.87                     ll 1.52                     15.09                      4.61                    8.43
      398       Feb 1984                       180.39                     145.48                      19.20                      5.94                   10.56
      399       Mar 1984                       183.02                     155.54                      21.34                      6.47                   11.97
    400         Apr 1984                       151.46                     132.07                      18.23                      5.52                   10.26
    401         May 1984                       153.42                     132.19                      18.09                      5.49                   10.13
    402         June 1984                      182.13                     158.14                      21.85                      6.60                   12.28
    403         July 1984                      156.39                     140.96                      19.72                      5.92                   11.14
    404         Aug 1984                       170.47                     118.88                      16.05                      4.81                    8.94
    405         Septl984                       181.22                     149.36                      19.60                      6.17                   11.20
    406         Oct 1984                       173.73                     136.04                      17.33                      5.56                    9.39
    407         Nov 1984                       173.77                     131.63                      16.46                      5.34                    8.87
    408         Dec 1984                       173.18                    128.47                       15.83                      5.18                    8.46




A92                                                            Historical Reconstruction of Drinking-Water Contamination at Tarawa Terrace
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- - - - - - - - - - - - - - Appendix A2. Simulated PCE in Finished Water, Tarawa Terrace Water Treatment Plant

Appendix A2. Simulated tetrachloroethylene and its degradation by-products in finished water, Tarawa Terrace water treatment plant,
January 1951-March 1987 1.-Continued
[PCE, tetrachloroethylene; µg/L, microgram per liter; 1,2-tDCE, lrans-1,2-dichloroethylene; TCE, trichloroethylene; VC, vinyl chloride; WTP, water treatment plant]



                                      Single specie using
  Stress                                                                                 Multispecies, multiphase using TechFlowMP model3
                 Month and year        MT3DMS model2
  period
                                          4                          5                        5                         5                         5
                                              PCE, in 11g/L              PCE, in 11g/L            1,2-tDCE, in 11g/L        TCE, in 11g/L             VC, in 11g/L
       409        Jan 1985                      176.12                     127.80                      15.48                    5.13                     8.20
       410        Feb 1985                        3.64                       1.10                        0.29                   0.05                     0.22
       411        Mar 1985                        8.71                       3.88                        0.68                   0.17                     0.47
       412        Apr 1985                        8.09                       3.70                        0.68                   0.16                     0.49
       413        May 1985                        4.76                       1.65                        0.44                   0,07                     0.35
       414        June 1985                       5.14                       1.88                        0.50                   0.08                     0.41
       415        July 1985                       5.54                       2.10                        0.56                   0.09                     0.47
       416        Aug 1985                        6.01                       2.34                        0.63                   0.10                     0.52
    417           Sept 1985                       6.50                       2.62                        0.71                   0.12                     0.59
    418           Oct 1985                        7.06                       2.91                        0.79                   0.13                     0.65
    419           Nov 1985                        7.64                       3.24                        0.87                   0.15                     0.71
       420        Dec 1985                        8.27                       3.58                        0.95                   0.16                     0.76
       421        Jan 1986                        8.85                       3.95                        1.04                   0.18                     0.82
       422        Feb 1986                        9.42                       4.24                        1.08                   0.19                     0.83
       423        Mar 1986                       12.14                       5.40                        1.34                   0.24                     1.01
       424        Apr 1986                       10.83                       4.93                        1.20                   0.22                     0.89
       425        May 1986                       11.56                       5.25                        1.25                   0.23                     0.91
       426        June 1986                      12.28                       5.61                        1.30                   0.25                     0.92
    427           July 1986                      13.06                       5.97                        1.35                   0.26                     0.94
    428           Aug 1986                       13.84                       6.36                        1.39                   0.28                     0.96
    429           Sept 1986                      14.61                       6.75                        1.44                   0.30                     0.97
    430           Oct 1986                       15.42                       7.12                        1.48                   0.31                     0.99
    431           Nov 1986                       16.21                       7.52                        1.52                   0.33                     1.00
    432           Dec 1986                       17.03                       7.89                        1.56                   0.34                     1.01
    433           Jan 1987                       17.85                       8.28                        1.59                   0.36                     1.01
    434           Feb 1987                       18.49                       8.71                        1.64                   0.38                     1.03
    435           Mar 1987                WTP closed                WTP closed                     WTP closed           WTP closed               WTP closed
   1
    Current maximum contaminant levels (MCLs) are: tetrachloroethylene (PCE) and trichloroethylene (TCE), 5 µg/L; lrans-1,2-dichloroethylene (1,2-tDCE),
 100 µg/L; and vinyl chloride (VC), 2 µg/L (USEPA, 2003); effective dates for MCLs are as follows: TCE and VC, January 9, 1989; PCE and 1,2-tDCE,
 July 6, 1992 (40 CPR, Section 141.60, Effective Dates, July 1, 2002, ed.)
   2
    MT3DMS: A three-dimensional mass transport, multispecies model developed by C. Zheng and P. Wang (1999) on behalf of the U.S. Army Engineer
 Research and Development Center in Vicksburg, Mississippi (http://hydro.geo.ua.edu/mt3dl)
    3
     TechFlowMP: A three-dimensional multispecies, multiphase mass transport model developed by the Multimedia Environmental Simulations Laboratory
 (Jang and Aral 2007) at the Georgia Institute of Technology, Atlanta, Georgia (http://mesl.ce.gatech.edu)
   4
       Results from Chapter F report (Faye In press 2007b)

   'Results from Chapter G report (Jang and Aral In press 2007)




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Appendix A3. Questions and Answers



Two of the three drinking-water systems that served family housing at               What is the purpose of
U.S. Marine Corps Base Camp Lejeune were contaminated. One system,                  the ATSDR health study?
the Tarawa Terrace drinking-water system, was mostly contaminated
with tetrachloroethylene (or perchloroethylene, PCE) from off-base
dry-cleaning operations. The other system, the Hadnot Point drinking-
water system, was contaminated mostly with trichloroethylene (TCE)
from on-base industrial operations. The contaminated wells were continu-
ously used until 1985 and sporadically used until early 1987. ATSDR's
health study will try to determine if there was a link between in utero and
infant (up to 1 year of age) exposures to drinking-water contaminants and
specific birth defects and childhood cancers. The study includes births
occurring during 1968-1985 to mothers who lived in base family housing
during their pregnancy. The birth defects and childhood cancers that will
be studied are:
    • neural tube defects (spina bifida and anencephaly),

    • cleft lip and cleft palate, and

    • leukemia and non-Hodgkin's lymphoma.



Only a few studies have looked at the risk of birth defects and childhood           Why is ATSDR studying
cancers among children born to women exposed during pregnancy to                    exposure to VOC-
volatile organic compounds (VOCs) such as TCE and PCE in drinking                   contaminated drinking
water. This study is unique because it will estimate monthly levels of              water since other studies
drinking-water contaminants to determine exposures.                                 have already done this?


Chapter A provides a summary of detailed technical findings (found in               What is in the ATSDR
Chapters B-K) for Tarawa Terrace and vicinity. The findings focus on                reports about the
modeling techniques used to reconstruct historical and present-day                  Tarawa Terrace
conditions of groundwater flow, contaminant fate and transport, and                 drinking-water system?
distribution of drinking water. Information from the water-modeling
analyses will be given to researchers conducting the health study.
(Future analyses and reports will present information and data about
the Hadnot Point drinking-water system.)


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Why is ATSDR using                    Data on the levels of VOC contaminants in drinking water are not available
water modeling to                     before 1982. To determine levels before 1982, ATSDR is using a process
estimate exposure                     called "historical reconstruction." This process uses data on the amount of
rather than real data?                the chemicals dumped on the ground. It also uses the properties of the soil,
                                      the groundwater, and the water-distribution system. These data are then
                                      used in computer models. The models estimate when contaminants first
                                      reached drinking-water wells. The models also estimate monthly levels
                                      of contaminants in drinking water at family housing units. This information
                                      is important for the health study. It can also be used by those who lived in
                                      base family housing to estimate their exposures.




What is a water model?               A water model is a general term that describes a computer program used
                                     to solve a set of mathematical equations that describe the:
                                          • flow of groundwater in aquifers,
                                          • movement of a contaminant mixed with groundwater,
                                          • mixing of water from contaminated and uncontaminated
                                            water-supply wells at a water treatment plant, or
                                          • flow of water and contaminants from reservoirs, wells, and
                                            storage tanks through a network of pipelines.



What information did                 The historical reconstruction process required information and data describ-
ATSDR use to develop                 ing physical characteristics of the groundwater-flow system, conservation
the water models and                 principles that describe the flow system, the specific data on the contami-
what were the sources                nant (PCE) and its degradation by-products, and the water-distribution
of the information?                  system. The following specific data needs were required:
                                          • aquifer characteristics: geohydrologic, hydraulic, water production,
                                            fate, transformation, and transport;

                                          • chemical properties characteristics: physical, fate, transformation,
                                            and transport; and

                                          • water-distribution system characteristics: pipeline characteristics,
                                            storage-tank geometry, pumps, water-production data, and water-
                                            quality parameters.
                                     Information and data used to conduct the historical reconstruction analysis
                                     were obtained from a variety of sources. These sources included ATSDR,
                                     U.S. Environmental Protection Agency, Environmental Management Division
                                     of U.S. Marine Corps Base Camp Lejeune, U.S. Geological Survey, private
                                     consulting organizations, published scientific literature, and community
                                     groups representing former marines and their families. Chapters A and K
                                     of the Tarawa Terrace report provide searchable electronic databases-on
                                     DVD format-of information and data sources used to conduct the histori-
                                     cal reconstruction analysis.

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A water model requires information on the specific properties or "parameters"        How can ATSDR be sure
of the soil, groundwater, and water system at the base. Often assumptions            that water-modeling results
are needed because complete and accurate data are not available for all the          represent historical "real-
parameters that must be modeled. In particular, historical data are often lack-      world" conditions?
ing. To be sure that water-modeling results are accurate and represent historical
"real-world" conditions, a model needs to be calibrated. A calibration process
compares model results with available "real-world" data to see if the model's
results accurately reflect "real-world" conditions. This is done in the follow-
ing way. Models are constructed using different combinations of values for the
parameters. Each model makes a prediction about the groundwater-flow rate,
the amount of water produced by each well, and the contamination level in the
drinking-water system at a particular point in time. These predictions are then
compared to "real-world" data. When the combination of parameter values that
best predicts the actual "real-world" conditions are selected, the model is "cali-
brated." The model is now ready to make predictions about historical conditions.

At first, ATSDR developed a model that simulated the fate and transport              Why did ATSDR develop
(migration) of PCE that was completely mixed in groundwater in the satu-             and calibrate two models
rated zone (zone below the water table). The model code used is known as             for simulating the
MT3DMS. ATSDR developed a second model because of suggestions from a                 migration of PCE from
panel of experts and requests from former marines and their technical advisers.      ABC One-Hour Cleaners
The second model is capable of simulating the fate and transport of PCE and          to Tarawa Terrace
its degradation by-products of TCE, trans-1,2-dichloroethylene (1,2-tDCE),           water-supply wells?
and vinyl chloride (VC) in the unsaturated zone (area above the water table)
and the saturated zone. This model, known as TechFlowMP, is based on
significantly more complex mathematical equations and formulations. This
highly complex model also can simulate PCE and its degradation by-products
in both the vapor and water phases. Values of simulated PCE concentrations
in the saturated zone obtained using the two different models (MT3DMS and
TechFlowMP) are very close.

ATSDR did in-depth reviews of historical data, including water-supply well           WhyisATSDR
and WTP operational data when available. ATSDR concluded that the Tarawa             providing simulated PCE
Terrace water-distribution system-including the WTP-was not intercon-                concentrations in finished
nected with other water-distribution systems at Camp Lejeune for any time            water at the Tarawa
longer than 2 weeks. All water arriving at the WTP was obtained solely from          Terrace water treatment
Tarawa Terrace water-supply wells. Also it was assumed to be completely and          plant (WTP) rather than
uniformly mixed prior to delivery to residents of Tarawa Terrace. On a monthly       at locations of specific
basis, the concentration of PCE delivered to specific family housing units at        family housing units?
Tarawa Terrace was assumed to be the same as the simulated concentration of
PCE in finished water at the WTP.

No. The available data are not specific enough to accurately estimate daily          Can ATSDR water
levels of PCE in the Tarawa Terrace water system. The modeling approach              modeling results be
used by ATSDR provides a high level of detail and accuracy to estimate               used to determine the
monthly PCE exposure concentrations in finished water at the Tarawa                  concentration of PCE
Terrace WTP. It is assumed that simulated monthly concentrations of PCE              that my family and I were
represent a typical day during a month.                                              exposed to on a daily basis?

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Were my family and I more            No. Water from all Tarawa Terrace water-supply wells (uncontaminated
exposed to contaminated              and contaminated) was mixed at the WTP prior to being distributed
drinking water than other            through a network of pipelines to storage tanks and family housing areas.
families because we lived near       On a monthly basis, the concentration of PCE delivered to specific family
one of the contaminated Tarawa       housing units at Tarawa Terrace has been shown to be the same as the
Terrace water-supply wells?          concentration of PCE in finished water at the WTP.

Were my family and I exposed         Yes. A small amount of PCE degrades in the groundwater to other VOCs.
to other contaminants besides        These include TCE, 1,2-tDCE, and VC. Degradation by-products of PCE
PCE in finished drinking             were found in water samples obtained on January 16, 1985, from Tarawa
water while living in family         Terrace water-supply wells TT-23 and TT-26. Historical reconstruction
housing at Tarawa Terrace?           analyses conducted by ATSDR and its partners provide simulated monthly
                                     concentrations of PCE and its degradation by-products in finished water
                                     at the Tarawa Terrace WTP.

How can I get a list of the          ATSDR and its partners have developed a Web site where former Camp
monthly PCE (and PCE                 Lejeune residents can enter the dates they lived on base and receive infor-
degradation by-product)              mation on whether they were exposed to VOCs and to what levels. The Web
concentrations in finished water     site will list the simulated monthly concentrations of PCE and its degrada-
that my family and I were            tion by-products in finished water at the Tarawa Terrace WTP. The Web site
exposed to at Tarawa Terrace?        can be accessed at http://www.atsdr.cdc.gov/sites/lejeune/index.html.


ATSDR's historical                   ATSDR's exposure assessment cannot be used to determine whether you,
reconstruction analysis              or your family, suffered any health effects as a result of past exposure
documents that Tarawa                to PCE-contaminated drinking water at Camp Lejeune. The study will
Terrace drinking water was           help determine if there is an association between certain birth defects and
contaminated with PCE that           childhood cancers among children whose mothers used this water during
exceeded the current maximum         pregnancy. Epidemiological studies such as this help improve scientific
contaminant level (MCL) of           knowledge of the health effects of these chemicals.
5 micrograms per liter (µg/L)        The National Toxicology Program of the U.S. Department of Health and
during 1957 and reached a            Human Services has stated that PCE "is reasonably anticipated to be a human
maximum value of 183 µg/L.           carcinogen." However, the lowest level of PCE in drinking water at which
What does this mean in terms         health effects begin to occur is unknown. The MCL for PCE was set at 5 µg/L
of my family's health?               (or 5 parts per billion) in 1992 because, given the technology at that time,
                                     5 µg/L was the lowest level that water systems could be required to achieve.
                                     Many factors determine whether people will suffer adverse health effects
                                     because of chemical exposures. These factors include:
                                         • dose (how much),
                                          • duration (how long the contact period is),
                                          • when in the course of life the exposures occurred (for example,
                                            while in utero, during early childhood, or in later years of life),
                                          • genetic traits that might make a person more vulnerable to the
                                            chemical exposure, and
                                          • other factors such as occupational exposures, exposures to other
                                            chemicals in the environment, gender, diet, lifestyle, and overall
                                            state of health.


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Soil vapor or soil gas is the air found in the open or pore spaces between            What is soil vapor?
soil particles in the soil above the water table (also called the "unsaturated
zone"). The source of the soil vapor is the contaminated groundwater.
PCE and its degradation by-products are VOCs; therefore, some amounts
of these chemicals volatilize (or vaporize) off the groundwater plume and
enter the soil in the unsaturated zone as gases. The soil vapor plume (also
known as the "vapor-phase" plume) is the area where the gases or vapors
have entered the soil in the unsaturated zone above the water table.




Soil at Camp Lejeune is sandy, so the vapors can readily vaporize up                  Could the soil vapor
to the surface. The buildings are on concrete slabs, so soil vapor can                enter buildings at
enter these buildings through cracks or perforations in slabs or through              Tarawa Terrace?
openings for pipes or wiring. In addition, because the vapor enters
the building due to pressure differences, the operation of heating or
air-conditioning systems can create a negative pressure in the building
that draws the vapors from the soil into the building. This is similar to
the situation with radon gas.




The results of the PCE and PCE degradation by-product soil vapor mod-                 Could historical exposure
eling will not have a major impact on the current epidemiological study               to soil vapors contami-
of specific birth defects (neural tube defects, cleft lip, and cleft palate)          nated with PCE and PCE
and childhood cancers (leukemia and non-Hodgkin's lymphoma-also                       degradation by-products
known as childhood hematopoietic cancers). The focus of the study is on               affect the current ATSDR
drinking-water exposures to the fetus up to the child's first year of life.           epidemiological study?
The drinking-water exposure is considerably greater than any exposure
that might occur due to soil vapor infiltration into a home. However,
the analysis may incorporate the soil vapor results to determine if these
exposures significantly change the results obtained from the analysis of
drinking-water exposures.



Historical data on the levels of contaminants in the drinking water is very           How certain is ATSDR
limited. That is why there is uncertainty and variability concerning when             that finished water
the MCL of 5 µg/L was reached at the Tarawa Terrace WTP. Therefore,                   exceeding the current
ATSDR and its partners conducted exhaustive sets of simulations to                    MCL for PCE of 5 µg/L
quantify this uncertainty and variability. Based on these analyses, finished          was delivered from
water contaminated with PCE exceeding the MCL of 5 µg/L could have                    the Tarawa Terrace
been delivered from the Tarawa Terrace WTP as early as December 1956                  WTP beginning in
but most likely during November 1957.                                                 November 1957?




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How does ATSDR know                  ATSDR relied on a variety of sources to obtain information on the location
where all of the Tarawa              of Tarawa Terrace water-supply wells. These included historical water utility
Terrace water-supply                 maps, well construction and location maps, aerial photographs, use of geo-
wells were located if they           graphic information system technology, and assistance from Environmental
have been destroyed?                 Management Division staff at U.S. Marine Corps Base Camp Lejeune. The
What is the accuracy                 accuracy of this information is believed to be within ± 50 feet of the actual
of this information?                 well location.




What did ATSDR do                    Throughout this investigation, ATSDR has sought external expert input
to be sure that water-               and review. Activities included convening an expert peer review panel and
modeling analyses are                submitting individual chapter reports to outside national and international
scientifically credible?             experts for technical reviews. For example, on March 28-29, 2005, ATSDR
                                     convened an external expert panel to review the approach used in conduct-
                                     ing the historical reconstruction analysis. The panel also provided input and
                                     recommendations on preliminary analyses and modeling. ATSDR used a
                                     number of recommendations made by the panel members. ATSDR also used
                                     technical comments from outside expert reviewers when finalizing reports
                                     on Tarawa Terrace water-modeling analyses.




Where and how can                    A small number of printed copies of this report and subsequent chapter
I get a copy of this                 reports (A-K) will be available to interested parties and placed in public
ATSDR report and the                 repositories. Electronic versions of all chapter reports will be available on
information and data                 the ATSDR Camp Lejeune Web site at http://www.atsdr.cdc.gov/sites/
that were used in the                lejeunelindex.html. Chapters A and K provide a searchable electronic data-
Tarawa Terrace water-                base-on DVD format----of information and data sources used to conduct
modeling analyses?                   the historical reconstruction analysis for Tarawa Terrace and vicinity.




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